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 1
                                                              The Honorable Robert J. Bryan
 2

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 6

 7

 8

 9                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF WASHINGTON
10                                    AT TACOMA
11   ANNA OMELIN, Individually and as an      )
     Administrator of the Estate of Anton Omelin,
                                              )
12   deceased,                                )             Case No. 3:17-cv-05837-RJB
                                              )
13                          Plaintiff,        )             PLAINTIFF ANNA OMELIN’S
                                              )             SECOND AMENDED
14   vs.                                      )             COMPLAINT FOR DAMAGES
                                              )
15                                            )
     HANSEN BEVERAGE COMPANY, a               )             JURY DEMAND
16   Delaware Corporation, MONSTER ENERGY )
     COMPANY, a Delaware Corporation, and RED )
17   BULL NORTH AMERICA, INC., a Foreign      )
     Corporation, and DOES 1 through 100,     )
18   Inclusive,                               )
                                              )
19                          Defendants.       )
                                              )
20

21          COMES NOW, Plaintiff ANNA OMELIN, Individually and as Administrator of
22
     the Estate of ANTON OMELIN, deceased, by and through her, hereby files this Second
23
     Amended Complaint in accordance with Fed. R. Civ. P. Rule 15 (a)(2) and pursuant to
24
     Court’s Order Granting Motion for Leave to Amend First Amended Complaint (Dkt. No.
25

26   42) issued on January 9th, 2018, against Defendants, and respectfully alleges as follows:

27
     PLAINTIFF ANNA OMELIN’S SECOND AMENDED                             COSMOPOLITAN LEGAL, PLLC
     COMPLAINT FOR DAMAGES- 1                                                  151 108th Ave NE, Unit 210
                                                                                     Bellevue, WA 98004
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 1

 2                         I. NATURE OF THE CASE AND PARTIES

 3         1.       Plaintiff, ANNA OMELIN (hereinafter “Plaintiff”), brings the present
 4   survival and wrongful death action under Revised Code of Washington (hereinafter
 5
     “RCW”) 4.20.010-.020; 4.20.046 and 4.20.60, Individually and on Behalf of the
 6
     Estate of ANTON OMELIN, deceased, for personal injuries suffered as a result of Mr.
 7
     Omelin’s death on October 30, 2014.
 8

 9         2.       Mr. Omelin’s heirs at law under RCW 4.20.010-.020 and their

10   relationship to Mr. Omelin are as follows: 1) ANNA OMELIN, spouse; 2) A. S., step-

11   son, a minor; 3) A. O., daughter, a minor; 4) A. O., son, a minor. At all relevant times,
12   the heirs resided, and continue to reside, at 4219 69th Ave. E, Fife, WA 98424.
13
           3.       HANSEN BEVERAGE COMPANY, a defendant, is a Delaware
14
     corporation with a principal place of business at 550 Monica Circle, Suite 201, Corona,
15
     California, 92880. At all relevant times, Defendant engaged in and was responsible for
16

17   design, manufacture, production, testing, study, inspection, mixture, labeling,

18   marketing, advertising, sales, promotion, and/or distribution of “Monster Energy” and

19   “NOS Original” energy drinks. Defendant’s registered agent, CSC – Lawyers
20
     Incorporating Service, is located at 2710 Gateway Oaks Drive, Suite 150N, Sacramento,
21
     California, 95833.
22
           4.       MONSTER ENERGY COMPANY, a defendant, is a Delaware
23
     corporation with a principal place of business at 550 Monica Circle, Suite 201, Corona,
24

25   California, 92880. At all relevant times, Defendant engaged in and was responsible for

26   design, manufacture, production, testing, study, inspection, mixture, labeling,
27
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     marketing, advertising, sales, promotion, and/or distribution of “Monster Energy” and
 1

 2   “NOS Original” energy drinks. Defendant’s registered agent, CSC – Lawyers

 3   Incorporating Service, is located at 2710 Gateway Oaks Drive, Suite 150N, Sacramento,
 4   California, 95833.
 5
            5.       RED BULL NORTH AMERICA, INC, a defendant, is a foreign profit
 6
     corporation with a principal place of business at 1740 Steward Street, Santa Monica,
 7
     California 90404, USA. At all relevant times, Defendant engaged in and was
 8

 9   responsible for design, manufacture, production, testing, study, inspection, mixture,

10   labeling, marketing, advertising, sales, promotion, and/or distribution of “Red Bull

11   Energy Drink.” Defendant’s registered agent, C T Corporation System, is located at
12   711 Capitol Way S, Ste. 204, Olympia, Washington 98501-1267.
13
            6.       The true names and capacities, whether individual, corporate, associate,
14
     governmental or otherwise, of Defendants DOES 1 through 100, inclusive, are
15
     unknown to Plaintiff at this time, who therefore sues said Defendants by such fictitious
16

17   names. When the true names and capacities of said Defendants have been ascertained,

18   Plaintiff will amend this Complaint accordingly. Plaintiff is informed and believes, and

19   thereon alleges, that each Defendant designated herein as a DOE is responsible,
20
     negligently or in some other actionable manner, for the events and happenings
21
     hereinafter referred to, and caused injuries and damages proximately thereby to the
22
     Plaintiff, as hereinafter alleged.
23
                                      II. JURISDICTION AND VENUE
24

25

26

27
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             7.      Plaintiff brings this complaint under federal diversity jurisdiction under 28
 1

 2   U.S.C. 1332, as the parties are completely diverse in citizenship and the amount in

 3   controversy exceeds $75,000.00.
 4           8.      Venue is proper in the Western District of Washington at Tacoma, under 28
 5
     U.S.C. 1391(b), where Mr. Omelin and survivors resided and the death occurred.
 6
                                       III. FACTUAL ALLEGATIONS
 7
             9.      At about 7am on October 30, 2014, Ms. Omelin, found her 25-year-old
 8

 9   husband, Anton Omelin, laying unresponsive on the bathroom’s floor. There were apparent

10   feces and vomit noted in the toilet and vomit in the bathroom sink and on the counter.

11           10.     Per death certificate, Mr. Omelin’s cause of death was due to aspiration of
12   gastric contents with alcohol intoxication as a contributing condition.
13
             11.     Per medical examiner’s report, Mr. Omelin’s death was most likely due to
14
     aspiration of gastric contents, with alcohol intoxication as a significant contributing
15
     condition.
16

17           12.     Mr. Omelin’s toxicology testing showed an ethanol concentration of

18   0.095g/100mL with a margin of error of 0.0078 g/100mL.

19           13.     With an ethanol concentration of 0.096g/100mL, a person is generally
20
     experiencing a slight impairment of balance, speech, vision, reaction time, and hearing.
21
     Effects of Specific B.A.C. levels, http://www.brad21.org/effects_at_specific_bac.html (last
22
     visited on December 21, 2017).
23
             14.     When medical personnel arrived at the scene, no life saving measures
24

25   were taken, as Mr. Omelin’s death was obvious.

26           15.     In a 24-hour period preceding his death, Mr. Omelin consumed at least four
27
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     (4) 16-oz cans of “NOS Original” and “Red Bull Energy Drink.”
 1

 2         16.      Prior to and since his marriage to Ms. Omelin, in the year of 2010, Mr.

 3   Omelin regularly consumed at least four (4) 16-oz cans of “Monster Energy,” “NOS
 4   Original” and “Red Bull Energy Drink” per day.
 5
           17.      Mr. Omelin purchased “Monster Energy,” “NOS Original” and “Red Bull
 6
     Energy Drink” from a local gas station, grocery stores, and/or COSTCO.
 7
           18.      Prior to his death, Mr. Omelin got the news that he will receive a full-
 8

 9   ownership of the family business. Mr. Omelin purchased fruits, chocolate and a

10   bottle of Courvoisier cognac to celebrate with Ms. Omelin.

11         19.      At about 7-9pm on October 29, 2014, Mr. Omelin had two to three
12   (2-3) shots of cognac, which he consumed along with at least two (2) 16-oz cans of
13
     “Red Bull Energy Drink.”
14
           20.      Mr. Omelin had no prior medical problems. He did not use illicit drugs
15

16   and drank in moderation.

17         21.      As a result of large consumption of caffeinated drinks, i.e., “Monster

18   Energy,” “NOS Original” and “Red Bull Energy Drink,” Mr. Omelin lacked in sleep
19
     averaging only four to five (4-5) hours of sleep per day.
20
           22.      Ms. Omelin frequently caught Mr. Omelin sitting in front of the
21

22   computer, jittery, with bloodshot eyes, late at night, without being able to fall asleep.

23         23.      As a result of his insomnia, Mr. Omelin had a habit of performing
24
     physical exercises on an exercise machine located at his garage and a pull-up bar.
25
     After exercising he usually showered in the bathroom in which he was found dead on
26

27   October 30, 2014.
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           24.      Mr. Omelin thought that “Monster Energy,” “NOS Original” and “Red
 1

 2   Bull Energy Drink” were no more dangerous than a regular soda drink, such as

 3   carbonated lemonade.
 4
           25.      Mr. Omelin consumed “Monster Energy,” “NOS Original” and “Red
 5
     Bull Energy Drink” because he was drawn to the flavor, taste, and the additional
 6

 7   energy provided by the products.

 8         26.      Mr. Omelin was survived by his wife, Anna Omelin; his stepson, A.S.,
 9
     a minor; his biological son, A.O., a minor; his biological daughter, A.O., a minor, who
10
     at the time of Mr. Omelin’s death was three (3) weeks old.
11

12         27.      At all relevant times, HANSEN BEVERAGE COMPANY was

13   responsible for the design, manufacture, production, testing, study, inspection,

14   mixture, labeling, marketing, advertising, sales, promotion, and/or distribution of
15
     “Monster Energy” and “NOS Original,” before it reached Mr. Omelin.
16
           28.      At all relevant times, MONSTER ENERGY COMPANY was
17

18   responsible for the design, manufacture, production, testing, study, inspection,

19   mixture, labeling, marketing, advertising, sales, promotion, and/or distribution of
20
     “Monster Energy” and “NOS Original,” before it reached Mr. Omelin.
21
           29.      At all relevant times, RED BULL NORTH AMERICA, Inc. was
22
     responsible for the design, manufacture, production, testing, study, inspection, mixture,
23

24   labeling, marketing, advertising, sales, promotion, and/or distribution of “Red Bull

25   Energy Drink,” before it reached Mr. Omelin.
26

27
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           30.      HANSEN BEVERAGE COMPANY, MONSTER ENERGY
 1

 2   COMPANY and RED BULL NORTH AMERICA, INC., (hereinafter referred to as

 3   “MONSTER and RED BULL”) target their advertising campaign “primarily towards
 4   young males, with alluring product names.” Chad J. Reissig, et.al., Caffeinated Energy
 5
     Drinks: A Growing Problem, 99(1-3) DRUG ALCOHOL DEPEND. 4 (2009)
 6
     [hereinafter, “DRUG ALCOHOL DEPEND.]. “These advertising campaigns promote
 7
     the psychoactive, performance-enhancing, and stimulate effects of energy drinks and
 8

 9   appear to glorify drug use.” Id.

10         a.       RED BULL’s advertising campaign slogan “Red Bull gives you wings,”

11   is associated with “excitement and risk-taking.” In addition, RED BULL’s marketing
12   permeates the action sports world. Red Bull Paper Wings and the ‘Gives You Wings’
13
     Slogan, http://www.businessinsider.com/red-bull-paper-wings-slogan-2012-10 (last
14
     visited October 12, 2017).
15
           b.       MONSTER’s marketing uses “product taglines like ‘Unleash the Beast,’
16

17   and its bold advertising campaigns reflect its edgy and aggressive image.” Monster

18   Beverage’s Bold Marketing Approach, http://marketrealist.com/2015/01/monster-

19   beverages-bold-marketing-approach/ (last visited October 16, 2017). MONSTER’s
20
     “advertising and marketing efforts are associated with adventure sports and sports
21
     personalities.” Id. “The macho image, and the promotion of these drinks as an
22
     immediate energy booster, made them the military’s drink of choice.” Id. In the recent
23
     advertising campaign, MONSTER featured a famous boxer preparing for a match and
24

25   declaring “I am the beast.” Monster Energy TV Commercial, 'I Am the Beast' Featuring

26

27
     PLAINTIFF ANNA OMELIN’S SECOND AMENDED                            COSMOPOLITAN LEGAL, PLLC
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     Conor McGregor, https://www.ispot.tv/ad/w6tq/monster-energy-i-am-the-beast-
 1

 2   featuring-conor-mcgregor (last visited October 13, 2017).

 3         31.       In order to promote its products, including “Red Bull Energy Drink,” as
 4   energy enhancers and as a part of healthy lifestyle, RED BULL places “Vitalizes Body
 5
     and Mind” on its product’s packaging, including cans.
 6
           32.       The efficacy of the “Red Bull Energy Drink,” and RED BULL’s
 7
     other products, is promoted by sports figures, whose quotes are published on RED
 8

 9   BULL’s website:

10          a. “I drink a Red Bull Sugarfree before my second training session.”

11               CrossFit Champion Camille Leblanc-Bazinet
12
            b. “Red Bull is one of my go to tools for high intensity workouts, during
13
                 an endurance workout, or just when getting some work done!”
14
                 Triathlete Jesse Thomas
15
            c. “I drink Red Bull 30 minutes before every race.” Olympic skier Lindsey Vonn
16

17         33.       On its website, MONSTER claims that “Monster Energy” “[has] the ideal

18   combo of the right ingredients in the right proportion to deliver the big bad buzz that only

19   Monster can. Monster packs a powerful punch but has a smooth easy drinking flavor.
20
     Athletes, musicians, anarchists, co-ed’s, road warriors, metal heads, geeks, hipsters,
21
     and bikers dig it- you will too.” Monster Energy,
22
     https://www.monsterenergy.com/us/en/products/monster-energy (last visited
23

24   November 30, 2017).

25         34.       MONSTER promotes “NOS original” and other products by

26   prominently placing “High Performance Energy Drink” on its product’s packaging.
27
     PLAINTIFF ANNA OMELIN’S SECOND AMENDED                                COSMOPOLITAN LEGAL, PLLC
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          35.        In 2015, RED BULL and MONSTER dominated energy drink market
 1

 2   with respective market shares of 43% and 39%. Monster, Red Bull, Rockstar Ranked

 3   http://time.com/3854658/these-are-the-top-5-energy-drinks/ (last visited October
 4   13, 2017).
 5
            a. RED BULLS’ sales of energy drinks increased by 1.8% from 2015-2016,
 6
                  capping the sales at 6.06 billions of cans sold worldwide in 2016, a
 7
                  dramatic 50% increase in sales since 2011. Number of Red Bull Cans Sold
 8

 9                World Wide From 2011 to 2016,

10                https://www.statista.com/statistics/275163/red-bulls-number-of-cans-sold-

11                worldwide/ (last visited October 13, 2017).
12          b. MONSTER’s sales of energy drinks increased by 13% from 2015 to 2016,
13
                  capping the sales at $3.5 billions in 2016, an 80% increase in sales since
14
                  2011. Monster Beverage Corporation,
15
                  http://investors.monsterbevcorp.com/annuals.cfm (last visiting October 17,
16

17                2017).

18        36.        Substance Abuse and Mental Health Services Administration

19   (SAMHSA) reported “the number of emergency department (ED) visits involving
20
     energy drinks doubled from 10,068 visits in 2010 to 20,783 visits in 2011.” Substance
21
     Abuse and Mental Health Servs. Admin., The Dawn Report: Update on Emergency
22
     Department Visits Involving Energy Drinks: A Continuing Public Health Concern
23
     (Jan. 10, 2013). The majority of these visits were people between ages of 18 to 39. Id.
24

25

26

27
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            a. Approximately 44 percent of non-alcoholic energy drink-related hospital
 1

 2                visits happened when people combined alcohol and/or drugs with energy

 3                drinks. Id.
 4          b. The increase in ED visits was proportionate to an increase in sales of
 5
                  energy drinks. Id.
 6
            c. The report defines “energy drinks” as “flavored beverages containing
 7
                  high amounts of caffeine and typically other additives, such as vitamins,
 8

 9                taurine, herbal supplements, creatine, sugars, and guarana” Id.

10           37.       Although MONSTER began disclosing the caffeine content on its cans,

11   as a result of a lawsuit filed against them by the parents of a 14-year-old girl who died
12   after consuming energy drinks, MONSTER believed that “the actual numbers are not
13
     meaningful to most consumers.” Energy Drinks Caffeine Levels Often Stray From
14
     Labels, Study Shows, https://www.huffingtonpost.com/2012/10/25/energy-drink-
15
     caffeine-labels-_n_2016314.html (last visited October 17, 2017).
16

17          38.        Marketed benefits of “Monster Energy,” “NOS Original” and “Red

18   Bull Energy Drink” are achieved through addition of caffeine. Sara M. Seifert,

19   et.al., Health Effects of Energy Drinks on Children, Adolescent, and Young Adults,
20
     127[3]:511 PEDIATRICS, 2011 [hereinafter “PEDIATRICS”].
21
            39.        “Energy drinks, [“beverages that contain caffeine, taurine, vitamins,
22
     herbal supplements, and sugar or sweeteners and are marketed to improve energy,
23
     weight loss, stamina, athletic performance, and concentration,”] have no therapeutic
24

25   benefit and many ingredients contained in such drinks are understudied and not

26   regulated.” Id.
27
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             40.    Pharmacology of contained agents, commonly found in energy drinks,
 1

 2   such as “Monster Energy,” “NOS Original” and “Red Bull Energy Drink,” combined

 3   with reports of toxicity, raises concern for potentially serious adverse effects associated
 4   with energy drinks consumption. Id.
 5
             41.    “Caffeine in doses up to 400 mg (about five cups of coffee) is generally
 6
     recognized as safe by the Food and Drug Administration [(“FDA”)].” Potentially
 7
     harmful effects of energy drinks - it's not the caffeine,
 8

 9   https://www.reuters.com/article/us-health-heart-energy-drinks/potentially-harmful-

10   effects-of-energy-drinks-its-not-the-caffeine-idUSKBN17S2SM (last visited November

11   30, 2017) (hereinafter “REUTERS”)
12           42.    Caffeine intoxication and negative effects thereof are much more
13
     common when the daily consumption increases to more than 500 milligrams. This Is
14
     How Much Caffeine It Takes to Kill an Average Person,
15
     https://www.usatoday.com/story/news/nation-now/2017/05/16/south-carolina-teen-
16

17   dies-caffeine-how-much-coffee-can-kill-you/99975022/ (last visited October 11, 2017).

18   Mr. Omelin’s daily caffeine intake was approximately 800-1040mg.

19            43.   FDA-imposed caffeine limit per 12 fl oz of soda is 71mg (approximately
20
     6mg per 1 fl oz). DRUG ALCOHOL DEPEND. at 2. The caffeine content in 16 oz can
21
     of “Red Bull Energy Drink” is 151mg (approximately 9mg per 1 fl oz ); 16oz “Monster
22
     Energy” is 160mg (approximately 10mg per 1 fl oz), and NOS Original’s 24oz can
23
     contains 240mg (approximately 10mg per 1 fl oz). All per oz caffeine contents in
24

25   MONSTER and RED BULL’s products exceed the allowed amount for sodas and the

26   like.
27
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            44.      In addition to pure caffeine, “Monster Energy,” “NOS Original” and
 1

 2   “Red Bull Energy Drink” “contain additional amounts of caffeine through additives.”

 3   PEDIATRICS at 512. All RED BULL products, for example, contain taurine, while
 4   MONSTER’s products contain both taurine and guarana.
 5
            45.      Each gram of guarana can contain 40 to 80 mg of caffeine, and has a
 6
     potentially longer half-life. Id.
 7
            46.      Because manufacturers are not required to post the amount of caffeine
 8

 9   contained in additional additives, the actual caffeine content in a single serving may

10   exceed the listed amounts. Naren Gunja, et.al., Energy Drinks: Health Risks and

11   Toxicity, MED J AUST, 196 (1): 46-49, (2012).
12          47.      The health risks associated with energy drinks are primarily related to
13
     high caffeine content. Studies have shown that caffeine overdose can cause
14
     cardiovascular problems, nausea, vomiting, insomnia, convulsions, and death. Breda
15
     João Joaquim, et.al., Energy Drink Consumption in Europe: A Review of the Risks,
16

17   Adverse Health Effects, and Policy Options to Respond, FRONTIERS IN PUBLIC

18   HEALTH, VOL. 2 at 2, 2014 [hereinafter “BREDA”].

19          48.      Per 2017 Reuters’ article, a group of researchers conducted a study with
20
     18 healthy adults. The study focused on effects of additional components commonly
21
     found in energy drinks, including “Monster Energy,” “NOS Original” and “Red Bull
22
     Energy Drink.” “Blood pressure increased by close to 5 points after drinking the energy
23
     drink, but by just under 1 point after drinking the caffeine beverage. Blood pressure
24

25   also remained elevated six hours later.” See, REUTERS.

26           a. “The energy drink industry claims that their products are safe because they
27
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     have no more caffeine than a premium coffee house coffee,” said Dr. Jennifer L. Harris
 1

 2   from University of Connecticut’s Rudd Center for Food Policy and Obesity in Storrs.

 3   Id.
 4            b. “[E]nergy drinks also contain a proprietary ‘energy blend,’ which typically
 5
                    consists of stimulants and other additives. Some of these ingredients
 6
                    (including taurine and guarana) have not been FDA-approved as safe in the
 7
                    food supply, and few studies have tested the effects of caffeine
 8

 9                  consumption together with these ‘novelty’ ingredients.” Id.

10            c. “On top of that, energy drinks are highly marketed to adolescent boys in

11                  ways that encourage risky behavior, including rapid and excessive
12                  consumption,” she said. “As a result, emergency room visits by young
13
                    people in connection with energy drinks are rising.” Id.
14
              49.      Per FDA’s CAERS Adverse Events Reports, a total of twenty-one
15
     (21) reports were attributed to Red Bull from 2004-2012. Reports included nausea,
16

17   vomiting and overdose symptoms that resulted in hospitalizations and serious

18   outcomes.

19           50.       Per FDA’s CAERS Adverse Events Reports, a total of forty (40) reports
20
     were attributed to Monster Energy from 2004-2012. Record shows a total of five (5) deaths.
21
     Numerous reports included nausea, vomiting, loss of consciousness, choking, diarrhea and
22
     headache symptoms that resulted in hospitalizations and were life-threatening.
23
             51.       A combination of excessive consumption of caffeine- and taurine-
24

25    containing energy drinks and strenuous physical activity can produce myocardial ischemia

26    by inducing coronary vasospasm with potentially fatal results. “Both taurine and caffeine

27
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     have been shown in vitro to have physiological effects on intracellular calcium
 1

 2   concentration within vascular smooth muscle, and they could conceivably induce coronary

 3   vasospasm.” Adam J Berger, et. al., Cardiac Arrest in a Young Man Following Excess

 4   Consumption of Caffeinated “Energy Drinks”, MJA, 190: 41 (2009) [hereinafter
 5
     “BERGER”].
 6
              52.   National Federation of State High School Associations recommends that
 7
     energy drinks not be used prior to, during or after physical activity. Furthermore, a common
 8

 9   ingredient in energy drinks, guarana, is mentioned in the NCAA's 2016-17 banned drugs

10   list. What That Energy Drink Can Do To Your Body,

11   http://www.cnn.com/2017/04/26/health/energy-drinks-health-concerns-
12
     explainer/index.html (last visited October 17, 2017).
13
              53.   In one of the cases involving physical activity, a healthy 33-year-old man,
14
     Cory Terry, died after drinking a Red Bull shortly after playing basketball. Mr. Terry was
15
     an avid Red Bull drinker and had been consuming the beverage for many years. Death By
16

17   Red Bull, https://www.caffeineinformer.com/death-by-red-bull (last visited October 13,

18   2017).

19            54.   A 28-year-old motocross rider had a cardiac arrest following a consumption
20
     of seven to eight (7-8) cans of energy drinks within seven hours. The man denied having
21
     any previous chest pains and was otherwise fit and well. BERGER at 42.
22
              55.   Although sudden cardiac death in people under the age of forty are a result
23

24   of structural heart disease, 10-20% of autopsies showed that the subject in that “age group

25   had no obvious cardiac abnormalities on postmortem examination.” BERGER at 42.

26

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           56.        Studies have shown that consumption of energy drinks, such as “Monster
 1

 2   Energy,” “NOS Original” and “Red Bull Energy Drink,” causes life-threatening heart

 3   rhythm disorders, not found in coffee-drinkers. Mixing energy drinks with alcohol

 4   significantly increases negative side effects. Dr. Campbell: New Study Highlights
 5
     Dangerous Effects of Energy Drinks, http://wncn.com/2017/05/07/dr-campbell-new-
 6
     study-highlights-dangerous-effects-of-energy-drinks/ (last visited October 12, 2017).
 7

 8         57.        U.S. Center for Disease Control and Prevention warned against mixing

 9   energy drinks and alcohol, arguing energy drinks mask the depressant effects of

10   alcohol. “For years, research has suggested that mixing alcohol and heavily-
11   caffeinated energy drinks could have negative health effects.” Why You Might Not
12
     Want To Mix Alcohol and Energy Drinks, http://time.com/3677044/alcohol-energy-
13
     drinks/ (January 22, 2015) (last visited November 30, 2017).
14
           58.        “When people mix energy drinks with alcohol, people drink more than
15

16   they would if they had just consumed alcohol, which is associated with a cascade of

17   problems.” Id.

18         59.        The Federal Institute for Risk Assessment (“FIRA”) concluded that
19
     warnings about the use of energy drinks such as Red Bull with intensive physical
20
     activity or alcohol beverages should be mandatory. Energy Drinks Safety Questioned
21
     by German agency, https://www.nutraingredients.com/Article/2008/06/05/Energy-
22
     drinks-safety-questioned-by-German-agency (last visited October 17, 2017).
23

24         60.        FIRA reported that “energy drinks have led to adverse reactions

25   including death in combination with alcohol and alone.” Id. In Sweden, two young
26   people died after consuming Red Bull mixed with alcohol. Id.
27
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           61.      Mixing energy drinks with alcohol is a prominent practice among 71%
 1

 2   of young adults. BREDA at 2.

 3          a. A study of American college students found that “those who reported
 4               combining energy drinks with alcohol were more likely to experience
 5
                 adverse consequences due to their own drinking compared to those who
 6
                 only drank alcohol.” Id.
 7
            b.   Energy drink consumers were more likely to have a higher breath
 8

 9               alcohol concentration reading. Id.

10         62.      The National Poison Data System in United States recorded 4854

11   calls to emergency departments (0.2% of total calls) related to energy drinks over the
12   year 2010-2011. 39.3% of these calls involved alcohol mixed energy drinks and led
13
     to more severe adverse effects. Id. at 3.
14
           63.      Foreign countries took steps to limit the consumption of energy drinks
15
     or to ban it altogether. PEDIATRICS at 521.
16

17         64.      Argentinian Senate proposed to ban energy drinks in nightclubs, and

18   Finland requires a warning for drinks that contain more than 150mg/L of caffeine and a

19   statement of maximum allowable daily intake. Id. France put a ban on taurine, an
20
     ingredient contained in “Monster Energy,” “NOS Original” and “Red Bull Energy
21
     Drink”. Energy Drinks Safety Questioned by German agency,
22
     https://www.nutraingredients.com/Article/2008/06/05/Energy-drinks-safety-
23
     questioned-by-German-agency (last visited October 17, 2017). Denmark and Norway
24

25   had banned or recommended banning energy drinks altogether. Id.

26

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                65.      Defendants’ failures in designing, manufacturing, marketing,
 1

 2      distributing, warning and/or selling “Monster Energy,” “NOS Original” and “Red Bull

 3      Energy Drink” directly and proximately caused Mr. Omelin’s death on October 30,
 4      2014.
 5
                             IV. SURVIVAL ACTION CAUSES OF ACTION
 6                    First Cause of Action Under Washington Product Liability Act
                                   (By Plaintiff Against All Defendants)
 7
                66.      Plaintiff re-alleges each and every allegation contained in this
 8

 9 Complaint with the same force and effect as if fully set forth herein.

10              67.      MONSTER and RED BULL placed their products, “Monster Beverage,”

11 “NOS Original” and “Red Bull Energy Drink,” in the stream of commerce, with the

12
     expectation that they would reach an end consumer, such as Mr. Omelin, without substantial
13
     change in its condition, which they all did.
14
                68.      Mr. Omelin consumed “Monster Beverage,” “NOS Original” and “Red
15
     Bull Energy Drink” energy drinks in a way contemplated by the Defendants, namely, by
16

17 ingesting the products orally to promote stamina and increase energy.

18              69.      In violation of the Washington Products Liability Act (WPLA), RCW

19      7.72.030 (1), at the time “Monster Beverage,” “NOS Original” and “Red Bull Energy Drink”
20
        left the control of MONSTER and RED BULL, they were defective and not reasonably safe.
21
        The products were not reasonably safe for the following reasons:
22
                70.      MONSTER and RED BULL owed a duty to Mr. Omelin and all
23
        consumers of “Monster Beverage,” “NOS Original” and “Red Bull Energy Drink” to
24

25      exercise reasonable care in the design, formulation, testing, manufacturing, labeling,

26      marketing, distribution, promotion and/or sale of their products.

27
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            71.     MONSTER and RED BULL were required to ensure that their products
 1

 2   did not pose an unreasonable risk of bodily harm, such as cardiovascular problems,

 3   nausea, vomiting, insomnia, convulsions, and death, when taking alone or in
 4
     combination with alcohol, physical activities, or as a result of overconsumption.
 5
            72.     “Monster Beverage,” “NOS Original” and “Red Bull Energy Drink”
 6
     energy drinks were not reasonably safe in design.
 7
            73.     “Monster Beverage,” “NOS Original” and “Red Bull Energy Drink”
 8

 9   energy drinks were not reasonably safe in design because, at the time they left their

10   respective manufacturer’s control, all products contained dangerous mixture of high
11   amounts of caffeine and additional ingredients, namely taurine (“Red Bull Energy
12
     Drink”), and guarana/taurine mix (“Monster Beverage” and “NOS Original”), and
13
     when mixed with alcohol, consumed before, during, and after physical activity, and/or
14
     overused, resulted in cardiovascular problems, nausea, vomiting, insomnia,
15

16   convulsions, and death.

17          74.     The risks posed by the defective design of “Monster Beverage,”

18   “NOS Original” and “Red Bull Energy Drink” are beyond those contemplated by
19   the ordinary consumer, such as Mr. Omelin. Namely, an ordinary consumer would
20
     not and could not anticipate that a product designed to promote vitality and increase
21
     energy would lead to severe health risks.
22
            75.     MONSTER and RED BULL failed to conduct adequate testing and
23

24   post-marketing surveillance of their products to prevent the health risks associated

25   with products’ consumption, such as cardiovascular problems, nausea, vomiting,

26   insomnia, convulsions, and death.
27
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            76.      MONSTER and RED BULL failed to cease manufacturing or otherwise
 1

 2   alter the composition of their products to produce a safer alternative despite the fact that

 3   they knew or should have known that original composition posed severe health risks.

 4          77.      “Monster Beverage,” “NOS Original” and “Red Bull Energy Drink”
 5
     were unreasonably dangerous and defective in manufacture, were not properly tested,
 6
     and were not fit for intended purpose, i.e., ingested orally to increase energy, in that
 7
     they caused severe health risks, such as cardiovascular problems, nausea, vomiting,
 8

 9   insomnia, convulsions, and death.

10
            78.      “Monster Beverage,” “NOS Original” and “Red Bull Energy Drink”
11

12   were not reasonably safe because existing warning “Not recommended for children,

13   pregnant or nursing women and persons sensitive to caffeine” is inadequate to prevent

14   consumers, like Mr. Omelin, from a serious risk of cardiovascular problems, nausea,
15
     vomiting, insomnia, convulsions, and death, when the products are being used in an
16
     intended manner, i.e., ingested orally to increase energy.
17
            79.       “Monster Beverage,” “NOS Original” and “Red Bull Energy Drink”
18
     were not reasonably safe because adequate warnings or instructions were not provided
19

20   with the products to warn against the use with alcohol, before/during/after physical

21   exercises, and/or overconsumption.
22          80.      “Monster Beverage,” “NOS Original” and “Red Bull Energy Drink” were
23
     not reasonably safe because adequate warnings or instructions were not created and/or
24
     provided in order to ensure that their products were used in a safe and reasonable
25

26

27
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     manner to prevent serious health risks, i.e., cardiovascular problems, nausea,
 1

 2   vomiting, insomnia, convulsions, and death.
 3
           81.        Placing a warning(s), such as “Do not use with alcohol and while
 4
     exercising,” “Do not exceed two drinks in a 24-hour period,” “May cause
 5
     cardiovascular problems, nausea, vomit, insomnia, and death,” would be adequate to
 6

 7   warn customers of severe health risks associated with consumption of “Monster

 8   Beverage,” “NOS Original” and “Red Bull Energy Drink.” The number of drinks to

 9   be consumed within a 24-hour period shall vary depending on caffeine amount in any
10   given product.
11
           82.        If warnings were visibly placed on the “Monster Beverage,”
12
     “NOS Original” and “Red Bull Energy Drink” cans, they would have caught Mr.
13
     Omelin’s attention and would have prevented him from misusing Defendants’
14

15   products.

16         83.        “Monster Beverage,” “NOS Original” and “Red Bull Energy Drink”

17   were not reasonably safe because adequate warnings or instructions were not
18
     provided at the time MONSTER and RED BULL learned or should have learned that
19
     their products, namely “Monster Beverage,” “NOS Original” and “Red Bull Energy
20
     Drink,” were dangerous or were likely to be dangerous when used in a manner for
21
     which they are intended, i.e., ingested orally to increase energy.
22

23         84.        Such scientific knowledge was readily available to both MONSTER

24   and RED BULL in the form of medical articles and studies, and numerous reported
25   cases of people suffering from serious health problems and/or dying from ingesting
26
     their products. The materials are dated before and after the year of 2004.
27
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           85.      The risks posed by inadequate warnings of “Monster Beverage,” “NOS
 1

 2   Original” and “Red Bull Energy Drink” are beyond those contemplated by the

 3   ordinary consumer, such as Mr. Omelin. Namely, an ordinary consumer would not
 4   and could not anticipate that a product designed to promote vitality and give energy
 5
     would cause severe health risks.
 6
           86.      In violation of WPLA, RCW 7.72.030 (2), at the time “Monster
 7
     Beverage,” “NOS Original” and “Red Bull Energy Drink” left Defendants’ control,
 8

 9   they were not reasonably safe in construction and/or not reasonably safe because they

10   did not conform to the implied warranties under Title 62A RCW, including RCW

11   62A.2-314, and the implied warranty of merchantability.
12         87.      “Monster Beverage,” “NOS Original” and “Red Bull Energy Drink”
13
     energy drinks were not reasonably safe in construction because, at the time they left
14
     their respective manufacturer’s control, all products contained dangerous mixture of
15
     high amounts of caffeine and additional ingredients, namely taurine (“Red Bull Energy
16

17   Drink”), and guarana/taurine mix (“Monster Beverage” and “NOS Original”), and when

18   mixed with alcohol, consumed before, during, and after physical activity, and/or

19   overused, resulted in cardiovascular problems, nausea, vomiting, insomnia,
20
     convulsions, and death.
21
           88.      The risks posed by the unsafe construction of “Monster Beverage,”
22
     “NOS Original” and “Red Bull Energy Drink” are beyond those contemplated by the
23
     ordinary consumer, such as Mr. Omelin. Namely, an ordinary consumer would not
24

25   and could not anticipate that a product designed to promote vitality and give energy

26   would cause severe health risks enumerated above.
27
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           89.      “Monster Beverage,” “NOS Original” and “Red Bull Energy Drink”
 1

 2   were not reasonably safe in construction because, when it left MONSTER and RED

 3   BULL’s control, the energy drinks’ composition materially deviated from
 4   Defendants’ design specifications and/or performance standards.
 5
           91.      “Monster Beverage,” “NOS Original” and “Red Bull Energy Drink,” are
 6
     products consumed to increase energy and improve vitality. MONSTER and RED
 7
     BULL’s design specifications, i.e., choice and amount of ingredients, failed to
 8

 9   anticipate the severe health risks associated with the consumption of their products.

10          a.   Specifically, the design specifications failed to appreciate the danger and

11               health risks resulting from mixing energy drinks, such as “Monster
12               Beverage,” “NOS Original” and “Red Bull Energy Drink,” with alcohol,
13
                 and/or the use of the products at or near the time of physical activity, and/or
14
                 overconsumption.
15
           92.      Prior to and on the day of his death on October 30, 2014, Mr. Omelin
16

17   purchased and regularly consumed “Monster Beverage,” “NOS Original” and “Red

18   Bull Energy Drink” for at least four (4) years.
19
           93.      Mr. Omelin purchased energy drinks on the day of his death and
20
     consumed at least two (2) 16oz “Red Bull Energy Drink” cans with two to three (2-3)
21
     shots of cognac at about 7-9pm on October 29, 2014.
22
           94.      Within 24 hours before to his death, Mr. Omelin consumed at least four
23

24   (4) 16oz cans of “NOS Original” and “Red Bull Energy Drink,” manufactured by

25   MONSTER and RED BULL, respectively, causing his death in the early morning
26   hours of October 30, 2014.
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              95.    Energy drinks, “Monster Beverage,” “NOS Original” and “Red Bull
 1

 2   Energy Drink,” consumed by Mr. Omelin before his death were harmful at the time of

 3   consumption in that they caused cardiovascular problems, nausea, vomit, insomnia, and
 4   death when consumed with alcohol, before/during/after physical activities, and/or
 5
     overconsumed.
 6
              96.    The severe health risks associated with “Monster Beverage,” “NOS
 7
     Original” and “Red Bull Energy Drink,” which ultimately lead to Mr. Omelin’s
 8

 9   death, could not have reasonably been expected by an ordinary consumer.

10            97.    The harmful conditions and severe health risks associated with

11   “Monster Beverage,” “NOS Original” and “Red Bull Energy Drink” were a
12   substantial factor in bringing about conditions that ultimately caused Mr. Omelin’s
13
     death.
14
              98.    Prior to Mr. Omelin’s consumption of “Monster Beverage,” “NOS
15
     Original” and “Red Bull Energy Drink,” MONSTER and RED BULL warranted to
16

17   Mr. Omelin, and other similarly situated consumers, that their products were of

18   merchantable quality and safe and fit for the use for which it was intended, i.e., to
19   promote stamina and energy.
20
              99.    Mr. Omelin relied entirely on the expertise, knowledge, skill, judgment,
21
     and implied warranty of MONSTER and RED BULL in choosing to consume “Monster
22
     Beverage,” “NOS Original” and “Red Bull Energy Drink.”
23

24            100.   “Monster Beverage,” “NOS Original” and “Red Bull Energy

25   Drink” consumed by Mr. Omelin were neither safe for their intended use nor of

26

27
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     merchantable quality in that they possessed a dangerous mixture of ingredients
 1

 2   that, when put to its intended use, caused severe and fatal injuries to Mr. Omelin.

 3         101.     By selling, delivering and/or distributing defective products to Mr.
 4   Omelin, MONSTER and RED BULL breached its implied warranty of merchantability
 5
     and the implied warranty of fitness.
 6
           102.     Plaintiff is entitled to recover economic and non-economic damages
 7
     against MONSTER and RED BULL for the wrongful death proximately caused by Mr.
 8
     Omelin’s consumption of “Monster Energy,” “NOS Original” and “Red Bull Energy
 9

10   Drink,” and directly attributable to MONSTER and RED BULL’s failures as described

11   herein.

12         103.     As a direct and proximate result of MONSTER and RED BULL’s
13   violations of RCW 7.72 et.seq., Mr. Omelin suffered an untimely and painful death.
14
           104.     As a direct and proximate result of MONSTER and RED BULL’s
15
     violations of RCW 7.72 et.seq., Ms. Omelin and her children were deprived of the love,
16
     companionship, comfort, affection, support, and society of Mr. Omelin.
17

18                                   Second Cause of Action
                  Fraud – Concealment, Suppression or Omission of Material Facts
19                            (By Plaintiffs Against All Defendants)

20                        Fraud Allegations Against Monster Energy Company
21         105.     Plaintiff re-alleges each and every allegation contained in this Complaint
22
     with the same force and effect as if fully set forth herein.
23
           106.     Prior to and during the years of 2009-2014, MONSTER fraudulently
24
     concealed and/or suppressed facts in its advertising, labeling, packaging, marketing and
25

26   promotion of “Monster Beverage” and “NOS Original” that led consumers, such as Mr.

27
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     Omelin, to falsely believe that the products posed no greater risk to the health of its
 1

 2   consumers than did regular soft drinks, such as carbonated lemonade.

 3          107.     Specifically, MONSTER advertised and labeled its products as “the ideal

 4   combo of the right ingredients in the right proportion to deliver the big bad buzz that only
 5
     Monster can. Monster packs a powerful punch but has a smooth easy drinking flavor.
 6
     Athletes, musicians, anarchists, co-ed’s, road warriors, metal heads, geeks, hipsters,
 7
     and bikers dig it- you will too.”
 8

 9          108.     MONSTER promotes their products, “Monster Beverage” and “NOS

10   Original,” through the use of sport themed events and prominent sports figures,

11   which would lead an ordinary consumer, such as Mr. Omelin, to believe that the
12   energy drinks are safe and healthy to use.
13
            109.     Due to serious health risks associated with consumption of “Monster
14
     Beverage” and “NOS Original,” MONSTER owed a duty to disclose the truth about
15
     the significant adverse health risks associated with the consumption but failed to do so.
16

17   Health risks include, but are not limited to, cardiovascular problems, nausea, vomiting,

18   insomnia, convulsions, and death.

19          110.     MONSTER knew of potential health risks associated with consumption
20
     of “Monster Beverage” and “NOS Original,” which were caused by high amount of
21
     caffeine and caffeine’s interaction with other active ingredients and alcohol, use of the
22
     products as a hydration during physical activity, and/or over consumption, yet
23

24   MONSTER took steps in advertising, labeling, packaging, marketing and promotion of

25   “Monster Beverage” and “NOS Original,” to fraudulently conceal and/or suppress such

26

27
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     facts to prevent consumers from learning about the risks arising out of consumption of
 1

 2   its products.

 3          a. Namely, advertising consists primarily out of sporting figures and events,
 4                music personalities, and video games which would lead an ordinary
 5
                  consumer to believe that the advertised product is safe for intended use, i.e.,
 6
                  to promote vitality and increase energy.
 7
            b. Moreover, nothing on the website or the packaging would indicate that
 8

 9                the contents of the above-mentioned products have the potential for

10                creating undesirable consequences for its consumers, i.e.,

11                cardiovascular problems, nausea, vomiting, insomnia, convulsions, and
12
                  death.
13
           111.      The concealment of the risks associated with advertising, labeling,
14
     packaging, marketing and promotion of “Monster Beverage” and “NOS Original”
15
     was done with the intent to induce consumers, such as Mr. Omelin, to purchase and
16

17   consume MONSTER’s products.

18         112.       MONSTER intended for its consumers, such as Mr. Omelin, to rely on

19   advertising, labeling, packaging, marketing and promotion of “Monster Beverage” and
20
     “NOS Original,” and to believe that no harm would result from their consumption.
21
           113.      The reliance by Mr. Omelin on the safety of “Monster Beverage” and “NOS
22
     Original” was justified and reasonable in that MONSTER appeared to be, and represented
23
     itself to be, a reputable company that would not fail to disclose the truth about any harmful
24

25   health effects of consuming its products. MONSTER appeared that way by supporting

26   active and healthy lifestyle through its collaboration with major sporting events.

27
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          114.      As a direct and proximate result of MONSTER’s fraudulent
 1

 2   concealment and/or suppression of material facts regarding its products, Mr. Omelin

 3   suffered an untimely and painful death.
 4
          115.      As a direct and proximate result of MONSTER’s fraudulent
 5
     concealment and/or suppression of material facts regarding its products Ms. Omelin
 6
     and her children were deprived of the love, companionship, comfort, affection,
 7
     support, and society of Mr. Omelin.
 8

 9                      Fraud Allegations Against Red Bull North America, Inc.

10        116.      Plaintiff re-alleges each and every allegation contained in this
11   Complaint with the same force and effect as if fully set forth herein.
12
          117.      Prior to and during the years of 2009-2014, RED BULL fraudulently
13
     concealed and/or suppressed facts in its advertising, labeling, packaging, marketing and
14
     promotion of “Red Bull Energy Drink,” that led consumers, such as Mr. Omelin, to
15

16   falsely believe that the product posed no greater risk to the health of its consumers than

17   did regular soda drinks, such as carbonated lemonade. Specifically, RED BULL

18   advertises their product as “Red Bull Gives You Wings,” and the website proudly
19
     states “Wings When You Need Them.”
20
          118.      RED BULL’s website claims that “Red Bull Energy Drink” should be
21
     used “on the road, during lectures & study sessions, at work, while doing sports,
22
     playing video games, or going out day and night.”
23

24        119.      Due to serious health risks associated with consumption of “Red Bull

25   Energy Drink,” RED BULL owed a duty to disclose the truth about the significant
26   adverse health risks associated with the consumption of its product but failed to do so.
27
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     Health risks include, but are not limited to, cardiovascular problems, nausea, vomiting,
 1

 2   insomnia, convulsions, and death.

 3        120.      RED BULL knew of potential health risks associated with consumption
 4   of “Red Bull Energy Drink,” which were caused by high amount of caffeine and
 5
     caffeine’s interaction with other active ingredients and alcohol, use of the products as a
 6
     hydration during physical activity, and/or over consumption, yet RED BULL took
 7
     steps in advertising, labeling, packaging, marketing and promotion of “Red Bull
 8

 9   Energy Drink” to conceal such facts to prevent consumers from learning about the risks

10   arising out of consumption of its products.

11        121.      Namely, advertising consists primarily out of sporting figures and
12
     events. RED BULL’s website contains quotes from sports figures, such as: “Red Bull is
13
     one of my go to tools for high intensity workouts, during an endurance workout, or just
14
     when getting some work done!”
15
          122.      Despite known risks caused by consumption of “Red Bull Energy
16

17   Drink,” nothing on the RED BULL’s website or product’s packaging would indicate

18   that the contents of the above-mentioned product could create undesirable
19   consequences for its consumers, i.e., cardiovascular problems, nausea, vomiting,
20
     insomnia, convulsions, and death. Quite to the contrary, RED BULL’s web-site
21
     “screams” of products’ positive effects.
22
          123.      The fraudulent concealment and/or suppression of the known risks
23

24   associated with advertising, labeling, packaging, marketing and promotion of “Red

25   Bull Energy Drink” was done with the intent to induce consumers, such as Mr.

26   Omelin, to purchase and consume RED BULL’s products.
27
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           124.     RED BULL intended for its consumers, such as Mr. Omelin, to rely
 1

 2   on advertising, labeling, packaging, marketing and promotion of “Red Bull Energy

 3   Drink,” as well as on its suppression of the true facts about the risks and dangers
 4   associated with consumption of its products.
 5
           125.     The reliance by Mr. Omelin on the safety of “Red Bull Energy Drink”
 6
     was justified and reasonable in that RED BULL appeared to be, and represented itself to
 7
     be a reputable company that would not fail to disclose the truth about any harmful
 8

 9   health effects of consuming its products. RED BULL appeared that way by supporting

10   active and healthy lifestyle through its collaboration with major sporting events.

11         126.     As a direct and proximate result of RED BULL’s fraudulent
12   concealment and/or suppression of material facts regarding its products, Mr. Omelin
13
     suffered an untimely and painful death.
14
           127.     As a direct and proximate result of RED BULL’s fraudulent
15
     concealment and/or suppression of material facts regarding its products, Ms. Omelin
16

17   and her children were deprived of the love, companionship, comfort, affection,

18   support, and society of Mr. Omelin.

19                            V. PUNITIVE DAMAGES ALLEGATIONS
20
                                   (By Plaintiff Against All Defendants)
21
           128.     Plaintiff re-alleges each and every allegation contained in this
22
     Complaint with the same force and effect as if fully set forth herein.
23
           129.     At all pertinent times, MONSTER and RED BULL knew that their
24

25   products contain dangerous mix and levels of caffeine and other ingredients, and knew

26

27
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     the serious health risks to consumers associated with consumption of their products,
 1

 2   such as cardiovascular problems, nausea, vomiting, insomnia, convulsions, and death.

 3         130.     With such knowledge and in furtherance of their own financial interests,
 4   MONSTER and RED BULL willfully, wantonly and maliciously engaged in the
 5
     design, manufacture, production, testing, study, inspection, mixture, labeling,
 6
     marketing, advertising, sales, promotion, and/or distribution of “Monster Energy,”
 7
     “NOS Original” and “Red Bull Energy Drink,” while simultaneously failing to warn
 8

 9   potential consumers of the dangerous propensities.

10         131.     With such knowledge and in furtherance of their own financial interests,

11   MONSTER and RED BULL willfully, wantonly and maliciously, and with conscious
12
     disregard for, and indifference to, the health and safety of consumers, including Mr.
13
     Omelin, failed and refused to supply adequate warnings and/or information to protect
14
     consumers and/or otherwise reduce and eliminate the health risks, namely
15
     cardiovascular problems, nausea, vomiting, insomnia, convulsions, and death, to
16

17   consumers associated with the consumption of “Monster Energy,” “NOS Original” and

18   “Red Bull Energy Drink” along or in combination with alcohol,
19   before/during/following physical activity, and as a result of overconsumption.
20
           132.     As a direct and proximate result of MONSTER and RED BULL’s
21
     conduct, and because their acts and omissions were willful, wanton, malicious,
22
     intended and in conscious disregard for, and indifference to, the health and safety of
23

24   potential consumers, such as Mr. Omelin, an award of exemplary or punitive damages

25   is appropriate and necessary to punish MONSTER and RED BULL, and to deter them

26   from engaging in such misconduct in the future and to affect significant change in the
27
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     way MONSTER and RED BULL design, manufacture, market, promote, warn about,
 1

 2   distribute and/or sell their products.

 3                                      VII. JURY DEMAND
 4         133.      Plaintiff requests a 12-person jury to hear this matter.
 5
                      VIII. PRAYER FOR RELIEF AS TO ALL CLAIMS
 6
             WHEREFORE, Plaintiff requests that the Court enter judgment against
 7
     Defendants, jointly and severally, including:
 8

 9          1. General damages for the physical pain and suffering, mental and emotional

10   distress, anguish, anxiety, impairment of earning capacity, loss of services, including
11   loss of love, affection, care, companionship, society and consortium, loss of enjoyment
12
     of life and all such other damages as are just and recoverable as general damages for
13
     the death of Mr. Omelin;
14
            2. Special damages in an amount to be proven at the time of trial for destroyed
15

16   earning capacity of Mr. Omelin occasioned by his death and loss of lifetime earnings,

17   and all other such recoverable special damages as are just arising from the injuries to

18   each of Anna Omelin, A.S, a minor, A.O., a minor, and A.O., a minor;
19          3. Special damages in an amount to be proven at the time of trial for net
20
     economic loss to the Estate of Mr. Omelin and/or loss of support of all beneficiaries of
21
     the Estate of Mr. Omelin occasioned by the wrongful death of Mr. Omelin;
22
            4. General damages for the pain and suffering occasioning by the death of
23

24   Mr. Omelin, including his knowledge and awareness of impending doom;

25          5. As to the Second Cause of Action against all Defendants, Ms. Omelin,

26   as surviving spouse and successor in interest to Mr. Omelin, prays for punitive or
27
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     exemplary damages recoverable under Washington state law or any other
 1

 2   applicable law, in an amount to be determined at trial;

 3          6. Funeral and burial expenses relating to Mr. Omelin;
 4          7. All other general and special damages recoverable under Washington state
 5
     law or any other applicable law;
 6
            8. Pre- and post-judgment interest;
 7
            9. Costs, including reasonable attorney fees as allowed by law; and
 8

 9         10. Such other further relief that the Court may deem just and equitable.

10
                                                               th
                           Respectfully submitted this on 16 day of January, 2017.
11
                                                       s/ Olga Efimova
12
                                                       Olga Efimova, WSBA #52498
13                                                     Cosmopolitan Legal, PLLC
                                                               th
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16                                                     E-mail: olgae@cosmopolitanlegal.com
                                                       Attorney for Plaintiff Anna Omelin
17

18

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                                  CERTIFICATE OF SERVICE
 1

 2            I hereby certify that on January 16, 2018, I electronically filed the foregoing with

 3   the Clerk of the Court using CM/ECF system, which will send notification of such filing to
 4   all parties of record who have appeared in this matter
 5
             DATED this 16th day of January, 2018.
 6

 7                                                     s/ Olga Efimova
                                                       Olga Efimova, WSBA #52498
 8                                                     Cosmopolitan Legal, PLLC
 9                                                     151 108th Ave NE, Unit 210
                                                       Bellevue, WA 98004
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12

13

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                    UNITED STATES DISTRICT COURT
                  WESTERN DISTRICT OF WASHINGTON
                                 AT TACOMA


ANNA OMELIN, individually and as                    )
an administrator of the Estate of                   )
Anton Omelin, deceased,                             )
                                                    )
                          Plaintiff,                )
                                                    )
                    vs.                             ) No. 3:17-cv-05837
                                                    )
HANSEN BEVERAGE COMPANY d/b/a                       )
MONSTER BEVERAGE CORPORATION, a                     )
Delaware corporation, MONSTER                       )
ENERGY COMPANY, a Delaware                          )
corporation, RED BULL NORTH                         )
AMERICA, INC., a California                         )
corporation, and DOES 1-100,                        )
inclusive,                                          )
                                                    )
                          Defendants.               )

              VIDEOTAPED DEPOSITION OF ANNA OMELIN
                             August 6, 2018
                          Seattle, Washington




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24
25   Also present:    Dan Bassett, Videographer
                      Linda Noble, Interpreter
                      Linda Noble, Interpreter

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                                         Anna Omelin
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                                    Seattle/Tacoma, Washington



 1          there, he was very friendly to them.
 2              He would invite them over to our house not that
 3          often but maybe like once a month.
 4   Q      Do you remember the names of anyone else that would come
 5          over to the house?

 6   A      Well, they would be rotating pretty often.
 7              Some of them I saw a few times.
 8              I remember them, yeah.
 9   Q      Do you remember any names that you can provide of people

10          who would come over to the house?
11   A      Yeah, I can recall a few.          Just a second.
12              Yeah, Oleg.      His last name-- just a second.
13              His last name just slipped my mind.               I know his
14          last name.    It just slipped my mind.            I'll recall it.
15                So there was an Ilya, a Boris.             I don't remember--
16          I don't know his last name.           Volodya, I think his last
17          name was Ivaschuk, but I'm not sure.
18              There were some other guys too, but, honestly--
19          well, their names-- no, I can't-- I can't name any other
20          names.
21                So they would come over, and I would meet them, and
22          then I was usually going off and doing-- taking care of
23          the kids, and they would go like into the backyard and
24          have a barbecue or something.
25   Q      Were these all people that also worked at Balt Trade?



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 1   A      I'm not sure.      I don't think so.
 2   Q      Do you know what else Anton would do when these people
 3          came over, other than have a barbecue?

 4   A      They socialized, they would make barbecues, and
 5          sometimes like I would make them a salad or something to
 6          put on the table.
 7                 I basically didn't interfere in the male
 8          conversation or their business or--
 9   Q      Would you see them drinking alcohol?

10   A      Sometimes, yes.
11   Q      What kind of alcohol?

12   A      Beer.
13   Q      Any other types of alcohol?

14   A      At least I didn't see anything aside from beer.
15   Q      Would you see them smoking?

16   A      Yes.
17   Q      You mentioned earlier that Anton would be doing coding

18          on the computer for the website.
19              Do you recall that?

20   A      I'm not sure that he was writing code, but I saw like
21          random letters and numbers, and he said that it was a
22          programming language.
23   Q      Do you know if Anton had any training in computer

24          programming or software languages?
25   A      As far as I know, he taught himself that.



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 1   Q      And how do you know that?

 2   A      He told me.
 3   Q      Did Anton have a habit of exercising?

 4   A      Yes, all the time.
 5   Q      And when you say "all the time," how many times per week

 6          would you say?
 7   A      So at home we had--
 8                                INTERPRETER:        The interpreter needs
 9          to clarify the word "training device."

10                                  THE WITNESS:        And also at work, his
11          work was physical.

12                                INTERPRETER:        The interpreter
13          clarified the training device is like a weight--

14          multi-facetted weight machine.
15                                  THE WITNESS:        And we also have-- at

16          home we have pull-up bars in the doorways.
17                                MS. EFIMOVA:        I would like to

18          interfere here.
19              It's like a Bowflex machine, what they have.

20                                  INTERPRETER:        She said, "What's
21          that," so that's a conversation between the two of them.

22                                MR. WILLIAMS:         I think I have enough
23          of an idea.

24                                MS. EFIMOVA:        I think we're good
25          here.



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 1          while he was exercising?

 2   A      He had an energy drink with him everywhere he went.
 3                  Just like I would give the kids a bottle and they
 4          would have a bottle with them, that's how he would have
 5          his energy drink, all the time, everywhere.
 6   Q      My question:
 7              Did you ever see him drink an energy drink while he

 8          was exercising?
 9   A      Yes.
10   Q      On how many occasions?
11   A      I wasn't with him every time he did that, but when I was
12          with him, he would stop, take a gulp, and then continue.
13   Q      And for how long do you recall seeing him drinking

14          energy drinks while he was exercising?
15                                   INTERPRETER:        Can the interpreter

16          clarify the question?
17              Do you mean over what period of time or--

18                                 MR. WILLIAMS:         Correct, over what
19          period-- let me rephrase it.

20                                   INTERPRETER:        Okay.
21   Q      (By Mr. Williams)        Would Anton exercise-- let me start

22          over.
23              When did you first get the exercise machine in your

24          house?
25   A      I can't say.



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 1                 What I can tell you is the sequence of events was
 2          that he painted the garage, and then at some point that
 3          training machine, exercise machine, appeared in the
 4          garage, but I can't tell you when it was.
 5   Q      Was-- do you recall Anton drinking energy drinks while

 6          he was exercising during the entire time that you had
 7          the exercise machine in your garage?

 8   A      Yes.     I saw it several times, yes.
 9   Q      Did Anton ever complain to you that he felt different or

10          sick after exercising and drinking energy drinks?
11   A      No.
12   Q      Did you ever see Anton throw up or vomit after
13          exercising while drinking energy drinks?

14   A      No.
15   Q      Did Anton smoke cigarettes?

16   A      Yes.
17   Q      And what kind?

18   A      Marlboro Red.
19   Q      And how much did he smoke?

20   A      Well, if he opened a pack in the morning, then by
21          evening it was pretty much finished.
22   Q      Did he typically smoke a pack every day?
23   A      Yes.
24   Q      And had he been smoking at the time you first met him?
25   A      Yes.



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 1   Q      Do you know for how long he had been smoking cigarettes?

 2   A      I couldn't tell you exactly.
 3   Q      Do you smoke cigarettes?

 4   A      Yes.
 5   Q      And how long have you smoked cigarettes?

 6   A      I need to add it up.
 7              So from 16, and then when I got pregnant, I
 8          stopped, and then I started again that night, let's see,
 9          so 16-- I can't-- I can't add it up.
10   Q      When you say you started again that night, what night
11          are you referring to?

12   A      Well, not that night, but maybe that morning-- on that
13          ill-fated day.
14   Q      You started smoking again the day that you found Anton
15          had passed away?

16                                INTERPRETER:        There wasn't an answer.
17          There was a nod.

18                                MS. EFIMOVA:        You have to say
19          something out loud.

20                                  THE WITNESS:        Yes, okay.
21              Yes, that time.

22   Q      (By Mr. Williams)       And how much do you smoke a day?
23   A      Five, maybe seven.
24   Q      Five to seven cigarettes per day?
25   A      Yes.



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 1   A      I don't remember.
 2   Q      Do you smoke Marlboro Reds?
 3   A      No.
 4   Q      What do you smoke?
 5   A      Virginia.
 6   Q      Had you ever seen Anton use any kind of drugs?
 7   A      No.
 8   Q      Have you ever seen him take any type of prescription
 9          pills or medication?

10   A      Once.
11   Q      And when was that?

12   A      They were painkillers.
13   Q      And when was he taking painkillers?

14   A      He had a tooth extracted and the doctor prescribed
15          painkillers.
16   Q      Do you recall when that was?
17   A      No.
18   Q      Do you recall what kind of painkillers they were?
19   A      No.
20   Q      Do you recall how long he took the painkillers?
21   A      He probably took them for about two or three days and
22          then stopped.
23   Q      Other than painkillers, have you seen him ever take any

24          other type of medication or prescription pills?
25   A      No.



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 1   Q      Did you ever see him take any type of supplements for

 2          working out?
 3   A      No.
 4   Q      How often would Anton drink alcohol, to your knowledge?
 5   A      Well, beers, maybe once a month, like a couple of
 6          bottles, and then hard liquor, maybe two or three times
 7          per year.
 8   Q      And for beers, what kind of beers would he drink?
 9   A      I don't know.
10   Q      For hard alcohol, what kind of hard alcohol would you
11          see him drink?

12   A      Cognac, brandy.
13   Q      Anything else?

14   A      That's it.
15   Q      And when you saw him drink cognac or brandy, how would

16          he drink it?
17                Would it be mixed or as a shot?

18   A      He didn't drink it mixed, and he wouldn't drink shots.
19                He would pour it into like a bigger cup and then
20          drink it slowly.
21   Q      Did you ever see him drink wine?

22   A      Maybe once or twice.
23   Q      Had you ever seen Anton drunk before?

24   A      Never.
25   Q      Have you ever seen him throw up after drinking?



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 1   A      No.
 2   Q      Have you ever seen him pass out after drinking?
 3   A      No.
 4   Q      Would you keep alcohol in the house?
 5   A      Yes.
 6   Q      And what kind of alcohol would you keep in the house?
 7   A      Mainly cognac or brandy.
 8   Q      Did you ever notice any change in Anton's drinking
 9          habits, in terms of how often or how much he would

10          drink?
11   A      No.
12   Q      Do you drink alcohol?
13   A      Sometimes, yes.
14   Q      And when you drink, what do you drink?
15   A      Whiskey.
16   Q      What type of whiskey?
17   A      Jack Daniels Honey.
18   Q      When you drink whiskey, how much would you typically
19          drink?

20   A      I'm not sure how much it is, but less than half a glass.
21   Q      Do you drink coffee?

22   A      Yes.
23   Q      Regular or decaf?

24   A      Regular.
25   Q      How often?



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 1   A      Every morning.
 2   Q      And how many cups would you have in a particular given
 3          day?

 4   A      One cup for sure, and then I might make or buy another
 5          one.
 6   Q      Would you typically make coffee at home?
 7   A      Yes.
 8   Q      And what kind of coffee would you use?
 9   A      I don't know the name, but it was, you know, like ground
10          coffee that we would make using like a coffee maker.
11   Q      Would you typically-- would you or Anton typically buy

12          the ground coffee from Costco?
13   A      So from Costco, but also we had some kind of coffee from
14          work that sometimes he would bring home.
15   Q      Did you drink the coffee that he would bring home from

16          work?
17   A      Yes, of course.
18   Q      Do you recall if it was stronger than the coffee that
19          you would buy from Costco?

20   A      No, the same-- just the same sort of-- not strong.
21   Q      How often would Anton drink coffee, that you would see?

22   A      In the morning for sure I saw him make some coffee in
23          the morning.
24   Q      Do you know if he would drink coffee at work?
25   A      Yes, I do.



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 1              He did.
 2   Q      And how do you know that?
 3   A      Sometimes I would go to see him at the office.
 4   Q      And do you know how he drank his coffee?
 5   A      He would brew it.
 6   Q      Let me rephrase it.
 7              Did he use sugar or creamer in his coffee?

 8   A      With sugar and cream, but sometimes he would drink it
 9          without cream.
10   Q      Would he typically use Coffee-Mate creamer?
11   A      I don't know if he would buy the ready-made bottles at
12          the store.
13   Q      Did you use creamer-- do you use creamer in your coffee?

14                                  INTERPRETER:        The interpreter wants
15          to clarify one thing.

16              When you say "creamer," are you referring to like
17          artificial cream as opposed to milk--

18                                MR. WILLIAMS:         Let me rephrase it.
19                                INTERPRETER:        Okay.

20   Q      (By Mr. Williams)       With regard to the large bottles of
21          creamer that he would buy at the store, did you use that

22          in your coffee?
23   A      Sometimes, yes.
24   Q      And would Anton also buy coffee from Starbucks on
25          occasion, to your knowledge?



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 1   A      Yes, I saw some-- I saw Starbucks cups.
 2   Q      Do you know what he would drink from Starbucks?
 3   A      When I was with him, he would usually get a vanilla
 4          latte.
 5   Q      Did Anton also drink caffeinated tea?

 6   A      He drank tea, but I don't know whether it had caffeine
 7          or not.
 8                                MS. EFIMOVA:        Can you clarify this
 9          question?    Because every single type of tea has caffeine

10          in it, technically.
11              Do you mean like decaf tea?

12                                MR. WILLIAMS:         Right.
13                                MS. EFIMOVA:        Yeah.

14   Q      (By Mr. Williams)       How often would Anton drink tea?
15   A      I don't know.
16              Sometimes he drank tea.
17   Q      And do you know where he would buy the tea from?

18   A      He would get it at work.
19   Q      Does Balt Trade sell different types of tea?

20   A      Yes, lots of different kinds.
21   Q      Do you know if there are records from Balt Trade that

22          would show what Anton took from work to bring home?
23   A      I don't know.
24   Q      Do you know if Anton drank Mountain Dew soda?
25   A      I think he did.



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 1   Q      And did he drink Coca-Cola?

 2   A      He did.
 3   Q      And Dr. Pepper?

 4   A      Yes.
 5   Q      Did Anton ever tell you that caffeine made him feel

 6          sick?
 7   A      No.
 8   Q      Did he ever tell you that caffeine made him feel
 9          nauseous?

10   A      No.
11   Q      Did you ever tell him not to drink so much caffeine?

12   A      No.
13   Q      Did he drink coffee in the evenings to stay awake?

14   A      I don't know whether he did it to stay awake, but I-- as
15          a drink, he drank coffee in the evenings as well.
16   Q      How much coffee would he typically drink in the
17          evenings?

18   A      One cup.
19   Q      Approximately what time of the evening?

20   A      When he came home from work.
21                 It was at various times.
22                                             (Exhibit No. 1 marked
23                                              for identification.)
24
25   Q      (By Mr. Williams)        I would like to show you what we'll



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 1          mark as Exhibit No. 1.

 2                I will ask you if you recognize this photograph.
 3   A      Mm-hm.
 4   Q      I'm sorry?
 5   A      Yes.
 6   Q      And where was this photo taken?
 7   A      At the office.
 8   Q      At the Balt Trade office?
 9   A      Yes.
10   Q      Do you know when it was taken?
11   A      No.
12   Q      Do you know who took the photo?
13   A      No.
14   Q      If you see, there's an orange bag on the table which
15          says, "Big Leaf Ceylon Tea."

16                Do you see that?
17   A      I see it.
18   Q      Is that tea that he would-- is that tea that Balt Trade
19          sells, if you know?

20   A      Yes.
21   Q      Did you ever see him drink that type of tea?

22   A      No.
23   Q      Did you ever see that tea at home?

24   A      I don't remember.
25   Q      And if you look above the microwave, there's a coffee



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 1   A      At first I didn't even notice or pay attention to what
 2          he was drinking or when or how, but then after a while I
 3          noticed that he was coming to work with energy drinks.
 4   Q      When you say you noticed he was coming to work with
 5          energy drinks, how did you notice that?

 6   A      What do you mean?       Like when a person comes in and he's
 7          holding an energy drink-- that's how I noticed.
 8   Q      When Anton first started working at Balt Trade, were you
 9          working there as well?

10   A      No.
11   Q      Would you visit the offices at Balt Trade?

12   A      Very often.
13   Q      And that's when you would notice Anton come to work with

14          energy drinks?
15   A      It wasn't something that I like particularly noticed or
16          paid attention to, but I noticed that he would come to
17          work with an energy drink in the morning.
18   Q      And at some point in time did you notice he was drinking
19          more energy drinks?

20   A      So it's not like there was some sudden change, you know,
21          over time.
22                There were some days when people drink less or
23          people drink more, but over a period of time it
24          gradually became more and more.
25                                            (Exhibit No. 2 marked



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 1                                             for identification.)
 2
 3   Q      (By Mr. Williams)       I would like to show you what we'll

 4          mark as Exhibit No. 2.
 5              And if you could turn to Page 5, and starting at

 6          the end of Line No. 15, it says, "Mr. Omelin normally
 7          consumed 16-ounce cans of 'NOS Original,' replacing it

 8          with 'Monster Energy Drink' and 'Red Bull Energy Drink'
 9          when NOS Original was not available."

10              Do you see that?
11   A      Yes.
12   Q      Is that accurate?
13   A      Yes.
14   Q      Did Anton ever tell you why he would normally drink NOS
15          Original?

16   A      It was-- he liked the taste.
17   Q      Did he tell you that?

18   A      Yes.
19   Q      Did he tell you he liked the taste of NOS Original

20          better than Monster Energy or Red Bull Energy Drink?
21   A      Yes.
22   Q      Did he typically keep NOS Original Energy Drink at home?
23   A      He didn't keep it.       He would come with open cans.
24   Q      Okay.   Did Anton ever keep any type of energy drink at
25          home, at the house?



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 1   A      So he might get like two cans and have one open and then
 2          the other one keep until morning or even drink it in the
 3          evening.
 4   Q      But other than maybe having two cans, did he ever bring
 5          home a case of energy drinks that he would keep at the

 6          house or some larger quantity?
 7   A      He did, but I found out about that myself only recently,
 8          relatively recently.
 9                                 INTERPRETER:        Interpreter correction.

10   Q      (By Mr. Williams)        And how did you find out about that
11          recently?

12   A      I heard it from his friend and former work colleague.
13   Q      And what did they tell you?

14                                 INTERPRETER:        The interpreter needs
15          to correct.      That was one of the-- that was one person,

16          friend and former work colleague.
17                                 MR. WILLIAMS:         Okay.

18                                 INTERPRETER:        Can you restate the--
19                                 MR. WILLIAMS:         Sure.

20   Q      (By Mr. Williams)        Who was this friend and former work
21          colleague?

22   A      Gennadiy.
23   Q      And what did Gennadiy tell you?

24   A      That Anton and Gennadiy would go to Costco, and Anton
25          would buy entire cases and keep it at work-- keep--



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 1   Q      And does anyone use the other bedroom on the second

 2          floor?
 3   A      Right now?
 4   Q      Correct.
 5   A      No, not really.
 6   Q      Was anyone using that other bedroom on the second floor
 7          as of October 2014?

 8   A      No.
 9   Q      As of October 2014, with respect to your infant

10          daughter, was she staying in your bedroom?
11   A      She slept in the same place where I was sleeping, which
12          was, for the most part, on the first floor of the house.
13   Q      And where were you sleeping on the first floor of the

14          house?
15   A      We had a couch, a big couch.
16   Q      Was that in the living room?
17   A      Yes.
18   Q      And were you staying on the first floor of the house
19          because you had had a C-section?

20   A      Exactly.
21   Q      So had you been staying on the first floor of the house

22          with your infant daughter since you came home from the
23          hospital after giving birth to her?

24   A      The first couple of days, maybe two days, after I got
25          back, I slept in our bedroom, but then I realized it was



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 1          too difficult for me, so we moved down to-- my daughter
 2          and I moved down to the first floor.
 3   Q      Did you have a home office where Anton would work from

 4          home?
 5   A      Yes.
 6   Q      And where was that located?
 7   A      It was next to the younger-- my little son's bedroom.
 8   Q      On the second floor?
 9   A      Yes.
10   Q      Was that one of the four bedrooms in the house that was
11          being used as an office?

12   A      Yes.
13   Q      And who lives in the house now with you?

14   A      Just me and the children.
15   Q      I'd like to talk now about the events on October 29th,

16          2014.
17   A      All right.
18   Q      When was the first time that you saw Anton that day?
19   A      So the 29th, so that is the day before the incident, so
20          I-- I saw him in the morning.
21   Q      Approximately what time?

22   A      I couldn't tell you exactly.           It was very early,
23          possibly between 5 and 6 a.m.
24   Q      Do you remember where you saw him?
25   A      So I was sleeping in the living room, and I woke up to



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 1          feed my daughter, and Anton woke up and came down to the
 2          living room.
 3   Q      Do you recall having any conversation with him that

 4          morning?
 5   A      So I had just given birth.           I was kind of sleepy all the
 6          time, and I know that we said, "Hello" to one another,
 7          but I don't think-- like we weren't really having
 8          conversations at that point.
 9   Q      Did you notice anything unusual about Anton's behavior

10          that morning?
11   A      No.   He was just like-- just like usual, looked the
12          same.
13   Q      How much time passed between when you first saw him that

14          morning and when he left for work?
15   A      I don't remember.
16   Q      Did you actually see him leave for work or had you
17          fallen back asleep at that point?

18   A      I heard him leaving for work.
19   Q      When you say you heard him leaving, did you actually see

20          him leave?
21   A      So the main door, the entry door, and the door to the
22          garage are sort of behind the stairwell, and then
23          there's-- the kitchen is right there, so you can't
24          really see it, and I heard him say, "I'm leaving," and
25          that was it.



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 1   Q      Did Anton speak fluent English?

 2   A      He didn't speak very well, of course, but, you know,
 3          some people understood him.
 4   Q      Do you know if he was able to read English?
 5   A      Yes.
 6   Q      And in your opinion did he understand English when he
 7          was having a conversation with someone?

 8   A      Yes.
 9   Q      Did you see Anton eat anything the morning of 10--

10          October 29th, before he left for work?
11   A      No.
12   Q      Did you see him drink anything before he left for work
13          on October 29th?

14   A      No.
15   Q      When was the next time you spoke to Anton on October

16          29th, 2014?
17   A      Over the course of the day for sure.
18   Q      Was that by telephone?
19   A      Yes.
20   Q      Do you recall how many times you spoke to him during the
21          course of the day?

22   A      I don't remember how many, but I know for sure at least
23          once because we always talked on the phone-- we always
24          talked on the phone once a day.
25   Q      Do you remember anything about the conversation or



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 1          conversations you had with him during the day while he

 2          was at work?
 3   A      I do remember because I remember when we connected by
 4          phone, he said he was going to-- he had something
 5          interesting to tell me that evening.
 6   Q      Other than telling you he had something interesting to
 7          tell you that evening, did he explain what he was

 8          referring to?
 9   A      I don't remember.
10              I think maybe he said that it was something to do
11          with the business.
12   Q      Do you remember anything else about your conversations
13          with Anton during the day on October 29th?

14   A      No, nothing.
15   Q      What time did he come home from work that day?

16   A      I think it was at about 7:00 that he came home.
17   Q      And did you notice anything unusual about his behavior

18          when he came home that evening?
19   A      He was-- well, he was happier, he was in a good mood.
20   Q      Did you see him bring anything in with him when he came
21          home that day?

22   A      Yes.
23   Q      And what was that?

24   A      It was an open can of Red Bull, and there was two cans
25          of boiled meat.



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 1   Q      Anything else?

 2   A      No.
 3   Q      Did he tell you what he had had to eat during the day at

 4          work?
 5   A      No.
 6   Q      Did he tell you anything that he had to drink at work
 7          that day?

 8   A      No.
 9   Q      What time did you have dinner on October 29th?

10   A      I don't remember.
11                Our dinner is just whenever it happens, especially
12          for me.
13   Q      Was there-- let me rephrase that.

14                Did you eat dinner with Anton the night of October
15          29th?

16   A      No.
17   Q      When he got home at 7 p.m., had you and the children

18          already had dinner?
19   A      Yes.
20   Q      And what did you have for dinner?
21   A      I don't remember, but I usually tried to make something
22          simple because it was rather difficult for me to take
23          care of three kids and then stand at the oven, so maybe
24          it was some kind of soup.
25                I don't remember.



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 1   Q      Did Anton bring any type of alcohol home with him on

 2          October 29th, 2014?
 3   A      No.
 4   Q      You mentioned that he brought two cans of boiled meat.
 5                Do you recall what kind of meat it was?

 6   A      So I do remember it was either pork or beef, and it was
 7          Army brand.
 8   Q      And had he brought that kind of boiled meat home before?
 9   A      Yes.
10   Q      Did you see Anton eat dinner at the house that evening
11          after he arrived?

12   A      I didn't see him actually eating.               He started preparing
13          food for himself.
14   Q      Do you recall what he started preparing for himself?
15   A      Macaroni with that canned meat.
16   Q      Did anyone else come over that evening?
17   A      Yes.
18   Q      And who came over?
19   A      My mom.
20   Q      Anyone else?
21   A      No.
22   Q      What time did your mom arrive?
23   A      They came at the same time that evening.
24                                INTERPRETER:        Interpreter correction.
25                They came together that evening.



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 1          waiting for my mom because it was hard for me to go walk
 2          by myself.
 3   Q      So at what-- how long after Anton and your mom arrived

 4          did you go for a walk with your mom?
 5   A      So maybe five minutes.
 6                I knew that they were on their way.
 7                I was already getting ready.
 8                I had gotten my-- the baby ready, and we left
 9          pretty much right away.
10   Q      Did Anton stay at the house when you went on the walk?
11   A      Yes.
12   Q      And how long were you gone on the walk?
13   A      Not for very long, maybe 20 minutes.
14   Q      And when you came back, is that when you saw Anton
15          preparing his food for dinner?

16   A      No.    He started making food immediately when we got
17          home.
18                I saw him get out a pan and put water in it to boil
19          for the macaroni, and then when we got back, he had
20          pretty much eaten his entire portion.
21   Q      And when you got back, you invited your mom and your

22          oldest son to eat some of the macaroni as well?
23   A      My older son didn't go with us on the walk.                 He stayed
24          with my husband and was eating, and then when we came
25          back with my mom, Anton asked her if she would like to



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 1          have something to eat, and she said, "Yes," and so he
 2          served her.
 3   Q      Do you know whether Anton had anything to drink while

 4          you were on the walk with your mom?
 5   A      I saw a can of Red Bull on the table near him, and I
 6          assumed that he probably drank some of that.
 7   Q      Was that the same can of Red Bull that he came home with

 8          when he got home from work?
 9   A      I don't know.
10                Maybe it was a different one.
11   Q      Did you see him come home-- let me rephrase that.

12                When he arrived, you said he had one open can of
13          Red Bull with him as well as the two cans of boiled

14          meat, correct?
15   A      Yes.
16   Q      At some point-- well, other than seeing the can of Red
17          Bull on the table, are you aware of whether he drank

18          anything else while you were gone on the walk?
19   A      I didn't see it.      I was out for a walk.
20   Q      When you got home from the walk, did you see Anton eat
21          anything, other than the macaroni that he had made?

22   A      No.
23   Q      Did you see Anton drink anything when you got home from

24          the walk?
25   A      So I remember that when he was sitting at the table with



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 1          that plate in front of him with the food not completely
 2          eaten, his computer was open, and he was typing
 3          something, and he took some more gulps of the Red Bull.
 4   Q      Did you see him drink any alcohol once you got home from
 5          your walk?

 6   A      He drank some alcohol, but it was much later.
 7   Q      When you say "much later," what time was it that you saw

 8          him drink alcohol?
 9   A      It was after my mom had left.
10              I had already put my daughter to bed, so it was
11          probably after 9 p.m.
12   Q      What time did you typically put your daughter to bed?
13   A      Well, she was a three-week-old infant, and she didn't
14          really have a particular bedtime.               She was still
15          breastfeeding, and basically she slept almost all the
16          time, so I just rocked her to sleep.
17   Q      Did you actually see Anton drink alcohol that evening?

18   A      Yes.
19   Q      What did you see him drink?

20   A      Cognac.
21   Q      And how much cognac did you see him drink?

22   A      Well, he doesn't drink, you know, shots, so I saw him
23          put-- pour it into a glass three, maybe four, times, and
24          just a little bit, like-- like this amount.
25   Q      And approximately what time was it that you saw him



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 1          drinking cognac?

 2   A      It was after-- probably after 9, and we were-- maybe
 3          until midnight we were talking.
 4   Q      So between 9 and midnight, that's when you saw him have
 5          three or four glasses of cognac?

 6   A      Not a glass.
 7              So each time he was pouring about this amount, and
 8          then if you add up that three or four times, the total
 9          would be about like this.
10   Q      And by "this amount," each time that he poured it, was
11          it approximately an inch of alcohol in the glass?

12   A      I don't know like if it's between inches and
13          centimeters.
14              It was like-- I can show you here.               It was about
15          this much.
16              I'm not sure how much-- is this an inch?                 Is this a
17          centimeter?
18   Q      And you recall speaking with him-- you stayed awake
19          until midnight talking with him; is that correct?

20   A      Yes.
21   Q      Do you recall what you spoke about?

22   A      I do.
23   Q      What did you speak about?

24   A      I do remember that he was telling me the thing that he
25          told me was going to be interesting that he was going to



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 1          tell me about, and he told me that my stepfather had
 2          officially proposed that he take the company entirely
 3          under his own wings.
 4   Q      Did he tell you when your stepfather told him he would
 5          take over the company?

 6   A      I don't remember the time, but what I understood from
 7          his conversation was that it had been that day.
 8   Q      He was given the news that day that he would take over
 9          the company; is that correct?

10   A      It was a proposal that my stepfather made to him, was
11          "Would you like to take over the company and lead it
12          yourself?"
13   Q      Had you ever heard from your mom or your stepfather that

14          they were considering Anton take over the company?
15   A      I had sort of vaguely heard it.
16   Q      What had you heard?
17   A      Well, it wasn't like a specific like, "Oh, here you go,"
18          but it was more like my stepfather is quite elderly and
19          not well, and he would say things like, "Oh, I am just
20          going to give everything over to my son-in-law and let
21          him run the company."
22   Q      Does your father-in-law have any health issues, that
23          you're aware of?

24   A      Yes.
25   Q      And what are those?



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 1   A      A stomach cancer.
 2   Q      And with regard to the cognac that Anton was drinking
 3          that night, was this a bottle that you had at the house?

 4   A      Yes, it was at the house.
 5   Q      Was it a full bottle when he started drinking from it?

 6   A      Yes.
 7   Q      Do you know if it was unopened before he started

 8          drinking from it that night?
 9   A      I assume so because prior to that nobody had taken any.
10   Q      Other than the cognac and the sips of Red Bull that you
11          said you saw him take while he was eating dinner, did

12          you see him drink anything else that night?
13   A      So he was drinking energy drink not only while he was
14          eating dinner.      He was drinking it at the same time as
15          we were drinking the cognac.
16              Besides that, I didn't see him drink anything else.
17   Q      Did you have any cognac that evening?

18   A      Yes.
19   Q      How much did you have?

20   A      A teaspoon-- I mean, literally a teaspoon because my
21          husband poured it into a teaspoon, and I drank it.
22   Q      Were you breastfeeding your daughter around that time?
23   A      Yes.
24   Q      Did anyone else drink cognac that evening at your house,
25          besides you and Anton?



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 1   A      No.
 2   Q      You said you saw him drinking energy drinks while you
 3          were drinking the cognac; is that correct?

 4   A      Yes.
 5   Q      And what kind of energy drinks did you see him drinking?

 6   A      Red Bull.
 7   Q      Anything else?

 8   A      No, I don't recall anything.
 9   Q      Do you know if it was a separate can or a different can

10          than the one he came home with?
11   A      I don't know.
12   Q      Now, did you see him drink anything else, other than the
13          Red Bull and the cognac, that night when he got home?

14   A      I think he also drank coffee-- I think he also drank
15          coffee because when I came back, there was a cup maybe
16          half full of coffee on the table that hadn't been there
17          before.
18   Q      When you came back, do you mean when you came back from
19          your walk?

20   A      Yes, when I was clearing off the table, I saw a cup of
21          coffee.
22   Q      At what point did you last see Anton that-- on October
23          29th?

24   A      I went to bed, and he laid down next to me as well, and
25          then after a little bit of time, he got up.



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 1                I don't know what time it was.
 2                                   INTERPRETER:        Interpreter needs to
 3          clarify.

 4                 (Clarifies.)
 5                                   THE WITNESS:        I don't know how much

 6          time had passed since we had laid down.
 7   Q      (By Mr. Williams)        How do you know it was midnight when

 8          you were-- you said you were drinking cognac from
 9          approximately 9 p.m. to midnight; is that correct?

10   A      Approximately, yes.
11   Q      And how do you know it was midnight when you were

12          drinking the cognac?
13                Did you check your watch at that point?

14   A      I can't say now how I knew what time it was.
15                I know when the police asked me about it, there was
16          some way I was able to determine what time it was, but
17          maybe I guess I must have looked at a clock or somehow I
18          knew what time it was.
19   Q      Between the time you put your daughter to sleep on

20          October 29th and midnight, do you recall her waking up
21          at all?

22   A      No.
23   Q      And when Anton laid in the bed next to you, did he ask

24          you if you wanted to have sex?
25   A      Yeah, something like that.



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 1   Q      And what did you say in response?

 2   A      I told him that I wasn't able to, that it hadn't been
 3          long enough-- not enough--
 4                                  INTERPRETER:        Interpreter correction.
 5                                  THE WITNESS:        Not enough time had

 6          passed since the operation.
 7   Q      (By Mr. Williams)       And had he also asked you the night

 8          before, on October 28th, to have sex as well?
 9   A      No.
10   Q      Did Anton seem intoxicated to you when he had laid down
11          next to you on the couch?

12   A      No, like usual.
13   Q      Did you see Anton eat anything else between the time he

14          had the macaroni dinner and the time he laid down next
15          to you in the bed?

16   A      Yes.
17   Q      What did you see him eat?

18   A      It was cheese and slices of lemon.
19   Q      And what time did you see him eat that?

20   A      So it was between that time when we were drinking the
21          cognac.
22                He had gone out to buy cheese and lemon, and he had
23          cut the lemon.      It was next to the cheese, and we were
24          sitting there talking.
25   Q      What time was it that he went out to buy the cheese and



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 1          the lemon?

 2   A      It wasn't much before 9.
 3                Maybe 8:30.
 4   Q      Had he already started drinking cognac when he went out
 5          to get the cheese and the lemon?

 6   A      No.    It was after.
 7   Q      Do you know where he got the cheese and the lemon from?

 8   A      I don't actually know where, but he said he was going to
 9          go to the gas station.
10   Q      And other than the cheese and the lemon, did you see him
11          bring in anything else?

12   A      No.
13   Q      How long was he gone?

14   A      He was gone for maybe 20, 25, 30 minutes.
15   Q      And how far is the gas station from your house?

16   A      It's not very far.
17                I guess if you calculate it, maybe at the most ten
18          minutes.
19   Q      Do you know if he smoked anything that evening?

20   A      Cigarettes.
21   Q      And how many cigarettes did you see him smoke that

22          night?
23   A      I don't know.
24                He was smoking, he was going out, coming in.
25                I can't recall how many.



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 1   Q      Do you recall if he went out to smoke more than five

 2          times that evening?
 3   A      I don't know.
 4              He went out on the balcony frequently, but he was
 5          also calling someone, so I don't know whether he was
 6          smoking every time he went out or whether he was talking
 7          on the phone.
 8              The thing is, is that the condition I was in at
 9          that time, I was sitting most of the time, and the way
10          that the couch is positioned with respect to the kitchen
11          and the balcony, it has its back to the kitchen and the
12          balcony, so I couldn't see every time he was going out,
13          and so I didn't know whether he was going out with a
14          cigarette or without a cigarette.
15   Q      Where was the bottle of cognac when you were sitting

16          there talking with him in the living room?
17   A      On the little table right in front of us.
18   Q      And-- now, did you eat any of the cheese and lemon that
19          night?

20   A      I honestly don't recall, but logically, probably, yes.
21   Q      You said that Anton was calling someone that night; is

22          that correct?
23   A      Yes.
24   Q      Do you have any idea who he was calling?
25   A      He was calling his cousin, and he wasn't able to get



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 1                                 VIDEOGRAPHER:         Back on record.          Here

 2          marks the beginning of Media Unit No. 4 in the
 3          continuing deposition of Anna Omelin.

 4              The time now is 2:31 p.m.
 5   Q      (By Mr. Williams)        Ms. Omelin, with regard to the

 6          sleeping arrangements on October 29th, 2014, you were on
 7          the first floor in the living room with the infant,

 8          correct?
 9   A      Yes.
10   Q      And was the infant sleeping on the couch or in a
11          bassinet?

12   A      She was in a bassinet.
13   Q      And you said that there was an alarm clock next to-- on

14          the table in the living room; is that correct?
15                 I'm sorry, you said there was an alarm clock on the

16          windowsill.
17              Do you recall that?

18   A      Yes, on the second floor on my-- in my husband's phone
19          he had the alarm clock.
20   Q      So are you able to hear the alarm clock from the couch
21          in the living room if it's going off in the bedroom on

22          the second floor?
23   A      It's a terrible vibration.
24   Q      When you say "terrible vibration," so you could hear the
25          vibration from the second floor down to the first floor?



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 1   A      Yes.
 2   Q      At the time you also-- as of October of 2014, you had a
 3          son who was approximately 3 years old; is that correct?

 4   A      Not quite 3.
 5   Q      And he was sleeping on the second floor, correct?

 6   A      Not that night.
 7                He was sleeping downstairs with me, with us.
 8   Q      Where was the 3-year-old sleeping that night?
 9   A      On the same couch.
10   Q      And your other son, who was 8 years old at the time-- is
11          that correct?

12   A      12.
13   Q      12, and he was sleeping on the third floor; is that

14          correct?
15   A      Yes, in his own room.
16   Q      And did your son, who was 2, almost 3, do you recall him
17          waking up at any point during the night on October 29th?

18   A      No, I don't think he woke up.
19                I don't remember that he did.
20   Q      Was it common for your son, who was not yet 3, to sleep
21          throughout the night without waking up?

22   A      Mostly, yes.
23                Sometimes he would wake up at night once, or at
24          most twice, and ask for a drink.
25   Q      But that did not happen on October 29th, correct?



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 1   A      It did not.
 2   Q      And going back to the two cans of boiled meat that Anton
 3          brought home that night, you said he used one of them to

 4          make the pasta with; is that correct?
 5   A      Yes.
 6   Q      And do you recall that he used the entire can of the
 7          meat with the pasta?

 8   A      I don't know.     I didn't pay attention to it.
 9   Q      And you said there was another can that was not opened

10          when he was cooking dinner; is that correct?
11   A      Yes.
12   Q      When you woke up at 5 a.m., where was the bottle of
13          cognac that you and Anton had been drinking from the

14          night before?
15   A      The evening before, I put it away on the counter, on the
16          island counter.
17              I put away the dishes and the glasses.
18   Q      And did you notice the bottle of cognac when you woke up
19          in the morning?

20   A      No, I didn't see it.        It was in the kitchen.
21   Q      You didn't see it in the kitchen the next morning?

22   A      Maybe it would be better if I were to draw them a plan,
23          a floor plan, of the house so that they would see that
24          even though the kitchen and the living room are one big
25          room, that it's rather large, and the light is separate



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 1          for the two different spaces, so it was dark in the
 2          kitchen.
 3   Q      At any time on October 30th did you see the bottle of

 4          cognac that you and Anton had been drinking from the
 5          night before?

 6   A      No.
 7   Q      Do you recall what kind of cognac it was?

 8   A      I remember the name.
 9   Q      And what was the name?

10   A      Courvoisier.
11   Q      Do you still have the bottle of cognac at your house?

12   A      No.
13   Q      What happened to it?

14   A      Honestly, I don't know.
15                It's possible I threw it out.              Maybe one of the
16          other relatives threw it away.
17                I don't know, but I know it's not around anymore.
18   Q      Did you ever see the bottle of cognac again, at any
19          time, after you moved it from the living room and put it

20          into the kitchen the night of October 29th?
21   A      I don't remember it again after that.
22   Q      At some point on October 30th did you find Anton in the
23          house somewhere?

24   A      Yes.
25   Q      And when was that?



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 1   A      It was sometime between 7 and 8 in the morning.
 2   Q      And where did you find him?
 3   A      In the bathroom.
 4   Q      And which bathroom was this?
 5   A      The one that's off of our bedroom.
 6   Q      How was he laying?
 7                What position was he in when you found him?

 8                                 MS. EFIMOVA:        Can we take a break?
 9                                 MR. WILLIAMS:         Sure.

10                                 VIDEOGRAPHER:         Going off the record.
11          The time now is 2:43 p.m.

12                                          (Recess 2:43 to 2:49 p.m.)
13

14                                 VIDEOGRAPHER:         Back on record.          The
15          time now is 2:49 p.m.

16   Q      (By Mr. Williams)        Ms. Omelin, I know this is difficult
17          and emotional for you, so I am only asking questions

18          that I need to in order to defend the lawsuit that you
19          brought.

20   A      All right.
21   Q      When-- before you found Anton on the morning of October

22          30th, had you heard anything from the upstairs after you
23          woke up around 5 a.m.?

24   A      No.
25   Q      When you went into the bathroom where you found Anton,



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 1          did you move him in any way?

 2   A      I touched him, but he didn't change the position that he
 3          was in.
 4   Q      When you went into the bathroom, did you notice anything
 5          unusual about the bathroom itself, separate from finding

 6          Anton?
 7   A      No.
 8                In a situation like that, when you see something
 9          like that, you don't look at anything else.
10   Q      What did you do after you touched Anton and he didn't
11          move?

12                What did you do next?
13   A      I went out and I called my mom.
14   Q      And what did you tell your mom?
15   A      I told her that Anton had died.
16   Q      Do you recall what she told you?
17   A      She said, "We'll call an ambulance right now and
18          everything will be okay," that the doctors will come and
19          save him or something like that.
20   Q      When you found Anton, did you know at that time that he
21          had already died?

22   A      So the many times that I recalled that situation since
23          it happened, I remember when I opened the door, the
24          first thing I saw were his feet or legs, and they were
25          blue, purple color, and the color of his body was like



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 1          this paper, completely white, and he was-- and his body
 2          was sort of hard.
 3   Q      Were any of your children with you when you found Anton?

 4   A      My daughter.
 5   Q      Other than calling your mom, did you call anyone else

 6          after you found him?
 7   A      I don't remember.
 8   Q      Who was the first person to arrive at your house after
 9          you called your mom?

10   A      My mom.
11   Q      Did she come by herself?

12   A      With my father--
13                                  INTERPRETER:        Interpreter correction.

14                                  THE WITNESS:        With my stepfather.
15   Q      (By Mr. Williams)       How long did it take them to get to

16          your house?
17   A      They came very quickly.
18              I don't remember how long, but very, very fast.
19   Q      After you called your mom, did you go into another room

20          to wait for them to get there?
21   A      So I was-- after I saw Anton, I was sort of crying--
22          screaming and crying, and then I was standing on the--
23          at the base of the stairs that go up to the third floor.
24          There is sort of like a bonus room there, and I was
25          standing there, and my eldest son woke up from the



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 1          sounds and came down the stairs, and I told him, "Don't
 2          go in there," and the two of us went downstairs.
 3   Q      Did you have any discussion with your oldest son about

 4          whether he had heard anything during the night?
 5   A      I asked him.     He said he hadn't heard anything.
 6   Q      Who else showed up at your house that morning after your
 7          mom and your stepfather?

 8   A      So a whole bunch of people came.                It was the police and
 9          ambulance, firemen.
10              There were a whole bunch of people.
11              There was another woman who introduced herself as
12          like a criminal psychologist, and then I called a friend
13          of mine, a girlfriend of mine, who speaks English very
14          well, and I asked her to come over so that she could
15          help me communicate with the police and everybody else.
16   Q      When your mom and stepfather arrived at the house, did
17          either of them go into the bathroom where Anton was?

18   A      My stepfather did.
19   Q      Did you see him go in the bathroom?

20   A      I didn't hear him-- I didn't see--
21                                  INTERPRETER:        Interpreter correction.

22                                  THE WITNESS:        I didn't see him go in,
23          but I heard him go in, and then I heard him cry out and

24          start to cry as well.
25   Q      (By Mr. Williams)       After your mom and stepfather showed



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 1          up, do you recall who were the next people that showed

 2          up first?
 3   A      I think it was a fire truck.
 4                I remember because I ran out to meet them because
 5          they kind of passed the house-- they went past the house
 6          a little bit, so I ran out to tell them to come here,
 7          and then after that, I don't remember-- there was just a
 8          lot of people.
 9   Q      What was the name of your friend that came over to

10          translate?
11   A      Julia Lawrence.
12   Q      And where does she live?
13   A      Right now she lives in an apartment building not far
14          from my house.
15   Q      Where did she live as of October 30th, 2014?

16   A      She lived in the adjacent area-- neighborhood.
17   Q      Do you remember your father-in-law translating for you

18          when the police showed up?
19   A      My father-in-law?
20   Q      I'm sorry, stepfather.
21   A      Yeah, I think that someone was trying somehow to help me
22          communicate with people because they were asking a lot
23          of questions.
24   Q      Do you recall telling anyone on October 30th that you
25          heard Anton in the bathroom at some point during the



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 1          night but didn't know what time it was?

 2   A      So when I woke up again at sometime around 7:00, I
 3          looked outside and I saw that the car was still there,
 4          and I went upstairs into the bedroom, and the way that
 5          the bedroom and the bathroom are situated, if you go
 6          into the bedroom, you can see the light in the bathroom,
 7          and I saw the light was on, and I heard the sound of
 8          running water, so I thought he was taking a shower, and
 9          I didn't go in.      I left and went back downstairs.
10   Q      When you went into the bathroom later, did you see any
11          running water in the bathroom?

12   A      You know, it's either that I saw the water running or
13          somebody told me that the water was running.
14                 I can't remember that precise moment.
15   Q      Do you recall speaking to someone named Melissa Baker

16          from the medical examiner's office, on October 30th?
17   A      I spoke with a woman, but I don't remember what her name
18          was.
19   Q      Did Ms. Lawrence help you translate when you were

20          speaking to the woman?
21   A      I don't remember.
22              That morning it was just such chaos, and there were
23          so many people, and people were asking questions, and I
24          don't remember now who interpreted for whom, and
25          everything just is like-- ended up in one big-- like one



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 1          big mess for me.
 2   Q      Do you recall telling anyone, on October 30th, that
 3          Anton had been complaining of headaches for several

 4          months?
 5   A      I don't recall that.
 6   Q      Do you recall telling anyone, on October 30th, that
 7          Anton had refused to see a doctor?

 8   A      No, I don't recall.
 9              I don't think I was even able to talk at that
10          point.
11   Q      Do you recall telling anyone, on October 30th, that

12          Anton had been drinking a lot of coffee and Red Bull to
13          stay alert?

14   A      There were a lot of-- some people were asking me about
15          something-- they'd seen the can of Red Bull, and they
16          were asking about that, and I said that he had been
17          drinking Red Bull and coffee as well.
18   Q      Do you recall who was asking you about the can of Red
19          Bull?

20   A      One of those that came.
21   Q      Do you recall telling anyone, on October 30th, that a

22          few days earlier Anton was hallucinating and seeing
23          circles in his eyes at work?

24   A      No, I don't remember that.
25   Q      Did anyone ever tell you, before Anton passed away, that



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 1          he was hallucinating and seeing circles in his eyes at

 2          work?
 3   A      I think my mom told me that.
 4   Q      Do you recall when she told you that?
 5   A      I think it was a day or two before he was gone, that she
 6          told me that he was having headaches and was seeing
 7          either circles or stars or dots.
 8   Q      Did you ever ask Anton about that?
 9   A      No, because that happens to me sometimes too if I'm
10          overly tired or I don't sleep for a long time.
11   Q      Did you ever see in the bathroom, on October 30th, a

12          beer bottle next to the bathtub, when you went in?
13   A      I didn't see anything at that point.
14              When I saw him, I didn't see anything else after
15          that.
16   Q      At some point on October 30th did Michael Naccarato come
17          to your house?

18   A      Yes, along with his wife, my mother-in-law.
19   Q      Do you recall about what time they arrived at your

20          house?
21   A      They came after everybody had gone and they had taken
22          Anton away, and maybe it was two hours later or an hour
23          later.
24   Q      Did anyone ever tell you that they found an open can of
25          meat in the bathroom near Anton, on October 30th?



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 1   Q      October of 2017?

 2   A      Yes.
 3   Q      Were you ever told about the toxicology reports that

 4          were done on Anton after he died?
 5   A      So I never saw documents.
 6              My mother-in-law said there was something where
 7          they had weighed his internal organs.
 8   Q      Were you ever told that the blood results showed that
 9          Anton was intoxicated at the time he passed away?

10                                INTERPRETER:        The interpreter wants
11          to clarify.

12              Do you mean intoxicated with alcohol or--
13                                MR. WILLIAMS:         Yes.

14                                INTERPRETER:        Thank you.
15                                THE WITNESS:        So I think I saw those

16          documents, I'm not sure, but I know that my
17          mother-in-law told me that he was very, very drunk.

18   Q      (By Mr. Williams)       What was your reaction when your
19          mother-in-law told you that?

20   A      So my mother-in-law and I are not very close, and at the
21          time when she said that, I felt like maybe she was
22          saying that just to make me feel bad.
23              I didn't believe it because the amount that he
24          drank over three or four hours for an adult man, healthy
25          man, was just not enough for him to be very, very drunk.



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 1   Q      Now, you said earlier that Anton only drank hard alcohol

 2          maybe two or three times a year; is that correct?
 3   A      Yes.
 4   Q      And did anyone tell you, from the medical examiner's
 5          office, what time they think Anton passed away?

 6   A      So I know when the ambulance was there, the ambulance
 7          people told me that-- they said he had died at about 3
 8          at night, 3 in the morning.
 9              I don't think I heard after that, but at that point
10          it didn't really make any difference to me.
11   Q      And you said that Anton laid next to you on the couch

12          around midnight on the 29th; is that correct?
13   A      Yeah, approximately.
14   Q      And then at some point he got up and told you he was
15          going out to smoke; is that correct?

16   A      Yes.
17   Q      But you don't recall what time it was that he got up to

18          go smoke; is that correct?
19   A      I can't say what time it was because I just went to
20          sleep.   I didn't follow him.
21   Q      And after you went back to sleep, you don't know whether

22          he had any more alcohol to drink between the time you
23          last saw him and when he passed away; is that correct?

24   A      No, I didn't see him anymore.
25                                THE WITNESS:        May I step out and call



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 1          my kids?

 2                                 MR. WILLIAMS:         Sure, we can take a
 3          break.

 4                                 VIDEOGRAPHER:         Going off record.          The
 5          time now is 3:50 p.m.

 6                                               (Recess 3:50 to 4:05 p.m.)
 7                                             (Exhibit No. 3 marked

 8                                              for identification.)
 9

10                                 VIDEOGRAPHER:         Back on record.          The
11          time now is 4:05 p.m.

12   Q      (By Mr. Williams)        Ms. Omelin, I would like to mark
13          Exhibit No. 3.

14              At some point did you set up a GoFundMe page to
15          raise money after Anton passed away?

16   A      Yes.
17   Q      And who helped you?         If anyone, who helped you set up

18          the GoFundMe page?
19   A      Yeah, my mother-in-law and her husband, Michael.
20   Q      And if you look at the GoFundMe page, there's a
21          paragraph that starts, "Please help save Father's home

22          for his children."
23              Do you see that?

24   A      Yes, I do.
25   Q      Did you write the words that are under that and have



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 1   Q      How often would Anton drink Dr. Pepper?

 2   A      Often.    He drank it often.
 3   Q      What is your best estimate as to how many per day or

 4          week of Dr. Pepper Anton would drink?
 5   A      So-- well, we would buy a case at Costco.                I think
 6          there's 24, I think, cans in a case.              That would be
 7          enough for three, four-- no, maybe five days, because my
 8          older son also--
 9   Q      How many Dr. Peppers would you see Anton drink on a

10          daily basis?
11   A      So if we would buy a case of cola or a case of
12          Dr. Pepper, it would be the same amount of time for
13          either one of those.
14   Q      I know your son drank some of the sodas, correct?
15   A      Sometimes, yes.
16   Q      So we can't look at how many cans is in a case to figure
17          out how much Anton drank, so what is your best estimate

18          as to how many cans of Dr. Pepper and Coke Anton was
19          drinking per day?

20   A      So I guess we can calculate it by saying there's 24 in a
21          case.    I would allow my son to drink one can a day.                It
22          would last for five days, and so if my son drank a total
23          of five and I would drink maybe one or two, that would
24          be seven, so 24 minus seven is how much?                17.
25              17.



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 1                 If we divide 17 by five, it's about three.
 2   Q      Roughly three Dr. Peppers or Coke per day Anton was
 3          drinking on average?

 4   A      Easily.
 5   Q      And Anton was also drinking multiple energy drinks per

 6          day, in your opinion, right?
 7   A      Yes.
 8   Q      And Anton was also drinking multiple cups of coffee a
 9          day, in your opinion, correct?

10   A      Yes.
11   Q      And sometimes he was also drinking caffeinated ice tea

12          during the day as well, correct?
13   A      I can't say anything about ice tea.
14   Q      Anton was also complaining about not being able to
15          sleep, right?

16   A      Yes.
17   Q      Did he ever say to you that his inability to sleep might

18          be due to the amount of caffeine he was drinking each
19          day?

20   A      No.
21   Q      Was that ever concerning to you?

22   A      I never made a connection between Coca-Cola, Dr. Pepper,
23          like sodas and coffee and energy drinks and considered
24          that it might harm his health.
25   Q      Do you know how much caffeine is in a Monster Energy



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 1          Drink?

 2   A      No.
 3   Q      Do you know how much caffeine is in a NOS Energy Drink?

 4   A      No.
 5   Q      Are you aware of Anton ever receiving free samples of

 6          Monster Energy Drinks?
 7   A      I don't know.
 8   Q      Are you aware of Anton ever receiving free samples of
 9          NOS Energy Drink?

10   A      I don't know.
11   Q      Had you ever been with Anton-- strike that.

12                Are you aware of Anton ever seeing any advertising
13          by Monster Energy?

14   A      I don't know.
15   Q      Are you aware of Anton ever seeing any advertising from

16          NOS Energy?
17   A      I don't know.
18   Q      Was it your understanding that Anton was drinking
19          Monster Energy Drinks prior to you first meeting him?

20   A      I'm not sure.
21   Q      Was it your understanding that Anton was drinking NOS

22          Energy Drinks prior to you first meeting him?
23   A      I'm not sure.
24   Q      You first met Anton in July of 2010, correct?
25   A      Correct.



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 1   A      No.
 2   Q      Was Anton sick at all within the month prior to his
 3          death?

 4   A      No.
 5   Q      To your knowledge Anton never saw a medical doctor,

 6          correct?
 7   A      That's correct.
 8   Q      If Anton needed medication, was there a pharmacy that he
 9          went to?

10   A      There was that one time when he got painkillers, but
11          it's possible that the doctor gave them to him himself.
12   Q      What about medication that's not prescribed that you can
13          buy over-the-counter?

14   A      Well, if there was anything, it was like something I
15          would buy for the kids for a fever or maybe for
16          allergies.
17   Q      We talked earlier about the canned meat and the pasta.

18                Do you remember that?
19   A      Yes.
20   Q      Did you eat any of the canned meat and pasta dish the
21          night before Anton's death?

22   A      No.
23   Q      Did you see any open cans of meat in your house after

24          his death?
25   A      After his death?



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 1   Q      Yes.

 2   A      You know, I-- I don't remember anything.
 3                 There was about two days that I just can't really
 4          connect at all.
 5   Q      Do you remember seeing any closed can of the Army meat

 6          in your house after his death?
 7   A      I'm not sure when it was, but I saw a closed can.
 8   Q      Where is that can today?
 9   A      I presume somewhere in a garbage.
10                 I don't have it anymore.
11   Q      Do you remember if it was consumed by anyone?

12   A      The closed one?
13   Q      Yes.

14   A      Honestly, I don't know.
15   Q      Have you ever eaten that Army canned meat again after

16          his death?
17   A      No.
18   Q      Why not?
19   A      I don't know, just haven't.
20                 No real reason.
21   Q      There was vomit found in the bathroom that Anton died

22          in, correct?
23   A      Yes.
24   Q      Do you know why Anton was vomiting that night?
25   A      I can only guess.        I can't know for sure.



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 1   Q      Did anyone ever tell you, other than your lawyer, why he

 2          may have been vomiting that night?
 3   A      No.
 4   Q      Putting aside conversations with your lawyer, did anyone
 5          ever tell you why Anton died?

 6   A      Well, some people said that he was a drug addict, but I
 7          don't even take that into consideration.
 8   Q      Other than that, and conversations with your lawyer, has
 9          anyone ever told you why Anton died?

10   A      Only the person who did the autopsy.              He named the cause
11          of death.
12                That's it.
13   Q      And what do you recall that to be?

14   A      She called it asphyxia.         It's a hard word.
15   Q      Other than your lawyer, has anyone ever told you that

16          Anton's death was caused by Monster Energy Drinks?
17   A      No.
18   Q      Other than your lawyer, has anyone ever told you that
19          Anton's death was caused by NOS Energy Drinks?

20   A      No.
21   Q      If the jury in this lawsuit determines that Anton's

22          death was not caused by a Monster Energy Drink, will you
23          accept that?

24   A      Will I have a choice?
25                                MR. MILES:       Can you repeat the



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 1                 Do you mean his name?
 2   Q      Yes.
 3   A      Serhey Shipilov.
 4   Q      Can you spell his last name?
 5   A      I can write it.
 6                                   INTERPRETER:        Would you like the
 7          interpreter to read the--

 8                                 MR. MILES:       Sure.
 9                                 INTERPRETER:        S-H-I-P-I-L-O-V.

10   Q      (By Mr. Miles)       And where is he today?
11   A      In Latvia.
12   Q      When is the last time you've spoken to him?
13   A      Probably a month ago.
14                                 MR. MILES:       Why don't we go off the
15          record for a brief moment, and then I should be able to

16          wrap it up.
17                                 VIDEOGRAPHER:         Going off record.          The

18          time now is 6:12 p.m.
19                                               (Recess 6:12 to 6:28 p.m.)

20
21                                 VIDEOGRAPHER:         Back on record.          The

22          time now is 6:28 p.m.
23                                 MR. WILLIAMS:         Do you mind if we just

24          put that on the record?
25                                 MR. MILES:       Sure.



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 1                                MR. WILLIAMS:         During the break,

 2          counsel for Plaintiff indicated that she will not be
 3          here for tomorrow morning's deposition, which is of

 4          Officer Schwan (phonetic), scheduled for 9 a.m., but
 5          that she has given consent for the deposition to proceed

 6          in her absence.
 7                                MS. EFIMOVA:        That's correct.

 8                                MR. WILLIAMS:         Thank you.
 9                                            (Exhibit No. 12 marked

10                                             for identification.)
11

12   Q      (By Mr. Miles)      Ms. Omelin, I have given you a stack of
13          photos, which consist of 17 pages.

14              Some of the pages have two photos on them, and some
15          of the pages has just one photo on it.

16              Have you had a chance to review each and every
17          photo?

18   A      Yes.
19   Q      Understanding the sensitivity of you having lost your

20          husband and these photos are rather graphic, I am not
21          going to go through every photo one by one.

22   A      All right.
23   Q      Does each and every one of the photos contained in

24          Exhibit No. 12 reflect your house either on the inside
25          or on the outside as it existed on the morning of



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 1          October 30, 2014?

 2   A      So on the outside of the house, yes, but as far as the
 3          inside of the house, the photos that show him, I didn't
 4          see him that way.
 5   Q      How did he look different?

 6   A      When I saw him, he was completely on his stomach, his
 7          head was turned to one side, and it was on his arm like
 8          this.
 9   Q      Okay.    Let's put aside all of the pictures that have

10          Anton in them for a moment, okay?
11   A      Okay.
12   Q      For all of the photos that do not have Anton depicted in
13          them, does each and every one accurately reflect how the

14          outside and the inside of your house looked on the
15          morning of October 30, 2014?

16   A      Well, I assume so because only the specialists were
17          there and nobody else touched anything, including me.
18   Q      Okay.    You were there as well, right?
19   A      "There as well" where?
20   Q      At your house on the morning of October 30, 2014.
21   A      Yes, I was at home.
22   Q      You had an opportunity to see each of these rooms as
23          they existed that morning, correct?

24   A      I did.
25   Q      And except for the photos that have Anton in them, do



                                                                                 Page 156
                                            Anna Omelin
                                           August 6, 2018
                                  Exhibit B - Page 61
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                      Byers & Anderson Court Reporters/Video/Videoconferencing
                                    Seattle/Tacoma, Washington



 1          each of these photographs accurately reflect how your

 2          house looked that morning?
 3   A      Yes.
 4   Q      With respect to the photos that have Anton in them, do
 5          the photos accurately reflect what you saw that morning,

 6          except for the position of his body?
 7   A      Yes.
 8   Q      Looking at the first page of Exhibit No. 20, whose
 9          vehicle is that-- sorry, looking at the first page of

10          Exhibit No. 12, whose vehicle is that?
11   A      My husband's car.
12   Q      Is that the Dodge Durango you mentioned earlier?
13   A      Yes.
14   Q      Did you also have a vehicle?
15   A      No.
16   Q      How would your husband get to work?
17   A      In this car.
18   Q      If you went to visit him at work, how would you get
19          there?

20   A      I had my mom's car.
21   Q      Was it at your house every day?

22   A      Pretty much, yes.
23   Q      How far away did your mother live from your house in

24          2014?
25   A      It was about a ten-minute walk.



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                                            Anna Omelin
                                           August 6, 2018
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                                Seattle/Tacoma, Washington



 1                            MR. MILES:       I have no further

 2      questions at this time.
 3                            MR. WILLIAMS:         Nothing further.

 4                            MS. EFIMOVA:        Nothing for us as well.
 5                            VIDEOGRAPHER:         This is the end of

 6      Media Unit No. 5 and concludes the deposition of Anna
 7      Omelin.

 8          The time now is 6:35 p.m.           Going off record.
 9                              (Deposition concluded at 6:35 p.m.)

10                              (Signature reserved.)
11

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                                                                             Page 158
                                        Anna Omelin
                                       August 6, 2018
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                                Seattle/Tacoma, Washington



 1      STATE OF WASHINGTON )    I, Terilynn Simons, CCR, RMR, CRR
                            ) ss a certified court reporter
 2      County of Pierce    )    in the State of Washington, do
                                 hereby certify:
 3
 4
             That the foregoing deposition of ANNA OMELIN was taken
 5      before me and completed on August 6, 2018, and thereafter
        was transcribed under my direction; that the deposition is a
 6      full, true and complete transcript of the testimony of said
        witness, including all questions, answers, objections,
 7      motions and exceptions;
 8           That the witness, before examination, was by me duly
        sworn to testify the truth, the whole truth, and nothing but
 9      the truth, and that the witness reserved the right of
        signature;
10
             That I am not a relative, employee, attorney or counsel
11      of any party to this action or relative or employee of any
        such attorney or counsel and that I am not financially
12      interested in the said action or the outcome thereof;
13           That I am herewith securely sealing the said deposition
        and promptly delivering the same to Michael Ernest Williams.
14
             IN WITNESS WHEREOF, I have hereunto set my signature on
15      the 13th day of August, 2018.
16
17
18
19                                          ________________________________
                                            Terilynn Simons, CCR, RMR, CRR
20                                          Certified Court Reporter No. 2047
                                            (Certification expires 07/07/19.
21
22
23
24
25



                                                                             Page 160
                                        Anna Omelin
                                       August 6, 2018
                              Exhibit B - Page 64
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 1                                                                  The Honorable Robert J. Bryan

 2

 3

 4

 5

 6
                              UNITED STATES DISTRICT COURT
 7                           WESTERN DISTRICT OF WASHINGTON
                                       AT TACOMA
 8
     ANNA OMELIN, Individually and as an                 )
 9   Administrator of the Estate of Anton Omelin,        )
     deceased.                                           )    Case No. 3:17-cv-05837-RJB
10                                                       )
                                 Plaintiff,              )    PLAINTIFF ANNA OMELIN’S
11                                                       )    OBJECTIONS AND
     vs.                                                 )    RESPONSES TO DEFENDANT
12                                                       )    MONSTER ENERGY
                                                         )    COMPANY’S REQUESTS FOR
13   HANSEN BEVERAGE COMPANY, a                          )    ADMISSION (NOS. 1-17)
     Delaware Corporation, MONSTER ENERGY                )
14   COMPANY, a Delaware Corporation, and RED            )
     BULL NORTH AMERICA, INC., a Foreign                 )
15   Corporation, and DOES 1 through 100,                )
     Inclusive,                                          )
16                                                       )
                                 Defendants.             )
17

18           Plaintiff Anna Omelin (“Responding Party”) serves these Objections and
19
     Responses to Defendant Monster Energy Company’s (“Propounding Party”) Requests for
20
     Admission (Nos. 1-17) under Federal Rules of Civil Procedure (“FRCP”) 26 and 36.
21
                                   PRELIMINARY STATEMENT
22

23
             The following responses are made solely for the purposes of this action. Each

24   response is subject to all objections as to relevance, materiality, and admissibility, and to

25   any and all objections on any ground that would require exclusion of any response if it
26   were introduced in court.
27
     PLAINTIFF’S OBJECTIONS AND RESPONSES                                  COSMOPOLITAN LEGAL, PLLC
     TO MONSTER’S REQUESTS FOR ADMISSION- 1                                       155 108* AveNE, Unit 210
     Case No. 3;17-cv-05837-RJB                                                         Bellevue, WA 98004
                                              Exhibit C - Page 1   Phone: (425)296-8868 | Fax: (877)230-2429
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 1           No incidental or implied admissions are intended by these responses. The fact that

 2   Responding Party has objected or responded to any request shall not be deemed an

 3   admission that Responding Party accepts or admits the existence of any fact set forth or
 4
     assumed by such request or that such objection or response constitutes admissible
 5
     evidence. The fact that Responding Party h^ responded to part or ail of any request is not
 6
     intended to and shall not be construed to be a waiver by Responding Party of any part of
 7
     any objection to any request.
 8

 9           The responses and objections are made on the b^is of information and writings

10   currently available to and located by Responding Party upon reasonable investigation.

11   Responding Party expressly reserves the right to modify, revise, supplement, or amend her
12
     responses as she deems appropriate.
13
                                      GENERAL OBJECTIONS
14
         1. Responding Party objects to any request that seeks information, constituting
15
     attorney work product, contain attorney-client communications, or is otherwise privileged.
16
17       2. Responding Party objects to any request to the extent it purports to impose on her

18   obligations beyond those imposed by the Federal Rules of Civil Procedure.
19       3. Responding Party objects to any request to the extent that it is overbroad, unduly
20
     burdensome, vague, ambiguous, confusing, require speculation to determine its meaning or
21
     uses imprecise specifications of the information sought.
22
         4. Responding Party objects to any request as unduly and unnecessarily burdensome
23

24   to the extent that it seeks information that is matter of public record, already in

25   Propounding Party’s possession, or otherwise readily available to Propounding Party,

26

27
     PLAINTIFF^S OBJECTIONS AND RESPONSES                                  COSMOPOLITAN LEGAL, PLLC
     TO MONSTER^S REQUESTS FOR ADMISSION- 2                                       155 108* AveNE, Unit 210
     Case No. 3:l7-cv-05837-RJB                                                         Bellevue, WA 98004
                                           Exhibit C - Page 2      Phone: (425)296-8868 | Fax: (877)230-2429
         Case 3:17-cv-05837-RJB Document 81-1 Filed 09/20/18 Page 103 of 252




 1   and/or may be accessed and obtained by Propounding Party with less burden than the

 2   Responding Party can identify and provide requested information.

 3       5. Responding Party objects to the undefined term “Monster Energy drinks” to the
 4
     extent it is vague, ambiguous, confusing, require speculation to determine its meaning or
 5
     uses imprecise specifications of the information sought. Responding Party understands the
 6
     term “Monster Energy drinks” to include “Monster Energy” and “NOS Original” drinks as
 7
     specified in the Responding Party’s Second Amended Complaint and incorporates this
 8
 9   definition in her following responses.

10
      SPECIFIC OBJECTIONS AND RESPONSES TO REQUESTS FOR ADMISSION
11
     REQUEST NO.T:
12
            Admit that Anton Omelin did not consume a Monster Energy drink in the 24 hours
13
     before his death.
14

15   RESPONSE TO REQUEST NO. 1!

16          Responding Party objects to this request as it is vague, ambiguous, confusing,
17   requires speculation to determine its meaning or uses imprecise specifications of the
18
     information sought as to the term “Monster Energy drink.” For the purposes of her
19
     response. Responding Party incorporates the definition proposed in General Objection 5.
20
     The request further seeks information that is equally or more available to Propounding
21

22   Party, or already in Propounding Party’s possession. Responding Party further objects to

23   the extent the request seeks information not within Responding Party’s knowledge. The

24   request further seeks information protected by the attorney client privilege, the attorney
25   work product doctrine, and other applicable privileges.
26
27
     PLAINTIFF’S OBJECTIONS AND RESPONSES                            COSMOPOLITAN LEGAL, PLLC
     TO MONSTER’S REQUESTS FOR ADMISSION- 3                                 155 108‘hAveNE, Unit 210
     Case No. 3:I7-cv-05837-RJB                                                   Bellevue, WA 98004
                                          Exhibit C - Page 3 Phone: (425)296-8868 | Fax: (877)230-2429
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 1          Answering further, and subject to the foregoing objections, Responding Party

 2   cannot admit or deny this request and therefore denies it. Responding Party states that she

 3   has no information on Mr. Omelin’s consumption of Monster Energy drinks after she went
 4
     to bed on October 30,2014. Responding Party further states that Mr. Omelin consumed
 5
     Monster Energy drinks at work, where he stored purchased cans in the refrigerator.
 6

 7   REQUEST NO. 2:
 8
            Admit that Anton Omelin did not suffer a cardiac arrest on October 29,2014.
 9
     RESPONSE TO REQUEST NO. 2:
10
            Responding Party objects to this request as ambiguous and the extent the request
11

12   requires speculation to determine its meaning and uses imprecise specifications of the

13   information sought as to the term “cardiac arrest” and incorporates the American Heart

14   Association definition of the term as “an abrupt loss of heart functioning.” The request
15
     further seeks information not within Responding Party’s knowledge and expertise.
16
            Answering further, and subject to the foregoing objections. Responding Party
17
     admits the request. Responding Party further states that Mr. Omelin showed no signs of
18

19   possible cardiac arrest on the evening of October 29, 2014.

20
     REQUEST NO. 3!
21
            Admit that Anton Omelin did not suffer a cardiac arrest on October 30,2014.
22

23   RESPONSE TO REQUEST NO. 3:

24          Responding Party objects to this request as ambiguous and the extent the request

25   requires speculation to determine its meaning and uses imprecise specifications of the
26
     information sought as to the term “cardiac arrest” and incorporates the American Heart
27
     PLAINTIFF’S OBJECTIONS AND RESPONSES                           COSMOPOLITAN LEGAL, PLLC
     TO MONSTER’S REQUESTS FOR ADMISSION- 4                                155 m'^ AveNE, Unit 210
     Case No. 3;17-cv-05837-RJB                                                  Bellevue, WA 98004
                                         Exhibit C - Page 4 Phone: (425)296-8868 | Fax: (877)230-2429
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 1   Association definition of the term as “an abrupt loss of heart functioning ” The request

 2   further seeks information not within Responding Party’s knowledge and expertise.

 3             Answering further, and subject to the foregoing objections, Responding Party
 4
     cannot admit or deny this request and therefore denies it. Nevertheless, Responding Party
 5
     states that no evidence of cardiac arrest has been recorded by medical examiner in a
 6
     Postmortem Examination Report. Responding Party is unable to answer the request with
 7
     any degree of certainty because no medical examinations have been performed to establish
 8

 9   a possibility of a cardiac arrest and Responding Party possesses no requisite knowledge to

10   evaluate or comment on medical examination records and is awaiting medical experts

11   review.
12

13   REQUEST NO. 4:

14             Admit that cardiac arrest was not the cause of death of Anton Omelin.
15   RESPONSE TO REQUEST NO. 4!
16
               Responding Party objects to this request as ambiguous and the extent the request
17
     requires speculation to determine its meaning and uses imprecise specifications of the
18
     information sought as to the term “cardiac arrest” and incorporates the American Heart
19

20   Association definition of the term as “an abrupt loss of heart functioning.   99




21             Answering further, and subject to the foregoing objections Responding Party
22   admits the request.
23

24   REQUEST NO. 5:

25          Admit that aspiration of gastric contents is the cause of death of Anton Omelin.
26

27
     PLAINTIFF’S OBJECTIONS AND RESPONSES                             COSMOPOLITAN LEGAL, PLLC
     TO MONSTER’S REQUESTS FOR ADMISSION- 5                                  155 108* AveNE, Unit 210
     Case No. 3:17-cv-05837-RJB                                                    Bellevue, WA 98004
                                           Exhibit C - Page 5 Phone: (425)296-8868 | Fax: (877)230-2429
         Case 3:17-cv-05837-RJB Document 81-1 Filed 09/20/18 Page 106 of 252



     RESPONSE TO REQUEST NO. 5:
 1

 2           Subject to the general objections, Responding Party admits the request.

 3
     REQUEST NO. 6:
 4

 5          Admit that no PERSON who examined Anton Omelin following his death has ever

 6   told YOU that his aspiration of gastric contents was caused by a Monster Energy drink.

 7   RESPONSE TO REQUEST NO.
 8
            Responding Party objects to this request as ambiguous and the extent the request
 9
     requires speculation to determine its meaning and uses imprecise specifications of the
10
     information sought as to the term “examined” and interprets the term to mean any physical
11

12   examination performed on Mr. Omelin’s body by the medical examiner, police officers

13   present on the scene of Mr. Omelin’s death, and any other medical professional having

14   access to Mr. Omelin’s body. The request further seeks information protected by the
15
     attorney-client privilege, the attorney work product doctrine, and any other privileges.
16
     Responding Party further objects to the extent the request seeks information provided by
17
     experts prior to the time designated for disclosure.
18
            Subject to and without waiving the foregoing objections, Responding Party admits
19
20   the request to the extent it encompasses examinations performed by the individuals

21   identified above.
22
     REQUEST NO. 7:
23

24          Admit that no PERSON who examined Anton Omelin following his death has ever

25   told YOU that his death was caused by a Monster Energy drink.
26

27
     PLAINTIFF’S OBJECTIONS AND RESPONSES                             COSMOPOLITAN LEGAL, PLLC
     TO MONSTER’S REQUESTS FOR ADMISSION- 6                                  155 108*AveNE, Unit 210
     Case No. 3:17-cv-05837-RjrB                                                   Bellevue, WA 98004
                                           Exhibit C - Page 6 Phone: (425)296-8868 | Fax: (877)230-2429
         Case 3:17-cv-05837-RJB Document 81-1 Filed 09/20/18 Page 107 of 252



     RESPONSE TO REQUEST NO. ?!
 1

 2           Responding Party objects to this request as ambiguous and the extent the request

 3   requires speculation to determine its meaning and uses imprecise specifications of the
 4
     information sought as to the term “examined” and interprets the term to mean any physical
 5
     examination performed on Mr. Omelin’s body by the medical examiner, police officers
 6
     present on the scene of Mr. Omelin’s death, and any other medical professional having
 7
     access to Mr. Omelin’s body. The request further seeks information protected by the
 8

 9   attorney-client privilege, the attorney work product doctrine, and any other privileges.

10   Responding Party further objects to the extent the request seeks information provided by
11   experts prior to the time designated for disclosure.
12
             Subject to and without waiving the foregoing objections, Responding Party admits
13
     the request to the extent it encompasses examinations performed by the individuals
14
     identified above.
15

16
     REQUEST NO. 8:
17
            Admit that Anton Omelin’s blood alcohol concentration at his time of death was
18
     only 0.095g/100mL.
19
20   RESPONSE TO REQUEST NO. 8;

21          Subject to and without waiving the foregoing objections, Responding Party admits
22   the request.
23

24   REQUEST NO. 9:

25          Admit that the only alcohol Anton Omelin consumed on October 29,2014, was two
26   to three shots of cognac.
27
     PLArNTIFF’S OBJECTIONS AND RESPONSES                            COSMOPOLITAN LEGAL, PLLC
     TO MONSTER’S REQUESTS FOR ADMISSION- 7                                 155 108"" AveNE,Umt210
     Case No. 3:17-cv-05837-RJB                                                   Bellevue, WA 98004
                                          Exhibit C - Page 7 Phone: (425)296-8868 | Fax: (877)230-2429
         Case 3:17-cv-05837-RJB Document 81-1 Filed 09/20/18 Page 108 of 252



     RESPONSE TO REQUEST NO. 9:
 1

 2           Subject to and without waiving the foregoing objections, Responding Party admits

 3   the request.
 4

 5   REQUEST NO. 10:

 6           Admit that on October 29,2014, Anton Omelin did not appear to be intoxicated to

 7   YOU before YOU went to bed.
 8
     RESPONSE TO REQUEST NO. 10:
 9
             Subject to and without waiving the foregoing objections, Responding Party admits
10
     the request.
11

12
     REQUEST NO. 11:
13
            Admit that on the evening of October 29,2014, YOU did not see Anton Omelin
14
     performing physical exercises on an exercise machine located in YOUR garage.
15

16   RESPONSE TO REQUEST NO. 11:

17          Subject to and without waiving the foregoing objections. Responding Party admits
18   the request.
19
20   REQUEST NO. 12:

21          Admit that on the evening of October 29,2014, YOU did not see Anton Omelin
22   performing physical exercises on a pull-up bar located in YOUR garage.
23
     RESPONSE TO REQUEST NO. 12:
24
            Subject to and without waiving the foregoing objections, Responding Party denies
25
     the request to the extent that no pull-up bar has ever been placed in her garage. Responding
26
27
     PLAINTIFF^S OBJECTIONS AND RESPONSES                               COSMOPOLITAN LEGAL, PLLC
     TO MONSTER’S REQUESTS FOR ADMISSION- 8                                    155 108* Ave NE, Unit 210
     Case No. 3:I7-cv-05837-RJB                                                      Bellevue, WA 98004
                                          Exhibit C - Page 8    Phone: (425)296-8868 | Fax: (877)230-2429
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 1   Party admits the request to the extent that she did not see Mr. Omelin performing physical

 2   exercises on a pull-up bar in the evening of October 29", 2014.

 3
     REQUEST NO. 13:
 4

 5           Admit that prior to his death, Anton Omelin heavily smoked Marlboro Red

 6   cigarettes.

 7   RESPONSE TO REQUEST NO. 13:
 8
             Responding Party objects to this request as ambiguous and the extent the request
 9
     requires speculation to determine its meaning and uses imprecise specifications of the
10
     information sought as to the term “heavily smoked” and interprets the term to mean at least
11

12   one pack (20 cigarettes) of Marlboro Red cigarettes a day.

13           Subject to and without waiving the foregoing objections, Responding Party admits

14   the request to the extent that Mr. Omelin smoked a pack of Marlboro Red cigarettes a day.
15
16   REQUEST NO. 14:

17          Admit that an open can of meat from Russia was found in YOUR home on October

18   30,2014.
19   RESPONSE TO REQUEST NO. 14:
20
            Subject to and without waiving the foregoing objections. Responding Party denies
21
     the request to the extent that no can of meat from Russia has been found at her residence
22

23
     on October 30,2014. Responding Party admits the request to the extent that a can of meat

24   from Poland, identified as an “Army Brand” pork pattie loaf has been found at her

25   residence on October 30,2014.
26

27
     PLAINTIFF’S OBJECTIONS AND RESPONSES                          COSMOPOLITAN LEGAL, PLLC
     TO MONSTER'S REQUESTS FOR ADMISSION- 9                               155 108*AveNE, Unit 210
     Case No. 3;17-cv-05837-RJB                                                 BeUevue, WA 98004
                                        Exhibit C - Page 9 Phone: (425)296-8868 | Fax: (877)230-2429
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     REQUEST NO. 15:
 1

 2           Admit that on October 31,2014, Anton Omelin’s stepfather Michael Naccarato,

 3   reported to the Fife Police Department that an open can of meat from Russia was found in

 4   YOUR home on October 30,2014.
 5
     RESPONSE TO REQUEST NO. 15:
 6
             Subject to and without waiving the foregoing objections, Responding Party admits
 7
     the request.
 8

 9
     REQUEST NO. 16:
10
            Admit that on October 31.2014, Anton Omelin’s stepfather, Michael Naccarato,
11
     reported to the Fife Police Department his concern that Anton Omelin had food poisoning
12

13   from the open can of meat from Russia.

14   RESPONSE TO REQUEST NO. 16:

15           Subject to and without waiving the foregoing objections, Responding Party admits
16
     the request.
17

18   REQUEST NO. 17:
19
            Admit that there is no evidence of any caffeine in Anton Omelin’s body at the time
20
     of his death.
21
     RESPONSE TO REQUEST NO. 17:
22
            Responding Party objects to the extent the request seeks information not within
23

24   Responding Party’s knowledge.

25          Answering further, and subject to the foregoing objections. Responding Party

26   cannot admit or deny this request and therefore denies it. Responding Party states the tests
27
     PLAINTIFF’S OBJECTIONS AND RESPONSES                            COSMOPOLITAN LEGAL, PLLC
     TO MONSTER’S REQUESTS FOR ADMISSION- 10                                155 108* AveNE, Unit 210
     Case No. 3:17-cv-05837-RJB                                                   Bellevue, WA 98004
                                         Exhibit C - Page 10 Phone: (425)296-8868 | Fax: (877)230-2429
        Case 3:17-cv-05837-RJB Document 81-1 Filed 09/20/18 Page 111 of 252




 1   in question are not considered to be required for the purposes of establishing the cause of

 2   death, and, therefore, were not performed.

 3

 4

 5    DATED: June 28, 2018                         By; s/Ol^a Efimova
                                                   OLGA EFIMOVA
 6                                                 olgae@cosmopolitanlegal.com
                                                   Cosmopolitan Legal, PLLC
 1                                                 155 108'*'Ave. NE, Unit 210
                                                   Bellevue, WA 98004
 8
                                                   Phone: (425)296-8868
 9                                                 Attorney for PlaintiffAnna Omelin

10

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22

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24

25

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27
     PLAINTIFF’S OBJECTIONS AND RESPONSES                            COSMOPOLITAN LEGAL, PLLC
     TO MONSTER’S REQUESTS FOR ADMISSION- II                                155 108* AveNE,Umt210
     Case No. 3:17-cv-05837-RJB                                                   Bellevue, WA 98004
                                         Exhibit C - Page 11 Phone: (425)296-8868 | Fax: (877)230-2429
     Case 3:17-cv-05837-RJB Document 81-1 Filed 09/20/18 Page 112 of 252




 1                                        VERIFICATION

 2      I, Anna Omelin, have read the foregoing Responses, which are based on a diligent and

 3   reasonable effort by me to obtain information currently available. I reserve the right to
 4
     make changes in or additions to any of these answers if it appears at     time that errors or
 5
     omissions have been made or if more accurate or complete information becomes available.
 6
     Subject to these limitations, these Responses are true to the best of my present knowledge,
 7
     information, and belief.

 9       Subscribed and sworn to under the penalties of perjury that the foregoing is true on

10   correct onthis^a^ day of           ,2018.

11
                                                    /'
12
                                                 4U
13
                                                   By:    Anna Omelin, Plaintiff
14

15   As to Objections:
16
17
     Olg^fimwa, WSBA #52498
18   Cosmopolitan Legal, PLLC
     155 108*Ave.NE,Unit210
19   Bellevue, WA 98004
20   Tel: (425)296-8868
     Fax: (877)230-2429
21   Email: olgae@cosmopolitanlegal.com

22

23   Dated:JZ//2^ 28.2018
24

25
26

27
     PLAINTIFF’S OBJECTIONS AND RESPONSES                                COSMOPOLITAN LEGAL, PLLC
     TO MONSTER’S REQUESTS FOR ADMISSION-12                                    155 108'^AveNE,Unit210
     Case No. 3:17-cv-05837-RJB                                                      Bellevue, WA 98004
                                                                 Phone: (425)296-88681 Fax: (877)230-2429



                                        Exhibit C - Page 12
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 1                                CERTIFICATE OF SERVICE

 2            I hereby certify that on June 28, 2018,1 served a true and correct copy of the

 3   Plaintiff Anna Omelin’s Objections and Responses to Defendant Monster Energy
 4
     Company’s Request for Admission (Nos. 1-9) by mailing a true and correct copy of the
 5
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27
     PLAINTIFF’S OBJECTIONS AND RESPONSES                           COSMOPOLITAN LEGAL, PLLC
     TO MONSTER’S REQUESTS FOR ADMISSION- 13                               155 lOg^^AveNE, Unit 210
     Case No. 3;17-cv-05837-RJB                                                  Bellevue, WA 98004
                                        Exhibit C - Page 13 Phone: (425)296-8868 | Fax: (877)230-2429
         Case 3:17-cv-05837-RJB Document 81-1 Filed 09/20/18 Page 114 of 252




 1            I certify imder penalty of pequry under the laws of the United States of America

 2   that the foregoing is true and correct.

 3            DATED this 28* day of June, 2018
 4

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27
     PLAINTIFF'S OBJECTIONS AND RESPONSES                               COSMOPOLITAN LEGAL, PLLC
     TO MONSTER’S REQUESTS FOR ADMISSION- 14                                   155 108* AveNE,Umt210
     Case No. 3:17-cv-05837-RJB                                                      Bellevue, WA 98004
                                           Exhibit C - Page   14Phone: (425)296-8868 | Fax: (877)230-2429
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                   UNITED STATES DISTRICT COURT
                 WESTERN DISTRICT OF WASHINGTON
                                AT TACOMA


ANNA OMELIN, individually and as                )
an administrator of the Estate of               )
Anton Omelin, deceased,                         )
                                                )
                         Plaintiff,             )
                                                )
                   vs.                          ) No. 3:17-cv-05837
                                                )
HANSEN BEVERAGE COMPANY d/b/a                   )
MONSTER BEVERAGE CORPORATION, a                 )
Delaware corporation, MONSTER                   )
ENERGY COMPANY, a Delaware                      )
corporation, RED BULL NORTH                     )
AMERICA, INC., a California                     )
corporation, and DOES 1-100,                    )
inclusive,                                      )
                                                )
                         Defendants.            )

        VIDEOTAPED DEPOSITION OF THOMAS B. CLARK, M.D.
                            August 8, 2018
                         Tacoma, Washington




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24
25   Also present:    Dan Bassett, Videographer
                      Anna Omelin and Artem Shpakov
                      Anna Omelin and Artem Shpakov

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 1       would not be able to attend.

 2           She did say that we can proceed without her.
 3           Ms. Omelin and her son are present here today, and

 4       with respect to waiver of confidentiality over the
 5       medical examiner's report and Dr. Clark's testimony, I

 6       had e-mailed her to confirm that she was waiving it.
 7           She responded, copied Mr. Prather on the e-mail

 8       saying, "Michael, I e-mailed Mr. Prather, included in
 9       this e-mail, yesterday regarding the waiver of

10       confidentiality.      Just in case he would like me to
11       confirm the waiver again, Ms. Omelin waives

12       confidentiality in respect to medical examiner's report
13       contents as well as to Dr. Clark's testimony.                  Thank you.

14       Sincerely, Olga Efimova."
15                             MR. PRATHER:        Thank you very much, and

16       that's acceptable to us.
17                             MS. WILLIAMS:         Thank you.

18   Q   (By Ms. Williams)       Dr. Clark, have you been deposed
19       before?

20   A   Yes.
21   Q   Approximately how many times?

22   A   More than 100.
23   Q   I take it you're familiar with the proceedings that

24       you're here for today?
25   A   Yes.



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 1   Q   Would you like me to go over any of the ground rules

 2       regarding a deposition or do you feel comfortable?
 3   A   I feel comfortable.
 4   Q   And today are you represented by counsel, Mr. Prather?
 5   A   Yes.
 6   Q   I want to talk about your-- well, let me start with:
 7           Where are you currently employed?

 8   A   I'm the Pierce County medical examiner.
 9   Q   How long have you been the Pierce County medical

10       examiner?
11   A   Since June 1st, 2010.
12   Q   And where did you work prior to June 1st, 2010?
13   A   I was the deputy chief medical examiner for the state of
14       North Carolina and a faculty member at the school of
15       medicine at the University of North Carolina.
16   Q   And how long did you hold those positions?
17   A   Since approximately 1988.
18   Q   And as deputy chief medical examiner for North Carolina,
19       can you tell me what your responsibilities were?

20   A   North Carolina has a state office.            I began there as a
21       fellow in 1988 and progressed to an assistant, then
22       associate medical examiner and then ultimately to deputy
23       chief before I took early retirement.
24           At the same time I was a faculty member in the
25       school of medicine.       I was a course director and served



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 1       on medical school committees.
 2           My responsibilities included both worlds.
 3           I had-- I performed my share of autopsies.                 I was
 4       available for pathologists and medical examiners
 5       throughout the state for consultation, and I carried my
 6       course load in the school of medicine.
 7   Q   I would like to touch on your educational background.

 8           Where did you get your undergraduate degree?
 9   A   Duke University.
10   Q   And what was your major?
11   A   Music.
12   Q   And where did you go to medical school?
13   A   Medical University of South Carolina in Charleston.
14   Q   And what year did you graduate from there?
15   A   1983.
16   Q   Did you do any fellowships or residency programs while
17       you were there?

18   A   Yes-- not while I was there, no.
19   Q   Did you do any fellowships?

20   A   I returned to Duke Hospital where I did postgraduate
21       training in internal medicine and then pathology.
22           I went to the office of the chief medical examiner
23       in Chapel Hill, North Carolina for a fellowship in
24       forensic pathology and remained on the staff after that.
25   Q   And what is forensic pathology?



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 1   A   Forensic pathology is the branch of medicine that deals
 2       with the interface between the medical and the legal
 3       systems.
 4           A pathologist is a physician who has specialized in
 5       the study of diseases.
 6           A pathologist might be found in a hospital setting,
 7       for example, interpreting slides from an operation or
 8       running a hospital laboratory.
 9           A forensic pathologist has done additional training
10       and practices in the area of interface between the
11       medical and the legal systems by performing autopsy
12       examinations, typically on cases in which a government
13       agency has an interest.
14   Q   Do you have any-- hold any licenses?
15   A   I do.
16   Q   And what are those?
17   A   I'm licensed by the State of Washington to practice
18       medicine.
19   Q   Now, with respect to your role as the Pierce County

20       medical examiner, can you explain what your primary
21       responsibilities are?

22   A   Washington law requires that certain types of deaths be
23       reported to a medical examiner.
24           Washington law also gives a medical examiner the
25       option of accepting jurisdiction over any or all of those



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 1       deaths.
 2             If the medical examiner chooses to accept
 3       jurisdiction over a death, that obligates the medical
 4       examiner to perform an investigation and ultimately to
 5       certify that death as to cause and manner on a document
 6       prescribed by the Washington Department of Health.
 7   Q   How many people are on your staff in the medical

 8       examiner's office?
 9   A   Approximately 18.
10   Q   And what are the different roles that those people play?
11   A   There is an associate pathologist who just started last
12       week.
13             There is a group of investigators.              There are eight
14       of them.    They operate around the clock, seven days a
15       week.
16             We have three full-time and one part-time autopsy
17       technicians.
18             And an administrative staff.
19   Q   And do they all report directly to you?

20   A   No.
21   Q   Which ones report directly to you?

22   A   Our operations manager, the associate pathologist, and
23       our services manager.
24   Q   Do you perform autopsies yourself personally?
25   A   I do.



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 1   Q   Does anyone else in the Pierce County medical examiner's

 2       office perform autopsies?
 3   A   Yes.
 4   Q   And who are those?
 5   A   Dr. Megan Quinn.
 6   Q   What is her title?
 7   A   Associate medical examiner.
 8   Q   Is she the one who just started?
 9   A   Yes.
10   Q   Anyone else?
11   A   Not at this time.
12   Q   Did anyone else perform autopsies in Pierce County
13       medical examiner's office in the October of 2014

14       timeframe?
15   A   Yes.
16   Q   Who else was that?
17   A   Dr. Matthew Lacy was at that time the associate.
18           We may also have had a Madigan resident.                We have
19       one most of the time, but I have no recollection of who
20       it would have been during this time.
21   Q   How many autopsies would you estimate that you've

22       performed in the course of your career?
23   A   Probably 4,000 to 5,000 or more.
24           It's hard to track it across two jobs.
25   Q   And while you were the deputy chief medical examiner in



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 1       North Carolina, you were performing autopsies there as

 2       well?
 3   A   Yes.
 4   Q   Now, in Pierce County how would it come to the medical
 5       examiner's attention that there has been a death that

 6       might fall under the medical examiner's jurisdiction?
 7   A   There are various ways a death can come to our attention.
 8           The normal one is for the 911 communications center
 9       to notify us of a death.
10           Deaths can also be reported by hospitals, even
11       funeral homes or individuals.
12   Q   And how is it determined whether it's a death that would
13       fall under your jurisdiction?

14   A   The initial calls go to our investigators.
15           The investigator who receives the call applies the
16       law and our policies and makes a determination about
17       whether that case does or does not fall under our
18       jurisdiction, and typically notifies the caller at the
19       time.
20   Q   Is that a determination that's typically made by the
21       investigator before the investigator arrives at the scene

22       where the death took place?
23   A   Yes, almost always.
24                                        (Exhibit No. 14 marked
25                                         for identification.)



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 1   Q   (By Mr. Williams)       Dr. Clark, I would like to show you a

 2       document which we've marked as Exhibit No. 14, and these
 3       have been Bates stamped with the designation PCME 000001

 4       through 17.
 5             My first question is:

 6             Take a look at this, and do you recognize what this
 7       is?

 8   A   I do.
 9   Q   And what do you recognize it as?

10   A   Exhibit No. 14 is a concatenation of multiple documents
11       that were generated by my office.
12   Q   And when you say "multiple documents," are these
13       documents that were-- let me ask it this way:

14             Does your office maintain a file for every medical
15       examination or autopsy that is performed?

16   A   Yes.
17   Q   And what are the types of documents that would be

18       contained within that file?
19   A   Each file has, at a minimum, an investigative report and
20       some sort of-- actually, no.
21             Each file has, at a minimum, an investigative
22       report, which may, in fact, decline jurisdiction.
23              If jurisdiction is declined, that's the end of it
24       and there's nothing else in the file typically.
25             Files can optionally have many other documents,



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 1       including a circumstances of death narrative summary, an
 2       examination summary, a toxicology report.
 3           There can be other documents as well.
 4   Q   Were you involved in compiling the documents that are a
 5       part of Exhibit No. 14?

 6   A   I was involved in writing them but not compiling them.
 7   Q   Are the documents that are contained within Exhibit

 8       No. 14, are these documents that are prepared in the
 9       ordinary course of business for the medical examiner's

10       office?
11   A   Yes, they are.
12   Q   And are they prepared contemporaneous with the events
13       that are detailed within these documents?

14   A   To a certain extent.
15           Not all of the documents are completed at one
16       sitting.
17   Q   When you say they are not all completed at one sitting,

18       can you explain what you mean by that?
19   A   The autopsy report, for example, is dictated the same day
20       that an autopsy is performed, but that includes only the
21       external examination and the internal examination.
22           The microscopic examination is done much later,
23       sometimes when the microscopic slides are completed and
24       returned by the processing agency.
25           The toxicology is also returned at a later time.



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 1           When all of the studies that are needed for an
 2       autopsy report are completed, then the autopsy report
 3       itself is completed, but it could be on as many as three
 4       different occasions.
 5   Q   But the autopsy report itself is something that is

 6       prepared in the ordinary course of business for the
 7       medical examiner's office?

 8   A   Yes.
 9                                        (Exhibit No. 15 marked
10                                         for identification.)
11

12   Q   (By Mr. Williams)      I would like to show you what we will
13       mark as Exhibit No. 15, and these have been Bates stamped

14       PCME 000018 through 44, and I will ask you to take a look
15       and tell me if you recognize this document.

16           Do you recognize those documents or photos?
17   A   A qualified "yes."
18   Q   And what do you mean by that?
19   A   Exhibit No. 15 consists of two sets of photographs.
20           The ones that contain a placard and our case number
21       are part of the autopsy examination.              I do recognize and
22       can identify those by the case number that appears in the
23       photograph.
24           This Exhibit No. 15 also includes scene photographs,
25       which were probably made by my office, but I can't say



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 1       that I recognize all of them definitively.
 2   Q   Okay.   To clarify, for example on what's Bates stamped
 3       PCME 21, which is the fourth page of the document, you're

 4       referring to the placard, the Pierce County placard that
 5       has the case number on it?

 6   A   That's correct.
 7   Q   And so any of the photographs with that would be

 8       photographs from the autopsy?
 9   A   Yes.
10   Q   Now, do you recognize the first page of the document that
11       appears to be a picture of a file jacket?

12   A   Yes.
13   Q   Does that appear to be a file jacket folder that would be

14       maintained by the medical examiner's office?
15   A   Yes, it does.
16   Q   With regard to the scene photographs, you said that those
17       were likely-- those may have been taken by the

18       investigator?
19   A   They would have been taken by the investigator.
20   Q   Okay.   Would the medical examiner's file only have
21       photographs that were taken by medical examiner staff or

22       would they also have photos that were taken, let's say,
23       by other agencies, such as the police department?

24   A   On this case I think we'd only have photographs that were
25       taken by medical examiner staff.



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 1       obtain the medical records from?

 2   A   MultiCare and Franciscan.
 3   Q   And would those be kept with your file if you had

 4       received them?
 5   A   We don't print them.       We just look at them.
 6   Q   So there's an online system you can access them--
 7   A   Yes.
 8   Q   Where are those records drawn from?
 9   A   The hospitals maintain them as part of their course of
10       business.
11   Q   And if Mr. Omelin had not been to a doctor or been to a

12       hospital--
13   A   Then we wouldn't have found any.
14   Q   Okay.   But would it be your standard to check if there
15       were any?

16   A   Yes.
17           We would also check to see if there's a record of
18       any prescription-- of any narcotics being prescribed.
19   Q   Would that be indicated somewhere, if you found any, in

20       the report?
21   A   Yes, it would.
22   Q   Any other information you would consider or you did
23       consider?

24   A   That's a hard question because it's been several years
25       and because I'm not sure-- I don't always consider the



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 1       same thing in every case, but there's nothing-- there's
 2       nothing that I depended on substantially that wouldn't be
 3       referenced in the report.
 4   Q   Okay.   Do you recall seeing any police reports as part of
 5       your evaluation?

 6   A   I don't remember, but it wouldn't have contributed
 7       anything in a case like this.
 8   Q   Do you typically have access to police reports for cases
 9       that you are investigating or do you need to request them

10       from the police department?
11   A   We have access and can get them.
12   Q   When you say-- let me rephrase it because my question was
13       unclear.

14           Are you able to access them directly or do you need
15       to make a request to the police department to--

16   A   We can access them directly.
17   Q   And do you have any recollection of doing that in this

18       case?
19   A   I didn't do it because I don't know how, but our
20       investigators probably did, but if they didn't find
21       anything relevant, then we wouldn't have a record of it.
22   Q   Okay.   Now, I understand Melissa Baker was the
23       investigator who arrived on the scene.

24           Would she have been the person who took custody of
25       Mr. Omelin's body?



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 1   A   Yes.
 2   Q   And are there standard practices and procedures in your
 3       office as to the handling of a body?

 4   A   Yes.
 5   Q   And what are those?

 6   A   She would have put the body into a body bag, brought it
 7       back to the office, logged it in, and put the body in our
 8       cooler.
 9           We have an electronic system that shows cooler
10       access, so we maintain secure standards for the cooler.
11   Q   And what temperature is the cooler set at?

12   A   It's supposed to stay about 36 degrees.
13   Q   And is that what it generally does stay at?

14   A   Yes.
15   Q   Do you recall any issues or problems with the cooler in

16       October of 2014?
17   A   No, I don't.
18   Q   Do you have any reason to believe that the handling of
19       Mr. Omelin's body did not comply with Pierce County

20       medical examiner's protocol?
21   A   I do not, because if it hadn't, there would be notes
22       about it.
23   Q   Now, with regard to taking blood samples, do you know

24       when blood samples were taken from Mr. Omelin?
25   A   Approximately.



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 1   Q   And when was that?

 2   A   They would have been taken at the beginning of the
 3       autopsy.
 4   Q   So the body would have remained in the cooler until the
 5       autopsy?

 6   A   Yes.
 7   Q   And do you know where the blood samples would have been

 8       taken from?
 9   A   You mean where on the body?
10   Q   Correct.
11   A   They were peripheral samples.
12   Q   And by "peripheral," what does that mean?
13   A   Usually femoral artery.
14   Q   Is that your standard practice for blood samples?
15   A   Yes.
16   Q   Does your office ever have occasion to take vitreous
17       fluid for toxicology purposes?

18   A   Vitreous isn't very useful for toxicology, but we do save
19       vitreous in almost all cases in case we need it for
20       chemistry.
21   Q   And how long do you save it for?

22   A   I think the disposition schedule is three years for
23       vitreous, but I'm not positive.
24           It could be two.
25   Q   Do you know whether there are still vitreous samples for



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 1       have to send it to a lab that does.
 2   Q   Do you know what documentation the toxicology lab
 3       maintains with regard to their testing?

 4   A   They keep their raw output from their devices.
 5   Q   Do you know for how long?

 6   A   I don't.
 7   Q   Have you ever had occasion to go back to them for their

 8       raw output after a period of years?
 9   A   Yes.
10   Q   And have you had any trouble getting the raw output from
11       the tox lab?

12   A   No.
13   Q   Do you recall how-- the longest period of time it was

14       that you had to go back for?
15   A   I don't, but my best guess is that this case is in
16       archives but probably still available.
17   Q   And what would the raw output look like?

18   A   It depends on what they did.
19             There would be output from gas chromatography that
20       would show a peak that correlated with this amount of
21       alcohol.
22             There probably-- I mean, there's also a mass
23       spectroscopy output that may or may not have peaks on it.
24             I don't know what this one looks like.               I haven't
25       seen it.



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 1   Q   But generally speaking, the raw output would be the

 2       graphs that show the peaks that you've described?
 3   A   Yes, and numbers to go with them.
 4   Q   Anything else that would generally be part of their raw
 5       output?

 6   A   That's probably at the end of my knowledge.
 7                                         (Exhibit No. 16 marked
 8                                          for identification.)
 9

10   Q   (By Ms. Williams)       I would like to show you what we have
11       marked as Exhibit No. 16.

12           This is essentially-- it's a copy of the postmortem
13       examination report.

14           I wanted to mark it as a stand-alone document so we
15       can make it easier to go through.

16           Obviously you can take a look and compare that this
17       appears to be a copy of it.

18           It actually also includes both pages of the
19       toxicology report at the end.

20   A   Yes.
21           It's a better copy.
22   Q   On the cover page, "Cause of death," you listed
23       "Aspiration of gastric contents," "Other significant

24       conditions: Alcohol intoxication," correct?
25   A   Yes.



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 1   Q   And are those your-- were those your conclusions based

 2       upon your medical training and experience and the
 3       evaluation that you did as to Mr. Omelin?

 4   A   Yes.
 5   Q   If you turn to Page 2 of the document, it says, "Final

 6       diagnoses," and it says, "Aspiration of gastric
 7       contents," and underneath it, it says, "Fatty change of

 8       the liver, mild."
 9             Do you see that?

10   A   Yes.
11   Q   Why is that in your final diagnoses?

12   A   Because he had it.
13   Q   What is the significance of that, if any?

14   A   Fatty change is a nonspecific response of the liver to
15       injury.
16              The most common cause of fatty change is alcohol
17       abuse.
18             There are other things that can cause fatty change
19       as well, including obesity, diabetes, and even some
20       chemicals, such as carbon tetrachloride or dry cleaning
21       fluid.
22   Q   Based upon your review of Mr. Omelin, would you
23       characterize him as obese?

24   A   No.
25   Q   Was there any indication he had diabetes?



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 1   A   No.
 2   Q   When you said that fatty change of the liver could be
 3       caused by alcohol abuse, what do you mean by "alcohol

 4       abuse"?
 5   A   One drink is not likely to produce fatty change, but
 6       abuse of alcohol over a period of days can produce fatty
 7       change.
 8             Fatty change is reversible, so if the drinking
 9       stops, the fatty change goes away.
10             Since fatty change was still here and since he had a
11       positive alcohol, I would conclude that this fatty change
12       is almost certainly due to alcohol abuse.
13   Q   And then the "Opinion," it says, "This 25-year-old man

14       was found dead on his bathroom floor.              According to his
15       family, he had not seen a physician in at least four

16       years."
17             The fact that he had not seen a physician in at

18       least four years, did that have any significance to you?
19   A   Well, it probably means he doesn't have any chronic
20       diseases for which he's being treated.
21             It doesn't particularly surprise me that he hasn't
22       seen a physician.       At his age it's not uncommon not to
23       see a physician.
24   Q   And then this next paragraph, second sentence, "Anatomic
25       findings include aspiration of gastric contents and fatty



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 1       change of the liver."

 2            Were those both things that you were able to
 3       determine from the microscopic slides?

 4   A   That's correct.
 5   Q   And can you explain how the microscopic slides work?

 6   A   During the internal examination of the autopsy, small
 7       pieces of organs are taken for processing and mounting on
 8       glass slides.
 9            The slides are stained, coverslipped, and then they
10       are suitable for examination under a microscope.
11            It gives a closer view at a cellular level of organs
12       and shows things that can't be seen with the unaided eye.
13   Q   And it was through the microscopic slide that you were

14       able to determine there had been aspiration of gastric
15       contents; is that correct?

16   A   That's correct, but slightly inadequate in that
17       "aspiration of gastric contents" means vomiting and
18       breathing in the stomach contents, and it's not an
19       uncommon finding at autopsy, even during the gross exam
20       without the microscope, because vomiting is not an
21       uncommon reaction to death.
22           The problem is it's important to determine whether
23       aspiration is the cause of death or the result of death,
24       and that can only be done microscopically.
25           In this case I found gastric contents in the



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 1       periphery of the lungs along with extensive hemorrhage or
 2       a bleeding reaction around it, indicating that this
 3       aspiration occurred while he was still making a
 4       respiratory effort, so this becomes the cause of death
 5       rather than perimortem aspiration that's the result of
 6       death.
 7   Q   So turning to-- I want to follow up on that.

 8           Turning to Page 4 of the document, which we have
 9       marked as Exhibit No. 16, under the heading, "Microscopic

10       examination," you say, "Lung: Sections of each lung shows
11       aspiration of foreign material into the periphery, with

12       extensive associated intra-alveolar hemorrhage."
13   A   Yes.
14   Q   Is that what you were just explaining?
15   A   Yes.
16   Q   So what is the intra-alveolar hemorrhage?
17   A   Alveoli are the air spaces in which air exchange takes
18       place between the blood and the air, oxygen exchange and
19       carbon dioxide exchange.
20           The air spaces or alveolar spaces are rounded, and
21       normally don't have anything in them.
22           If something is in them, then that is abnormal.
23           In this case there was blood in them, so it's called
24       hemorrhage into the alveolar spaces or intra-alveolar
25       hemorrhage.



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 1   Q   And in your opinion what was it that caused the blood to

 2       occur, the bleeding?
 3   A   The bleeding is a result of continued respiratory effort.
 4           He was trying to breathe even though he had
 5       aspirated his gastric contents, and that negative
 6       pressure pulls red cells across capillaries and into the
 7       air spaces.
 8   Q   And just for the nonmedically trained, when you say
 9       "aspiration of gastric contents," how would you describe

10       that in layman's terms?
11   A   If one vomits, it normally comes to the outside, if one
12       is conscious and able to open the mouth and get the vomit
13       out.
14           If the vomit doesn't make it all to the outside and
15       you are breathing at the same time, then the air can pull
16       the gastric contents down the trachea, which is the
17       windpipe, and into the lungs.
18   Q   And how does that result in death?
19   A   Asphyxiation.
20           If the lungs are being blocked by gastric contents,
21       then gas exchange can't take place, so there's no oxygen.
22   Q   You indicated alcohol intoxication as a significant
23       contributing condition.

24           How does alcohol intoxication-- how did it
25       contribute to the cause of death for Mr. Omelin?



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 1   A   Aspiration of gastric contents, which I will subsequently
 2       refer to only as "aspiration," happens in the very young,
 3       the very old, and the intoxicated, and not very much in
 4       anybody else.
 5           So alcohol intoxication is important because without
 6       it, he probably would not have aspirated and died.
 7   Q   Why do you say that?

 8   A   Because normal healthy people who vomit and are alert and
 9       conscious typically don't aspirate their gastric
10       contents.
11   Q   So what is it about the alcohol intoxication that you

12       believe caused him to aspirate the gastric contents?
13   A   Alcohol intoxication produces a decreased level of
14       consciousness, a decreased sensation level, a decreased
15       response time, and whereas a person who is not
16       intoxicated might think to lean over or in some way get
17       the vomit out of their mouth, a person who is intoxicated
18       might not have that reaction or might not have it in
19       time.
20   Q   Did you find any other significant contributing
21       conditions, other than alcohol intoxication, with regard

22       to--
23   A   I did not.
24   Q   And is it fair to say that in performing your evaluation,
25       there could be cases that had multiple contributing



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 1       conditions?

 2   A   There are many cases with multiple contributing
 3       conditions.
 4   Q   And if you found multiple contributing conditions in
 5       Mr. Omelin's case, you would have noted those in the

 6       report?
 7   A   Yes.
 8   Q   Now, sticking with "Microscopic examination" on Page 4 of
 9       Exhibit No. 16, there's a reference to the heart.

10           Do you see that?
11   A   Yes.
12   Q   "There is no evidence of acute nor old infarction.                   There
13       is no significant inflammation."

14           Can you explain that?
15   A   "Infarction" is cell death.           It is, in layman's terms,
16       called a heart attack.
17           It would be unusual for a man of this age to have
18       one, but it's possible.
19           "Inflammation" is a reference to the parts of the
20       blood that respond to injury.           Specifically they're
21       called lymphocytes or neutrophils, for the most part.
22           There is a condition called myocarditis that affects
23       people at any age and is unpredictable, can result in
24       vomiting, and could have been the cause of death in this
25       case, but it isn't because there isn't any inflammation



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 1       in the heart, so it's an important pertinent negative.
 2   Q   And that was, you said, myocarditis?
 3   A   Yes.
 4   Q   And you found no evidence that would suggest Mr. Omelin
 5       had myocarditis?

 6   A   That's correct.
 7   Q   Did you find any scarring in the heart tissue?

 8   A   No.
 9   Q   Was there any evidence of cardiac arrest?

10             Let me rephrase that.
11             Were there any structural defects that you observed

12       in the heart?
13   A   No.
14   Q   You said, "Serial sections of"-- actually, I'm flipping
15       back, so let's go to Page 3 of your Exhibit No. 16 under

16       "Cardiovascular system."
17              It says, "The heart weighs 300 grams.              The coronary

18       arteries arise in the usual locations, are widely patent,
19       and do not have significant atherosclerotic disease."

20             What does that mean?
21   A   It means exactly what it said.
22             Coronary arteries are the blood vessels that take
23       blood from the aorta to the heart, and in somebody who
24       has a heart attack, occluded coronary arteries are the
25       usual reason.



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 1           They can arise or travel in nonstandard locations,
 2       which can cause sudden death.
 3            That wasn't the case here.
 4   Q   And then "Serial sections of myocardium do not show
 5       evidence of acute nor old infarction," you mentioned that

 6       earlier, correct?
 7   A   In a different context.
 8   Q   What are you referring to in this context?
 9   A   This is when I'm actually holding the heart and cutting
10       it with a knife, and the reason it's important here is if
11       there were gross evidence or visible evidence of
12       infarction, then that's the place I would have taken for
13       microscopic examination.
14           I saw nothing, so I took a random section and still
15       saw nothing.
16   Q   And, again, can you explain what "infarction" is?
17   A   "Infarction" is death of the heart cells, in this case.
18   Q   Did you see any signs of tachycardia on Mr. Omelin's
19       heart?

20   A   His heart rate was zero at the time I examined him, so he
21       did not have tachycardia, which means an increased heart
22       rate.
23   Q   I apologize.    That was a poorly phrased question.

24           If he had suffered some type of tachycardia before
25       death, is that something that would be able to be



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 1       discerned from the autopsy examination?

 2   A   No.
 3   Q   Okay.   And looking at your report, did you find any other

 4       conditions that Mr. Omelin had that could have
 5       contributed to his death?

 6   A   The only other finding was mild fatty change of the
 7       liver, but it's very unlikely that a mild degree of fatty
 8       change would contribute to death.
 9   Q   But it is your opinion that in this case the mild change

10       of fatty liver was likely caused by alcohol abuse?
11   A   Likely caused by alcohol abuse and likely did not
12       contribute to the death.
13   Q   Based on the work that you did in performing the autopsy

14       and all the other information you considered, do you
15       stand by your determination that the cause of death for

16       Mr. Omelin was aspiration of gastric contents with
17       alcohol intoxication as a significant contributing

18       condition?
19   A   I do.
20   Q   Have you seen anything, since you've prepared your
21       autopsy report, to suggest that your conclusions may not

22       be correct?
23   A   I have not.
24   Q   Do you recall-- let me-- having-- do you recall anyone
25       from Mr. Omelin's family mentioning to you or your office



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 1       the possibility of food poisoning?

 2   A   I saw it in one of the notes.
 3   Q   And is that something-- did you have any discussions with

 4       anyone about that issue?
 5   A   The note says that "The decedent's father called stating
 6       concerns over possible food poisoning.              He stated that
 7       the night prior to death the decedent had opened a can of
 8       meat and made spaghetti.         Mr. Omelin stated that at the
 9       residence they noted vomit not only upstairs but also
10       outside."
11           I was aware of that, but it doesn't-- first of all,
12       it isn't very likely that you get food poisoning by
13       opening a can of meat -- more likely by eating one that's
14       been sitting outside for a while -- and it doesn't matter
15       anyway because there was a good explanation for his
16       vomiting and aspiration.
17   Q   And what was the good explanation for his vomiting and

18       aspiration?
19   A   Alcohol intoxication.
20   Q   And the 0.095 blood alcohol level at the time the test
21       was done, is that the maximum blood alcohol level he may

22       have had sometime before his death or is that simply the
23       measurements that were taken at the time the blood sample

24       was retrieved?
25   A   That is a measurement that shows his alcohol



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 1       concentration at the time of death.
 2           It could have been higher at another time.
 3                              MR. WILLIAMS:        Dr. Clark, why don't we

 4       take a short break.       I might be just about to turn it
 5       over to Mr. Miles.

 6                            VIDEOGRAPHER:         Going off record.        The
 7       time now is 2:17 p.m.

 8                                          (Recess 2:17 to 2:30 p.m.)
 9

10                            VIDEOGRAPHER:         Back on record, the
11       time now is 2:30 p.m.

12   Q   (By Mr. Williams)      Dr. Clark, I just have a few more and
13       will try to wrap this up from my standpoint.

14           Turning to Exhibit No. 14 again, and specifically
15       PCME 5, which is the circumstances of death by Melissa

16       Baker, in the third paragraph that begins "Per family"--
17       do you see that paragraph?

18   A   Yes.
19   Q   And if you go down to the fifth line, there's a sentence

20       that says, "The decedent had no medical history but had
21       been complaining of headaches for several months and had

22       refused to see a doctor."
23           Do you see that?

24   A   Yes.
25   Q   Did you find, in your assessment and evaluation, any



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 1       evidence that his headaches could have contributed in

 2       some way to his death?
 3   A   I did not.
 4   Q   If you go down a couple lines later, it says, "She stated
 5       that the decedent rarely slept and drank a lot of coffee

 6       and Red Bull to stay alert."
 7             In your evaluation and assessment, did you see any

 8       evidence that his consumption of coffee or Red Bull
 9       contributed to his death?

10   A   No.
11   Q   And I think as you said before, had you found evidence of

12       some other contributing condition to his death, you would
13       have indicated that in the report, correct?

14   A   Yes.
15                                         (Exhibit No. 17 marked
16                                          for identification.)
17

18   Q   (By Mr. Williams)       I would like to show you what we will
19       mark as Exhibit No. 17, and these are some documents that

20       we received yesterday from Plaintiff's counsel.
21             Do you recognize these documents?

22   A   Yes.
23   Q   And what are they?

24   A   Again, it's multiple documents.
25             Exhibit No. 17 begins with a case review checklist.



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 1       This is part of our peer review process when one
 2       investigator has to review another investigator's work to
 3       make sure that it's complete and accurate.
 4              Page 2 is what we call our blue sheet.              It is a list
 5       of follow-up that a case needs.              In this case there was
 6       only one thing, which was obtaining a funeral home.
 7              Page 3 is a letter that is self-explanatory.
 8              Page 4 is a letter that is self-explanatory.
 9   Q   And would these have been part of Mr. Omelin's file in

10       the medical examiner's office?
11   A   Yes.
12   Q   And just to clarify some of my questions earlier, in your
13       examination did you find any evidence of damage to

14       Mr. Omelin's heart?
15   A   No.
16   Q   And had you found any evidence of damage, would you have
17       indicated that in the report?

18   A   Yes.
19                                          (Exhibit No. 18 marked
20                                           for identification.)
21

22   Q   (By Mr. Williams)        I would like to show you my last
23       exhibit, which we'll mark as Exhibit No. 18.

24             Dr. Clark, do you recognize this document?
25   A   I can figure out what it is, but I've never seen it



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 1       before.
 2   Q   Do you-- when you say you can figure out what it is, what
 3       is your understanding of what it is?

 4   A   It is the Washington Department of Health certificate of
 5       death, but we don't see them in most cases because they
 6       charge us if we want one.
 7   Q   Are you familiar with how the Washington Department of

 8       Health obtains the information that's included in the
 9       certificate of death?

10   A   Yes.
11   Q   And how is that information obtained?

12   A   The demographic information is obtained from family.                 The
13       cause of death information is obtained from my office.
14   Q   So would you have provided the State of Washington
15       Department of Health the cause of death and contributing

16       conditions for Anton Omelin that you had found in order
17       for them to prepare the death certificate?

18   A   Yes.
19                             MR. WILLIAMS:         Dr. Clark, I appreciate

20       your time, and that's all the questions I have for now.
21                             MR. MILES:       Dr. Clark, I only have a

22       few.
23              Famous last words from a lawyer, I know, but I will

24       try.
25       /////



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 1                                   EXAMINATION

 2       BY MR. MILES:
 3   Q   I want to direct your attention back to Exhibit No. 16,

 4       which is your postmortem examination report, and
 5       specifically the page labelled at the bottom as PCME 10.

 6           My apologies.        It may not be labelled in that manner
 7       that you have.

 8           If you could look at the one that's labelled Page 22
 9       or Page 3 of the document.

10           At the bottom there's a section called "Respiratory
11       system."

12           Do you see that?
13   A   Yes.
14   Q   The second sentence says, "The lungs are normally formed
15       and do not have focal lesions."

16           Do you see that?
17   A   Yes.
18   Q   What does that mean?
19   A   It means that I didn't see anything grossly that was
20       abnormal.
21   Q   And when you say "grossly," what do you mean, in layman's

22       terms?
23   A   I mean what I could see with my eyes.
24   Q   With the naked eye?
25   A   Without a microscope.



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 1   Q   Explain how your description here of "The lungs are

 2       normally formed" is consistent with the next page and
 3       your microscopic examination of the lungs.

 4   A   Microscopically I was seeing very small cellular-sized
 5       foreign material in the periphery of the airways.
 6              It's not possible to see that without a microscope.
 7   Q   Could you tell what type of foreign material that was?

 8   A   I didn't try.
 9   Q   What was the importance of noting the foreign material in

10       the microscopic analysis of the lungs?
11   A   Because if the foreign material is in the periphery and
12       accompanied by hemorrhage, it is a very strong indication
13       that aspiration is real, that it occurred during life
14       while there was still a respiratory effort.
15   Q   You mentioned earlier, I believe, that there was some

16       hemorrhaging or bleeding inside the lungs, right?
17   A   Yes.
18   Q   Is that what caused the ultimate death here?
19   A   It probably contributed, but the occlusion of small
20       airways by gastric contents is what actually caused the
21       death.
22   Q   Is that similar to suffocation?
23   A   It's probably more properly referred to as asphyxiation.
24   Q   And how would you describe asphyxiation?
25   A   It's lack of oxygen at a cellular level.



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                                     Thomas B. Clark, M.D.
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 1   Q   And there could be different causes for that lack of

 2       oxygen?
 3   A   Yes.
 4   Q   Could be foreign material in the lungs?
 5   A   That is one of them.
 6   Q   Could be bleeding in the lungs?
 7   A   That would be one.
 8   Q   Could be a combination of both?
 9   A   Yes.
10   Q   During your work on the autopsy of Mr. Omelin, did you
11       see any evidence that a Monster Energy Drink caused or

12       contributed to his death?
13   A   No.
14   Q   During your work on the autopsy of Mr. Omelin, did you
15       see any evidence that a NOS Energy Drink caused or

16       contributed to his death?
17   A   I don't even know what that is, so no.
18                             MR. MILES:       I have no further
19       questions at this time.

20                             MR. WILLIAMS:         Nothing further.
21                             MR. PRATHER:        Nothing from me.

22                             MR. WILLIAMS:         Thank you, Dr. Clark.
23                             VIDEOGRAPHER:         This is the end of

24       Media Unit No. 1 and concludes the deposition of Thomas
25       Clark, M.D.     The time now is 2:39 p.m.



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 1            Going off record.

 2                              (Deposition concluded at 2:39 p.m.)
 3                              (Signature waived.)

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 1      STATE OF WASHINGTON )    I, Terilynn Simons, CCR, RMR, CRR
                            ) ss a certified court reporter
 2      County of Pierce    )    in the State of Washington, do
                                 hereby certify:
 3
 4
             That the foregoing deposition of THOMAS B. CLARK, M.D.
 5      was taken before me and completed on August 8, 2018, and
        thereafter was transcribed under my direction; that the
 6      deposition is a full, true and complete transcript of the
        testimony of said witness, including all questions, answers,
 7      objections, motions and exceptions;
 8           That the witness, before examination, was by me duly
        sworn to testify the truth, the whole truth, and nothing but
 9      the truth, and that the witness waived the right of
        signature;
10
             That I am not a relative, employee, attorney or counsel
11      of any party to this action or relative or employee of any
        such attorney or counsel and that I am not financially
12      interested in the said action or the outcome thereof;
13           That I am herewith securely sealing the said deposition
        and promptly delivering the same to Michael Ernest Williams.
14
             IN WITNESS WHEREOF, I have hereunto set my signature on
15      the 13th day of August, 2018.
16
17
18
19                                          ________________________________
                                            Terilynn Simons, CCR, RMR, CRR
20                                          Certified Court Reporter No. 2047
                                            (Certification expires 07/07/19.
21
22
23
24
25



                                   Thomas B. Clark, M.D.
                                      August 8, 2018
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                           Seattle/Tacoma, Washington



                   UNITED STATES DISTRICT COURT
                 WESTERN DISTRICT OF WASHINGTON
                                AT TACOMA


ANNA OMELIN, individually and as                )
an administrator of the Estate of               )
Anton Omelin, deceased,                         )
                                                )
                         Plaintiff,             )
                                                )
                   vs.                          ) No. 3:17-cv-05837
                                                )
HANSEN BEVERAGE COMPANY d/b/a                   )
MONSTER BEVERAGE CORPORATION, a                 )
Delaware corporation, MONSTER                   )
ENERGY COMPANY, a Delaware                      )
corporation, RED BULL NORTH                     )
AMERICA, INC., a California                     )
corporation, and DOES 1-100,                    )
inclusive,                                      )
                                                )
                         Defendants.            )

           VIDEOTAPED DEPOSITION OF ANGELITO QUINTO
                            August 9, 2018
                         Seattle, Washington




                       Byers & Anderson, Inc.

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                                Seattle/Tacoma, Washington



 1                      APPEARANCES
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 6                   Olgae@cosmopolitanlegal.com
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11                   Michaelwilliams@quinnemanuel.com
12                   Kristin Carlson
                     Red Bull Legal Counsel
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15
     For Defendant Monster & Hansen Beverage Company:
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                      Aaron Sonnhalter (via telephone)
21                    Monster Vice President and Chief
                     Litigation Counsel
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                      Corona Way, CA 92879
23                    951.817.6064
                      Aaron.sonnhalter@monsterenergy.com
24
25   Also present:    Ed Burke, Videographer
                      Anna Omelin
                      Anna Omelin

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                                      Angelito Quinto
                                      August 9, 2018
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                                Seattle/Tacoma, Washington



 1   A   I graduated from Washington State's Reserve Academy for--
 2       prior to me being hired on full time.
 3           I also-- right after reserve academy I got hired by
 4       Washington State by a jail, so I went through the
 5       Washington State Corrections Officer Academy.
 6           Then right after that I got hired as a full-time
 7       police officer, so I went back for Washington State's
 8       full-time Police Academy.
 9   Q   I would like to direct your attention to August 30th of

10       2014.
11           Do you recall responding to-- I'm sorry.

12           I would like to direct your attention to October
13       30th, 2014.

14           Do you recall responding to a home at 4219 69th
15       Avenue East on that morning?

16   A   I do.
17   Q   Other than what's contained in your report, which is part

18       of Exhibit No. 13, and we'll look at that, do you have
19       and recollection of the events of that morning?

20   A   Just vaguely.
21           I remember responding to the residence.
22           I remember walking into the bathroom and seeing a
23       male subject that had passed away.
24   Q   Okay.   Do you recall-- when you said you were responding
25       to the scene, do you recall what you were told in order



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                                  Seattle/Tacoma, Washington



 1       to respond?

 2   A   To my own recollection, no, I do not.
 3              I do remember-- I don't know if it was-- prior to me
 4       reading my report, I do remember the call being a death.
 5   Q   Okay.

 6   A   A death investigation is what we'd call it.
 7   Q   Let me show you what's been previously marked as Exhibit

 8       No. 13.
 9           I notice that you also brought a copy of your

10       report.
11           Is that correct?

12   A   Yes, sir.
13   Q   And with the exception of there are some redactions in

14       Exhibit No. 13 for personal information, can you compare
15       Exhibit No. 13 to what you brought to see if the contents

16       are the same?
17   A   Yes.
18   Q   And I will represent to you that Exhibit No. 13 does not
19       contain photographs that may have been part of your other

20       report.    Those are separately identified.
21   A   Okay.
22   Q   Do you notice any differences between the two documents?
23   A   No, sir.
24   Q   So on Exhibit No. 13, if you look at the fourth page of
25       the document, there's an incident detail report.



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                                        August 9, 2018
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                                  Seattle/Tacoma, Washington



 1           Do you see that?

 2   A   On the fourth page?
 3   Q   Correct.

 4   A   Okay.
 5   Q   And on the fifth page there appears to be a signature

 6       line with your name on it?
 7   A   Yes, sir.
 8   Q   Is that your signature?
 9   A   It is.
10   Q   And did you prepare this incident detail report?
11   A   I did.
12   Q   And did you prepare it on October 30th, 2014, which is
13       the date that it was signed and printed?

14   A   Yes, that would mean that I prepared it that day.
15   Q   So looking at the incident detail report, it says, "On

16       October 30, 2014, at approximately 7:53 hours, I
17       responded to 4219 69th Avenue East at the request of

18       Tacoma fire department for a signal two."
19           Do you see that?

20   A   Yes, I do.
21   Q   And what is a signal two?

22   A   Basically that somebody has been found deceased.
23   Q   And when you said "at the request of Tacoma fire

24       department," did you actually-- did you get a call on
25       your radio, from the fire department, to respond?



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                                        August 9, 2018
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 1      STATE OF WASHINGTON )    I, Terilynn Simons, CCR, RMR, CRR
                            ) ss a certified court reporter
 2      County of Pierce    )    in the State of Washington, do
                                 hereby certify:
 3
 4
             That the foregoing deposition of ANGELITO QUINTO was
 5      taken before me and completed on August 9, 2018, and
        thereafter was transcribed under my direction; that the
 6      deposition is a full, true and complete transcript of the
        testimony of said witness, including all questions, answers,
 7      objections, motions and exceptions;
 8           That the witness, before examination, was by me duly
        sworn to testify the truth, the whole truth, and nothing but
 9      the truth, and that the witness waived the right of
        signature;
10
             That I am not a relative, employee, attorney or counsel
11      of any party to this action or relative or employee of any
        such attorney or counsel and that I am not financially
12      interested in the said action or the outcome thereof;
13           That I am herewith securely sealing the said deposition
        and promptly delivering the same to Michael Ernest Williams.
14
             IN WITNESS WHEREOF, I have hereunto set my signature on
15      the 13th day of June, 2018.
16
17
18
19                                          ________________________________
                                            Terilynn Simons, CCR, RMR, CRR
20                                          Certified Court Reporter No. 2047
                                            (Certification expires 07/07/19.
21
22
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                                      Angelito Quinto
                                      August 9, 2018
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                            +           G           <           B           B           =       G               6               0               ,                                       `               R           M               P           M                                                                                                                                                   b                   \           Q                       K                           @                                           K                                   R                               K                       O                           a                                       R               R               a                                       1           <       c




                                                                    _                                                                                                                                   _



                                    b   \               P                       @               K           a               P       O                   M           K                   M                                                                                                                                                                                               ?                               H           F                       G                   9                           ;                       =                           7                                       8                       [                           d                           W                       >                   G               C                       ?           <       8               9           G               C           ?           D               8                       J       H           D       A




                                                                                                    _



                                    b       R           P           P           @                           a               `       O               \                   P           K               a                                                                                                                                                                                   X                               X           X                               J       W                               >                       G                           C                                       ?                       <                           8                               9                   G                   C               ?                       D           8           J           H           D           A




                                                                            +           G       C           :           7           8               [                           0                   <           ?           F               7                   8                       [               B               D               8                   e           ?                                               5           G                       [                   <                           =                                                   .                                       D               A                               A                                   ;                   8                   7               B                       >                   ?               7           8               H           G                               M               `               R           P




                                                                                                                                                                                                                                                                                                                                                                    !                                                                                                                     "                   #                   $                                                                                                                                      




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            




                                                                                                                                                                                                                                                                                                                    Exhibit I - Page 1
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                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 




                                                                                                                                                                                                                                                                            
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  




            M                                                                                                                               ,                   I               I                   )               ,                           -               ,               &                       .           )               +




        \           1   D   C       B       F   G           I   =   <   7   8       B           7                   E               E                   L




        K                                                                                       /               =               [               <                               )                           E               7               A                       D               :                   <




                                                                                                .               D               ?           A                   D           Y                       D                       =                   7                   B               <                   8                           5                           G               [                       <                   =                                               I                       5                                   5                           .




        a                                                                                           M           Q               Q                                       M           P                       R               B                   F                               ,                       :           G               8                           ;               G                                       &                           )




                                                                                                +               ;               7               B               G                                   \                           M                       P




        Q                                                                                       S               G               =               =               G               :                   ;                       G                           6                       0                   ,                                                               `               R                       P                       P               a




                                                                                                                                                                                                            _                                                                           _



                                                                                                a               \               Q                       J       \                   `                                               J                   R               R                                   R




            _



                                                                                                /               =               [               <               G               d                   H                       D                   ?               A                   D               Y               D               =                           7               B                       <                   8                       =                       G                       [                                   <                           =                                   J           H               D       A




        N           1   D   C       *       G       E   G   8   9   <   8   B                   -               G               9                               S               ;                   =                       =                               L




            R                                                                                               4                   7               H               F               <                   G                       =                                       )               C                   8           G               ?                           B                               0                           7                       =                       =                       7                                   <                   A                           ?




                                                                                                k
                                                                                                                ;               7               8               8                                   )               A                           <                   8               ;                   G           =




                                                                                                                    _



            `                                                                                       R                           Q                               +               D                   ;                       B                   F                                   1                   7           [               ;                           G               C                       D                   <                                               +                       B                                   C                           G                   G                           B




                                                                                                    M               P           B               F                               1                   =                       D                   D                   C




    M       P                                                                                   5               D               ?                           ,                   8                   [                       G                   =                   G               ?                       6                       .                       ,                                                                       `                   P                           P                       M                           N




                                                                                                \                   M           K                       J       a               a                   K                               J           K                   \               Q                       M




    M       M                                                                               4                   7               H               F               <               G                   =                       X                   7                   =               =                   7           <           A                               ?               d                       ^                   ;                       7                       8                       8                                   G                   A                           <                           8               ;               G       =                       J           H   D           A




    M   \                                                                                       l               C               7               ?               B               7                   8                                           .                   <               C                   =           ?               D                           8




                                                                                                -               G               9                               S               ;                   =                       =                                       5               G                   [           <               =                                           .                       D                   ;                       8                       ?                       G                                   =




                                                                                                                    _



    M   K                                                                                           M                           K                   P                           +                   B                       G                   X                   <               C                   B                           +                           B               C                       G                   G                       B




                                                                                                +               <               8               B               <                               4                           D                   8                   7               H                   <               6                                       .           ,                                                                           `                           P               a                                       P                       a




                                                                                                                                                                                    _



    M   a                                                                                       K                   M               P                   J       a                                           P                       J           a                   Q               N                   K




                                                                                                m

                                                                                                                C               7               ?               B               7                   8                               J           H                   <               C                   =           ?               D                           8               d                       C                   G                       9                   W                           ;                                   =                           =                                   J           H               D       A




    M   Q




                    1   D   C       *       G       E   G   8   9   <   8   B               4                   D               8               ?               B               G                   C                                                   ]                           2                   <           8               ?                           G               8                                           S                       G                       :                       G                                   C                           <                   [                           G                               .       D               A               Y       <               8           >           L




            _



    M




                                                                                            4                   <               C               H                               I                               J                           4                       7               =                   G           ?




                                                                                                                                                                m

    M   N                                                                                       +               F               D               D                                                   2                       <                   C                   9               >                                   ]                                       S               <                       H                   D                       8                                               5                                   5                           I




                                                                                                                                                                                m

                                                                                                Q                               I               <               C                                                           I                   =                   <                   n               <




                                                                                                                                                                                                                                _



    M       R                                                                                   +               ;               7               B               G                                           M                                           P               P




                                                                                                                                                                                                                                                                                                                                                                    _                                                                                                                                                                       _



                                                                                                    '           C               :               7               8               G                           6                                   .               ,                                                       `           \                                               M                   a                   O                       \                       Q                       a




    M       `                                                                                       `           a                   `                   J       a               N                   Q                               J                   M           Q                   P                   P




                                                                                            4               A                   7               =               G               ?                   d                       ?                   F               W                               J       H           D           A




\           P




                                                                                            ,                   <               C               D               8                                   +                       D                   8                   8               F                   <           =               B                           G               C                                                           b       :                       7                       <                                                               B                   G                           =               G       Y               F                   D               8   G                   @




\           M                                                                               4                   D               8               ?               B               G                   C                                       T                       7               H                   G                           I                           C               G                       ?                   7                       9                       G                       8                                   B                                               <                           8               9                       .                   F               7   G                   E




                                                                                    5           7               B               7               [               <               B                   7                       D                   8                                   .                   D           ;               8                           ?               G                       =




\       \                                                                                           M                       4                   D               8               ?                   B                       G                   C                               0                       <           >




                                                                                                .               D               C               D               8               <                                   0                           <                   >                   6                           .           ,                                                                           `               \                           R                   N                               `




                                                                                                                                                                                                                                                        _                               _



\       K                                                                                           `           Q                   M                   J               R           M               N                               J                                   P                               a




                                                                                            ,                   <               C               D               8                           J       ?                       D                   8                   8               F                   <           =               B                           G               C                       d               A                           D                       8                       ?                                   B                           G                   C                           G               8               G       C                   [               >       J           H           D       A




\       a




                                                                                                                                                                                                                            m

\       Q       ,       =   ?   D       Y       C       G   ?   G   8   B       L                               )               9                               S               ;                   C                                           G                       6                           T               7               9                           G               D                       [                   C                       <                   Y                           F                                   G                           C




                                                                                                            ,                   8               8               <                                   /               A                           G                   =               7                   8




                                                                                                            ,                   8               8               <                                   /               A                           G                   =               7                   8




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            f   g   h   i   j




                                                                                                                                                                                                                                                                                                                !                                                                                                                 "                   #                   $                                                                                                                          




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            




                                                                                                                                                                                                                                                                Exhibit I - Page 2
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                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                




                                                                                                                                                                                                                                                                                                                                                                                               
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             




            M                      B           D               =               9                               >               D               ;                           B                   F               <                   B                                   J                                               U                       D               ;                                           <               C                   G                                                   Y                           ;                       B                   B                               7                       8                               [                                                                           B                                   F                               <                               B                                               B                       D                   [           G                   B               F               G               C                               W                               <               ?               G           9                       ;       Y               D   8




        \                          B           F               G                               G               :               G               8               B           ?                   O               O




        K       q                      r                   s                       t               u                               v               w               x   y                                           v           z                                   t                   v                           z                   {                                           s                           t               u                                   |                                   }                           u                       v                   t                               ~                                                      u                                                                           w                                                                                                  v               z                       {                                                   u   {                                          w                      y                                                                      x               w               w           




        a                      s                   w                                             ~                                                                                    {                       t           z                                           




                    k
        Q                  ,                   8               9                               X               F               D                               9           D                                   >                   D                           ;                                       C               G                       H               <                       =                   =                                   B                       G                                   =                   =                       7                   8                               [                                                       >                                               D                           ;                                                                   B                               F                           <                   B                               




            _



                q                      r                           v       z                       ~                                                             v   z                           t               v                                       s                           t                   u                                                      ~                                          t                                   w                                                                      q                                                                                 t                                                       u                                               t                                                              ~                                                                                                                                                       w                                              v       z                                          w           |                                      z                                   t




        N                              v                          t                              u               x               t               v               ~                                                                                             u                   t                                  ~                                                                         z               {                                           s                                           t                   u                                   s                                       w                                                                                                     ~                                                                                                         




            R                                                                                      r                                      {                       t                                                                  ~                           v                               s                       t                       u                               z                           ~               u                                                                              w                                                             t                               x                                                       v                               z                                           ~                                                                                                                             v           z                               t                   v                       z           {                                   s                           w                                                 {               y




            `                          x           t               v       {                           




    M       P                                                                                             {                               z                       t   y                                           t                                                                  w                                                         ~                              {                                   |               }                                                                       w                                                              v                       z                       {                                                                                       u                   {                                                                          w                                              y                                                                          x           w                   w                                                                  u                   w




    M       M                          v   z                       t               v                              u                                                         ~                   v                           s                                   t                   u                                                          w                                                         t               x                                           v                           z                           t                       v                                           z                       {                                                                       s                                           t                                   u                                                       s                                   w                                                             ~                                                             x               t                   v           {                                                                  {                   t   z                       




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   m

                    k
    M   \                          *           7               9                               G               7               B               F               G           C                                   D                           E                                       B                   F               G           A                                       6                               *               7       A                                   <                                                       D                       C                                           ,                               8                               8                                               <                                       6                                                       B                               G                           =                   =                                           >           D                   ;                               F               D                   X                                           B               F               G           >                                       8       G   X




                                                                                                                                                                                                                                                                                                                                                                                       m

    M   K                          F           G                               X               <               ?                               ;       Y                   ?                   B               <                   7                           C                   ?                                   X                       D               C                                           7               8                   [                                                           <                   B                                           B                               F                       G                                                                               B                           7                           A                                       G                                       




    M   a       q                                 w       s                                       v       z               {                                                                            {                   s                                                                                                                 w                                                                                             w                                                                               r                                   y                                       w                                                                                                     v                                                                                                                             v               z                       {                                                      y                           ~   y                                                             v                           




                    k
    M   Q                  &                   D               X                       6                       7               ?                               B           F                   G               C                   G                           O                   O                                   7                       8                                       B                   F               G                                   W                                           <                   B                       F                   C                               D                       D                       A                                                                                   7                                   ?                                                               B                           F                   G                       C                   G                               <                               X               7                   8                   9                       D               X                           8           G           c               B




            _



    M                              B           D                               B               F               G                       W                       <           B                   F               B                   ;                   W                                       




    M   N       q                      r                                  {                       x               ~       {                              {                                       u               w                                                                                      r                                              {                               x                   ~       {                                          {                                                               u                       w                           




                    k
    M       R              ,                   8               9                               B               F               <               B                           X                   <               ?                                               C                   7                   [               F                       B                                       <           W                       D                   :                       G                                                       X                       F                   G                               C                       G                                                                               >                           D                                   ;                                                               C                           G                   H                       <                   =           =                                   ?               G               G                   7                   8                       [                               B           F           G




    M       `                      :           D       A                       7               B                       




\           P   q                         {                       t       z                                                              {                       u               




                                                                                                                                                                                                                                                                                                                       m

                    k
\           M              &                   D               X                       6                       B               ;               C               8           7                   8               [                                       W                           <                   H                                                       B                       D                                   B                   F                       G                                                       H                       <                   8                                                       D                                           E                                                       A                                           G                               <                               B                                   6                                   X                   F           G                   C               G                               9                   7                   9                                       >               D           ;                           E           7       8   9




\       \                          7           B                       




\       K                                                                                      5               G               B                       A                   G                                   C                   G                   Y                           F                   C               <                       ?               G                                           7               B                           J




\       a                                                                                      *               7               9                               >           D                   ;                                   <                           H                   B                   ;               <                       =               =                       >                                   ?                   G                       G                                                       B                       F                   G                                                       H                               <                                               8                                                               D                                           E                                   A                               G                       <                   B                   




\       Q       q                      r                           v       z                       ~                                                             r                               t               u                                      {                   y                                   s                   z                           t                       v                           z               {                                                                       t                   v           {                                                                                       t                                                              y                                                                               v                       z                               {                                                                              v           z           {                                                                 |                           u                   v                                       u       z                   w   s           {               y




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   f   g   h   i   o   p




                                                                                                                                                                                                                                                                                                                                                                                                                                           !                                                                                                                                         "                       #                       $                                                                                                                                                          




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               




                                                                                                                                                                                                                                                                                                                                                                                   Exhibit I - Page 3
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                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            




                                                                                                                                                                                                                                                                                                                                                               
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         




            M                             {                                   v   z               {                                              t                                              w                                          s                   z                       t                       v                               z                   {                                                       t                   v                           {                                                                               v               z                               t                               v                                                           z                               {                                                       z                               t       y                                                       u                   w                          {                           v       z                           ~                                                                         x           ~              {




        \                              u   }                       t              z               {                       v               v       ~                               t                          y                                       u                   w                          {                               v           z                           ~                                                                                                     x                       ~                                      {                                                       v                       z                                                   t                       v                                                               w                                                              r                                                                  t                                              z                       t                              {                                           u           {           {                                      ~   v




        K                                 |                       v                       r                               v       z               ~                                                                 r                               t                   u                          {                       y                                       s                   z                                   t                   v                                                   z                       {                                               z                               t                       y                                                                   {                                       t                               v               {                                                                                              t                              y                                           ~               v                               s                               t           u




        a                              u   }                       t              z               {                       v               v       ~                       s                       ~                   v       z                                           u               w                                  {                                                          {                                   t                   v                                                                                       u                   w                                              




                    k
        Q                          (           F               G                       H               <               8                       B           F                   <               B                                   >               D                   ;                                       ?                   <                   X                           6                                       X                   <                                   ?                                                   7                   B                                               <                               =                                           C                       G                               <                               9                       >                                       D                   Y                           G                   8                       




            _



                q                         z               {                                              t                                      v   z                           t               v                                   r                                   u               t           s                                           s                           t                   u                                               w                           }                       {                                                                                                                             {                                                   u                               




                    k
        N                  0                   <               ?                       B               F               G               C       G                               <               8                   >                       A                           G               <                       B                                       =                   G                           E                   B                                                       7                       8                                               7                       B                                   




            R   q                      r                           v   z                   ~                                                     ~           v                           s                           t               u                           {                                  }                               v                                                                                      u                   w                                                          




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       m

                    k
            `                      *           7               9                       >               D               ;                       ?           G                   G                                   <               8               D                   B               F                       G                   C                                       H                   <                           8                                                       =                       7                                               G                                               B                               F                                           <                       B                                                               7                       8                                       B                           F                   G                                       F                   D               ;               ?                   G                           




    M       P   q                         z               {                      {                               s               {                  {                                                              w                      {                                                                  t                                      u                                       ~                                                                                  v               z                       {                                                                      |                               }                                                                          w                               t                                              y                                                                                      {                           u                       




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               m

                    k
    M       M                      2           <               9                       >               D               ;                       G           :                   G               C                                   ?               G                   G               8                                   ,                           8                   B                   D                           8                                                       G                       <                           B                                           B                       F                               <                                           B                                                                                       7                       8                       9                                           D                           E                       A                           G               <               B                               W                               G                   E           D           C           G               




    M   \       q                      r                   z                   t   y                                                      w       v                                                                  r                       z                           t       y                                                                      w                   v                           




    M   K                                                                                  r               v                       s               t           u                                   t                           }                                          w       y                   |                                                  v                                       v               z                               t                                   v                                                   v           z                       {                                                                                                                                 t                                                                                     ~           {                   y                                                       ~                                                          v       z               {                           ~                                                      u                   v           w              {




    M   a                              u           w                          




                    k
    M   Q                          *           7               9                       <               8               >               D       8           G                                   B                   G               =               =                                   >                       D                   ;                                       X                   F                           G                   B                                   F                       G                           C                                           <                       8                               >                                           D                       8                               G                                                       G                       =               ?                           G                                       F                   <                   9                               G                   <                   B                       G           8                               B           F           G




            _



    M                              ?           <       A                   G                   A                       G               <       B                               B               F                   <               B                           ,                       8                       B                   D                   8                                       <                           B                   G                                           




    M   N       q                                 w                                       v       z               {                                  y                           ~       y                                                          w                   v                                                                              r                               y                                   w                                                                             v                                                              {                                                      {                                                                                                 {                                                                  




                                                                                                                                                                                                                                                                                       m

                    k
    M       R                      *           D                           >           D               ;                               C       G           H                   <               =                   =                               <                   ?                                       7                   8                   [                                       7                                   E                                               <                       8                           >                   D                       8                       G                                                                           G                       =                               ?                               G                                               F               <                           9                                       G                   <                   B               G               8                                       7                       B                   




    M       `   q                      r                   y                   w                                         v                          {                                  {                                                 {                                                                                                         r                               y                                   w                                                                             v                                                              {                                                      {                                                                                                 {                                                                  




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               m

                    k
\           P                      *           7               9                       >               D               ;                       ?           G                   G                                   <               8               >                   B               F                       7                   8                   [                                       G                           =                   ?                                   G                                                   7                   8                                               B                               F                                           G                                                                                       7                       B                       H               F                           G                   8                                       B                   F               <               B                                       >                       D           ;




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           m

\           M                      C           G               H           <           =               =                       6               7           8                                   B                   G               C       A                           ?                                       D                               E                           G                   7                           B                   F                                   G                       C                                               <                       =                       H                               D                                           F                       D                               =                                                       D                       C                                           G                   8                   G                   C                   [               >                                   9                   C                       7           8                               ?                       D       C




                                                                                                                                                                                               m

\       \                          <           8               >           B           F               7               8               [                   =                   7                                   G                               B                   F               <                       B                               




\       K       q                      r                   y                   w                                         v                          {                                          t                   x               x                                   u       {                   {                               ~                                                                                     t                                                                             v               z                               ~                                                                                                         {                                       x                               u                       {                                                                                                  w                           




                    k
\       a                          U           D               ;                       ?               <               7               9                   >                   D               ;                                   ?               <                   X                                       <                                       H                   D                   ;               Y                               =                                   G                                       W                               G                       G                       C                                                           W                                       D                               B                               B                       =                       G               ?                                   




\       Q       q                                                   z                                      




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   f   g   h   i      




                                                                                                                                                                                                                                                                                                                                                                                                                       !                                                                                                                                         "                   #                       $                                                                                                                                              




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                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                




                                                                                                                                                                                                                                                                                                                                                                                               
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         




                    k
            M                      +           D               C           C                   >                       6                                          >               G                   ?                                          




        \       q                         {                       u                   




                    k
        K                  ,                   8               9                               X               F               G                   C               G                                   X               G                   C                       G                               B               F                       G                   >                           




        a       q                      r                                                         v       z                       ~                                                 ~                                                                             v   z                   {                                                          s                   {                                          {                                                                          {                       ~                                  {                                              {                                                                                                                                                             |                               v                               v               z               {                                                                     t                                          z                           t                      {                                      {       {       




        Q                              ~                                      v           z               {                                                          t                                                 t                                  {                                       w                                                          w                                                              v       z                       {                                                                                  w           |                                                      v                       {                                                                                                                                                                    z                       t                       v                              u                   s                   z                       t               v                                       r




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                                          {                          {                                                 {                                              




        N                                                                                                                                    }                       v                                                                                     {                   t           z                               




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            R                      *           D                           >                   D               ;                                   C               G               H                   <               =                   =                                   F                   D               X                                   A                           <                       8                   >                           




            `   q                      r                              |                           u               v                                          {                                  {                                                         {                                                                              ~                                                                                                                                                                  s                   z                               t                       v                                                       r                                                                                              t                                                                      u       {                       {                                                  w       s                                                           x                   w                   w                          ~                      




    M       P                                     t                                                                                        |                       u               v                                   t                                                      w           |               }                               x           {                                                                       u                   w                                                   r                               y                               w                                                                             v                                                                                          {                                                  {                                                     {                                                  t                           s               z                       w                   x       {                                              |                                 z                   




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    M       M                      (           X               D                   6                           B               F                   C               G               G                   O               O




    M   \       q                         s                       w                                                             r                                          {                                  {                                                     {                                                                  v           s                           w                               




                                               m

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    M   K                          /                           <           >                           J                                   0                       F               <                   B                       6                                   7                       E                       <                       8                   >                   B                       F                   7                   8                   [                                       6                                   9                   7                       9                                                       >                                           D                       ;                                                           9                       D                               X                       7               B               F                               B               F               G                                   H                   <               8                           D                   E




    M   a                  A                   G               <           B                                   <               B                                   B               F                   <               B                                   Y                   D                   7               8                       B                               




                                                                                                                                                                                                                                                                               m

    M   Q                                                                                      *               7               9                                   >               D                   ;                                   B                       <                               G                                       7                   B                                           X                   7                   B                   F                                                   >                       D                   ;                                               D                               C                                           O                       O




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    M           q                                 w                  {                           u               v               x                                                                      t               v                                           v   z                           ~               u                                   }                           w                       ~                                      v                                                                       r                                   y                               w                                                                                                 v                                                                          {                                      {                                                     {                                      




    M   N                                                                                          r                               v           z                       ~                                                                                                       r                                              {                               t                                                                                  r                                                   v           z                               ~                                                                                                 v                           z                                       t                           v                                               s               z                       t                       v                               r                   y                           ~       y                                   s                           t               u                           r




    M       R                                     t               x           x           {               y                                                           t                          y                                   s                       z           {                                                                  r                                       v                       t                   x                              {                                   y                                               v                   w                                               v                       z                                   {                                                               }                           {                               w       }                       x               {                                       ~                                             w               x                          {               y                                                       v       z           {       




    M       `                          u           t               ~   y                                                                                     {                       x                   x                                                   s           {                                           t                                  {                                                                      w                   ~                                                                                             v                   w                                       }                               |                                                                  }                                                           z                               ~               u                                       u               v               w                              t                      z                                                               u               w                   s               {                       t                  {




\           P                                     w               ~                                                             v                   w                               x                   w               w                                                      t                   v                           s                       z                           t                       v                                      u                                                   ~                                                      z                               ~                       u                                                                           u                       v                           w                                                      t                      z                                                               t                  y                                           ~                                                      ~               v                          u




\           M                                     w               v   |                           x               ~               u                                                                                    ~                                                      ~                   v                                      u                                       u                       w                          {                               v                           z                       ~                                                                                                                 s                                   {                                                                   t                                              {                                                              w               ~                                                             v               w                                                      ~                      y                               ~           v                   




\       \                                 |                       v                               r                       y                           w                                                 v                                                  {                              {                                                         {                                                              s               z                               t                               v                               s                       {                                               y                                       ~                           y                                                               s                                   ~                       v       z                                               v       z               {                                                      t                                  




\       K                                                                                          r                       y                           w                                                 v                                                  {                              {                                                         {                                                                      ~                                                                  s               {                                                   u               {                               v                                                                           ~                       v                                                           t                       u               ~       y                       {                                       w                                                                            r                           y                           w                                     v




\       a                                 {                          {                                                 {                                              




\       Q                                                                                          r                                                                 w       s                                           r                                                      w                   v                                       u                   w                                  {                                               t                                                  u           s                   {                                                      u                                                       v                           z                                       t                           v                                                       ~               v                               s                       t               u                                              ~                          y                                           w                                          x           ~              {




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       f   g   h   i      




                                                                                                                                                                                                                                                                                                                                                                                                                                               !                                                                                                                             "                   #                       $                                                                                                                                          




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                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                




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                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             




            M                                         r           v                          u                       w                      t                                                                                                    z                           t                                                         u                                                              w                                                                          v           z                       {                                                               ~                                                                                                 w                                                                                         t                                   v                       ~                           w                                                                                                        {                                               t                          {                                                   x           w           w                      ~                  




        \                              ~                          v           w                           v   z                   ~           u                                                                                         {                                       t                              {                                                                          w               ~                                                                                             v                           w                                                   ~                                                                                 {                                       u                               v                                   ~                                                          t                           v                   {                                                                              t                      y                                               v           z                                   t               v               s                   t           u




        K                                             ~              y                                   w                                  v   z                       {                                               {                          y                                               w                                                              ~                       v                   




        a                                                                                      r                          {                   t                                                                                  ~               v                       s                           t                       u                                                             v                                       t                                                                      ~                                                                      y                           {                                   t                                           x                                                                                                                                         z                               {                                                          y                           ~       y                                                                 v                                       v                              {                   t           v                       ~       v




        Q                              x               ~              {                                   v   z                   t           v                   




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                           0                       F           D                           9           D                       >           D           ;                                               C                       G               H           <                   =                   =                                       ?               Y                               G               <                                       7                                   8                   [                                                   B                           D                                                       <                           W                                       D                               ;                                   B                                                           B                           F                           7               ?                                   H                   <               8                                       D                       E                               A                       G           <           B




        N                          B               F           <           B                           >           D           ;                               E               D                       ;                       8               9                       




            R   q                      r                           v   z                       ~                                             r                                                          t                       x               x   {                   y                                                   t                              y                                               v                       t               x                                              {                       y                                                               v                           w                                                                       t                                               y                                   {                                           v           {                                                                  v               ~                          {                                                           t                              y                                                       v       z           {           




            `                  {                          {                                  v   |                   t           x           x                                                  s                       {                           y                           ~           y                                                              {                       {                       v                                                                          t                                  {                                                              v                           w                                                                                             t                                                          {                                                       s                                       ~                           v       z                                           v       z                   {                                                              ~           {                                                     {




    M       P                                         w   |                                  v                                     {           y                               ~                                              t               x                       {                                                  t                                      ~                              {                                                                                                      t                                          y                                                               v                   z                                                   t                       v                                                                  u                                               s                               z                           {                                                  s               {                                           x               {                       t                                                     {           y                               v   z               t               v




    M       M                          ~               v               s                       t           u                                  w           v                                                                      w               w   y                                       }                               w               ~                       u                       w                                      ~                                                                             




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    M   \                  ,                       8           9                           X           F           G           8                       >                       D                       ;                                       ?           <                   7                   9                                       >                       D                       ;                           W                           G                                   =                   7                           G                       :                           G                                                       >                                           D                       ;                                                                   ?                           Y                               D                                                       G                               B                   D                                   <                                       9               G                       B                       G               H           B           7           :           G               6




    M   K                          X               <           ?                           B           F           <           B                       ?                       D               A                               G               D           8                   G                                           <               B                                               B               F                       G                                                   1                   7                                   E               G                                               Y                                   D                                           =                       7                               H                                   G                                                           9                           G                   Y                       <               C                   B       A                           G               8                       B                       




    M   a       q                      r                              {                       x           ~   {                      {                                           u                       w                                                              {                           t           z                                   




    M   Q                                                                                      r           v               s                   t           u                                       s                       z                       w   {                                      {                                                                                                                       {                           t                           z                                                                               ~                           v                                               s                                                   t                       u                                                           s                                   z                               w                                               z                       t       y                                                      |                                              ~               u           y                                   ~                          v           ~           w                          




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    M                                  r                           v   z                       ~                                             v   z                               t                       v                               s                   t                   u                                                           ~                                      {                           




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    M   N                          *               D                       >               D           ;                       C           G           H                       <                       =                       =                           7                           E                                   7               B                                               X               <                       ?                                                   <                                                       E               G                   A                                   <                           =                                           G                                                       D                                               E                               E               7                           H                           G               C                   




    M       R   q                      r                   s                   w       |                   x   y                                                                 r                                       s                       w   |                           x           y                                                              {                                              t                       x               x                                                       v               z                                   t                           v                                                       ~                                           v                                               s                                           t                                   u                                                                                             r                                   v       z                           w       |                                      z                               v                                       ~           v               s                   t       u




    M       `                          t                                      t               x   {                                              |                               v                                               v       z                   t                   v                                          u                               s                       z                       t                       v                                                   r                                                              {                                                      {                                                                                             {                                                                                      




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\           P              ,                       8           9                           9           D                       >           D           ;                                               C                       G               H           <                   =                   =                                       X                       F                       <               B                                       >                                   D                   ;                                                   B                           D                           =                           9                                                                   B                               F                                   G                           A                                       




\           M   q                      r                   y                   w                                      w           v                                      {                                                      t               x           x                               {                                              t                                              v               x                                                                  s                   z                                   t                       v                                                       r                                                                       v                       w                               x                           y                                                                   v                   z                           {                                                                                             w                       




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\       \                          *               7           9                           7           B                       C           G           =                       <                       B                       G                           B                   D                                           B               F                       G                                       H                       <               8                                                       D                                   E                                   A                                   G                           <                                           B                                                       <                                   8                                   9                                           Y                                   D               ?               ?                   7       W                           =               G                                               E               D                       D               9




\       K                  Y                       D           7           ?               D           8           7           8           [                   




\       a       q                      r               v                                      t                          z                   t                          {                                                                                  r                                                  {                           t                                                                                      ~               v                                                                                  t                                                                      z                                   t                                                          {                                                       




\       Q                                                                                         {                       s           {                                  {                                                                      w                                         {                                                             {                       y                                               t                                                  w           |                                   v                                                   t                                                                                                 v               z                                       ~                                                                                                                                                                    r                                          {                           t                                                                                                            z                   t           v




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            M   q                         {                           s                       w       |                   x       y                               z                               t                              {                                   s                       t                   x                                      {                   y                                               v   z                                                                  w           |                                              z                                                   v                   z                               {                                                                                          {                   y                                              w                           w                                          v                   w                                                      {                       v                                       v                   w                       v   z           {




        \                                         t               v   z                                      w           w                                                                                 {                           u                       




                    k
        K                  ,                   8               9                           >               D           ;                               X               G                       C                   G                                       <               =               ?                   D                                               9                   D                   X                   8               ?                   B                                   <                   7                       C                       ?                                           D                           8                                                               B                           F                               G                                               E           7                           C                   ?       B                                           E               =               D                       D               C                           




        a       q                         {                       u               




                                                                                                                                                                                                                   m

                    k
        Q                  ,                   8               9                           7               8                           B               F               G                                                               7                   B               H               F                   G                       8                                           <                   ?                                   X                   G                                   =                   =                               




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                q                         {                       u               




                    k
        N                  ,                   8               9                           7               8                           B               F               G                                           =                   7                   :               7               8                   [                                               C                   D                   D           A                               




            R   q                         {                       t   z                                                                         z               {                                                   x                   ~                                  ~                                                                                                    w                   w                                                      t                                              y                                                                          ~                       v                                                  z                               {                                                                                      t                              {                                                              ~                      z                                   v                                              {                                              v                               v           w                       w              {




            `                          t                          w           v       z               {                                                                                 {                           u                       




                    k
    M       P              ,                   B                           <               8               >                   Y                       D               7                       8                   B                                       7               8                                   B                       7               A                           G                                       X               F                   G                                   8                                           >                       D                   ;                                                   X                                       G                       C                           G                                                   <                   B                                       ,                           8       B               D                   8                               e       ?                                       F                   D                   ;                   ?           G




    M       M                      <                   E       B           G               C                           F               7               ?                               Y                           <                   ?                   ?               7               8                   [                               6                                   9                   7                   9                                   >                                   D                   ;                                               ?                   G                       G                                                                   <                       8                           >                                                   H                   <                   8                           ?                           D                       E                           4                       D                       8               ?                   B                   G                   C




                                                                                                                                                                                                                   m

    M   \                          )           8               G           C               [               >                           *               C               7                       8                                                           G               7               B                   F                       G                       C                                       D           Y                       G                   8                                   G                   9                                               D                   C                                                   H                                       =                       D                           ?                               G                   9                           




    M   K       q              q                   v                           t                                                 }                       w               ~                                          v                                       t                              v           {                                                      




                    k
    M   a                          (           F               <           B                               9           <               >                       J




    M   Q       q                         z                       t           v                       y                   t                                                                      r                               y                           w                                                  w                       v                                                      {                              {                                                                             {                                                                          u               {                           {                                               ~                                                                                                     t                                                                                            t                                  u                                       w                                              {                                          {                                 




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    M                          y                                  ~                                         u                                                  |                               v                                                           t                              t                   ~                                                                                      v           z                       t                   v                                               y                               t                                                          s                                   t                                       u                                                   t                                                                      x           |                                                                              t                                  y                                               v       z                           t                   v                       s                   t           u                             v




    M   N                              t                                      w                      |                   u                   




                    k
    M       R                      (           F               G                           9               <           >                               D                       E                           ,                           8                   B               D               8                               e           ?                                   Y                           <                   ?               ?                   7                                   8                   [                               6                                   X                       F                           G                                       8                                                   >                               D                   ;                                       X                           G                   C       G                                   <                       B                                       F               7                   ?                                       F           D           ;           ?           G           6




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       m

    M       `                      9           7               9                           >               D           ;                               ?               G                       G                                       <                   8               >                                   H                       <                       8                   ?                                       D                       E                                       &                           /                       +                                           )                       8                           G                                       C                       [                           >                                                   *                   C                   7                           8                                           G                   7                       B               F                       G               C                                       D           Y                   G           8           G           9




\           P                      D           C                           H               =               D           ?               G               9                       




\           M   q                      r                           u           t       s                                                                 r                                                  {                                      {                                                 {                                                                          u           {                   {                       ~                                                                                                                                           r                                                                          {                                       t                                                                                                  r                                                                         v       z                           t                       v                               y                       t                                                          ~           u                       t




\       \                                         x       |                                                                             w               u               v                       x                                                                                        w                                                                             |                           u                   v                                   u                           z                           w                                                                                                                     u                                       w                                                   r                                           y                           w                                                                 v                              {                                          {                                                     {                                                              u   {           {                   ~              




\       K                              t                                     v       z                       ~                                                                        |                                      z                                   {                       x                   u           {                                                       v           z                           t                                                              s                   {                                                       u                   t               s                                                                           v               z                           {                                                                              w                                              ~                   v                       w                                                          v               z               {                                                                  x           w           w           




\       a                              t                  y                                   t                                          w       |               }                               x           {                                               w                                                                         w                       v                   v                   x           {                       u                                                       w                                                                  t                   x                                                  w                       z                                       w                           x                                                                       t                                      y                                   v       z                           t                       v                                      u                       s                       z                           t           v                       r




\       Q                                 {                          {                                         {                                                      u               {                   {                           ~                                                         




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           f   g   h   i   ¡   j




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            M                                                                      ¢                       {                                          w                  y                                           v           z                               t           v                                                               ~                           v                                                  ~                          z                                               v                                           z                                   t                                          {                                                                                                  {                               {                                                                                              v           z                   {                              {                                                                      |                       v                                               r                           y               w                              w           v




        \                                     {                      {                                                     {                                                  x               w                   w                                          ~                                                                                                    w                                                  v   z                       {                                                                                  




        K                                                                                  r                                   y                       ~       y                                                     v                                                      w                                                                                         r                           y                       w                                                                         v                                                                      {                                                  {                                                                                                 {                                                                                  




                    k
        a                  ,                       8           9                       X                       F                   G               8                           >               D                   ;                                           ?           <                       >                                                                  <                                   H               D               ;           Y                                               =                       G                                               W                                   D                       B                               B                                           =                       G                               ?                                                                   D                           E                               <                   =           H                   D               F               D                   =                       6                                                      >                   D       ;               A               G           <       8




        Q                  W                       G           G           C                           W                           D               B               B           =               G                   ?                           




            _



                q              ¢               {           {                                                                         w               v               v           x       {                           u                                           w                                                             {                                       ~                          {                          {                                                                                                                                                                                w                                                                                  s                               z                                       t                               v                                                       r                                                  {                              {                                                 {                                                      




                    k
        N                          *               D                       >           D                       ;                                   C               G           H               <                   =                   =                                   ?                       G                   G                   7                           8               [                                   <               8                   >                                                       W                                       D                       B                           B                       =                               G                                           ?                                                       D                                           E                                           H                   D                   [                   8           <                   H                               7                   8                               B                               F               G                           F       D               ;       ?           G




            R                      D               8                       B           F                       G                                   9               <           >                                   D                           E                           F                       7                   ?                                       Y                       <                   ?               ?               7                   8                                       [                               




            `   q                      r                   y                   w                                                     v                                  {                                  {                                                     {                                                                      u                   {               {                           ~                                                                                                                w                               v                       v                           x               {                                       u                                                                   w                                                                                                                     w                                                         t                              




                    k
    M       P                      )               <           C           =           7                       G                   C                               >           D               ;                                       B                       G           ?                       B                   7                           E                   7               G                   9                               B                   F                                       <                       B                                                       >                           D                       ;                                                           W                                       G                               =                               7                                   G                   :                   G                                       B           F                   <               B                                   X               F               G                               8                           ,               8       B               D       8




    M       M                      X               <           ?                       :                       D           A                       7               B           7               8                   [                           6                           F                       G                                       X                           <               ?                                   D               8                                                           B                       F                               G                                                   ?                       G                               H                                           D                       8                               9                                                                           E           =                   D                   D                   C                               <               =               D                   8               G                               J




    M   \                                                                              *                       D                                   >               D           ;                                   C                   G               A                   G               A                   W                           G                           C                                   B               F               <                   B                                               




    M   K       q                             {                   t   z                           




                                                                                                                                                                                               m

                    k
    M   a                  ,                       8           9                               '                                   B               F               7           8                                                       >                       D           ;                                           ?                   <                           7               9                                   B               F                   <                                       B                                                       F                       G                                                   X                               <                                           ?                                                       B                               F                                   G                   C                   G                               W                   G                   H               <               ;                   ?               G                                               F               G                           X       <               ?




                                                                           m

    M   Q                          X               D           C                       7                       8                   [                       6                   C               7                   [                   F                       B                       




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    M           q                                     ~           u                       w                                                         ~                  {                                   s                           t                       u                                   w                                                                  v       z                   {                                       u                   t                                                      {                                                                                          x                       w                               w                                                                                                  t                                                          y                                       z                           ~                   u                                  {                   y                                          w               w                                                          s               t       u                       w   




    M   N                              v       z           {                               u                       t                          {                                                  x                   w                   w                                                          t                          y                                                       v           z               {                                                                                  t                       v                   z                                                              w                       w                                                                                          s                                       t                               u                                                       w                                                          v   z                   {                                       u           {                                      w                                      y                                          x               w       w           




    M       R                          w                                      v   z                       {                                   z                       w   |                       u           {                                                                              {                           u                           




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       m

                    k
    M       `                              '       ?                       7           B                                                   E       <               7           C                                   B                   D                                   ?                       <                   >                                               B               F                   <               B                                   >                                       D                       ;                                                       9                           7                       9                                                                           8                       D                               B                                                                   ?                   G                   G                                       F           7           A                                       X                   D               C                                               7               8                   [               D               8




\           P                      B               F           G                       ?                       G                   H               D               8           9                                           E           =                       D           D                       C                                       B                           F               G                                   8               7                   [                                       F                       B                                               W                                   G                                   E                   D                                           C                       G                                                               F                                   7                   ?                                       9                   G           <                   B               F                       




\           M   q                             z                   t           v                                   ~                   u                                          w                                             {                                          v                                                               r                                   s                           t               u                                                                          w                       v                                                       v                   z                       {                                                                  {                                                                                                                                          r                               s                           t                   u                                              w               v                                   t               v                                               v           z       {




\       \                      z                       w   |                   u   {                                   




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\       K                  ,                       8           9                       7                       B                                   X               <           ?                                   >                   D                       ;           C                                           ;                   8                           9               G                   C               ?               B                   <                                       8                       9                               7                       8                           [                                                       B                                           F                       <                               B                                                           ,                           C                   B                   G           A                                       X               <               ?                                   D               8                                               B                   F       G




\       a                          B               F           7           C           9                                                   E       =               D           D               C                           




\       Q       q                      r               v                       ~           u                                                                             |                                  y                   {                                          u                       v                   t                                      y                       ~                                                                                                                            {                                       u                               




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           f   g   h   i   ¡   o




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                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        




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            M              ,                       8           9                           7                   B                               X               <           ?                                           >                       D                   ;           C                               ;                   8                   9               G                   C               ?               B                   <                               8                   9                           7                   8                       [                                                   B                                               F                           <                           B                                                   ,                           8               8                           <                           <                   8               9                                               B                   F           G                                       W                           <       W                   >                       <       8           9




        \                          B               F           G               7           C                           A                       7               9           9               =                           G                                           H           F               7               =                   9                                   X                   G               C               G                                                   D                   8                                               B                       F                       G                                                                                   E                   7                           C                               ?                           B                                           E                   =               D           D                   C                       




        K       q                             {                   t       z                                                       v       z                       t           v                                          u                                   s           z                       t               v                                       r                           s                       t               u                                                                                                 v           z                               t                       v                                                                          u                                               s                               z                                   t                   v                                   s               {                               s           {                                                  {                                       v                       w                       x           y




        a                                     {                   t       z                           




                    k
        Q                          +               D                           7                   E                           >               D               ;                           X                           G                       C                   G                           8               D                   B                                   B                   F               G               C                   G                                       6                           ,                               C                       B                       G                       A                                                                               7                           ?                                                           D                   8                                           B               F           G                                   B                           F                   7                   C           9                                                       E           =               D           D           C               6




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                                   G               :           G               C           >                   D               8               G                           G               =                           ?                       G                               7               ?                                   D                   8                                   B               F               G                                                           E           7                           C                   ?                       B                                                               E                                   =                           D                           D                               C                                   6                           X                           F               <           B                                   =                           G                   <                   9           ?                                               >                   D               ;                       B           D




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        N                  W                       G           =               7           G                   :               G                               B           F               <                           B                                           F           G                               X                   <                   ?                                   X               D               C                                                   7                   8                           [                                           D                       8                                                                           B                           F                           G                                                           ?                   G               H                           D               8           9                                           E                   =                   D                   D           C                               




            R   q              ¢               {                                  t   |                           u       {                                       w                                                      v               z                   {                                                  t                                      v                                   v       z                       t                   v                                           z                       {                                               s                               t                           u                                                                   |                           }                                                           s                           w                                                         ~                                                                 }                                      {                   v                       v                                                             |                      z




            `                  {                          {                                                                                    ~                  z                       v                                   




    M       P                                                                                  r                                          {                       t                                                                              v           z                   t               v                       s                               t               u                           z                       ~                   u                                                                              w                                                                 t                           x                                                                                                      w                       |                                   v                   ~                                  {                                                       v               w                                                          {                               s                                   w                                             ~              




    M       M                          w                                          v   z                   {                                                      w                  }                           |                               v           {                                                                      u                   w                                  




                                                                                                                                                                                                                                                                                               m

                    k
    M   \                  ,                       8           9                           F                   D               X                               9           D                                           >                       D                   ;                                           8                   D                   X                                   B               F               <                   B                                       




    M   K       q                      r                                  {                   t                                                                  v   z                       t                           v                                          u                                  |                           u                   v                                                     z                       {                                                   s                                   t                   u                                       s                                   w                                                                                                     ~                                                                                             w                                                      t                   x               x                                       z                           ~           u




    M   a                      }                                  w                  {                                          v               u                                           v                                                                     ~                                                             v                   w                                          {                       v                                                   v           z                       {                                                                      y                                   w                                                                  {                                                                                       s                           w                                                         ~                                                                         ~                                                            {                           y                           ~                          x   




    M   Q                              x               w                                                 z                       w       |                                  u                                                                              |                   u               v                                                                     w                                                  v                   t                               x                                              ~                                                                                             v                                               w                                               z                                       ~                                                                                                 {                   t           z                               




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                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               m

                    k
    M                              U               D           ;                           F                   <               9                               <                           [                           G                       8                   G           C               <               =                                       ;               8                   9               G               C                   ?                               B                   <                           8                   9                       7                       8                           [                                                                           B                           F                               <                           B                                   F                           G                           X                   D               C                                               G                   9                                   <                       B                                   8           7           [           F       B               




    M   N       q              £               {                          {                                      t               x                       |                          y                           {                                                  u           v               t                      y                               ~                                                                                                                    w                                                         {                                                      v                                           




                    k
    M       R                              '       ?                           7           B                                           E       <               7           C                                           B                       D                               ?               <               >                                       B               F                   <               B                                   >                               D                   ;                                               9                       D                                                   8                                               D                           B                                                           F                           <                   :               G                                           <           8                   >                                   Y                           G                   C           ?                       D                       8                   <               =




                                   m

    M       `                                      8           D               X           =                   G               9               [               G                           <                   W                               D                   ;           B                               X                   F                   <               B                                   F               G                                                   X                   <                           ?                                           9                       D                           7                                               8                           [                                                           B                           F                   G                                           8               7           [                   F               B                                       W                           G                   E               D                       C                   G                           F           7           ?




\           P              Y                       <           ?               ?           7                   8               [                       




\           M   q                             z                   t               v                               ~               u                                          w                                                         {                                      v                                                   r                           s                           t               u                                                                  w                   v                                               v               z                       {                                                                  {                                                                       t                                                  y                                   y                                   ~       y                                                      w                           v                                       v           t                       x                                                          v           w               z               ~   




\       \                              v       z           {                                                      ~                      z                       v                           w                                                              z                   ~               u                       y                       {                       t                   v       z                           




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               m

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\       K                  ,                       8           9                           7                   ?                               7               B                                   E                   <                       7                   C                           B               D                                       ?               <                   >                               B                   F                               <                   B                                               >                       D                       ;                                                                           F                           <                           :                               G                                               8               D                           B                           ?           Y                       D                                               G                   8                                   B                       D




                                                                                                                                                                                                                                                                                                                                                                                                                                               m

\       a                          <               8           >       W                   D                   9               >                               X           F               D                                                   ?                   <           X                               F                   7           A                                           X               D               C                                                   7                   8                           [                                           D                       8                                                                           B                           F                           G                                                           ?                   G               H                           D               8           9                                           E                   =                   D                   D           C                                               B                   F               G




\       Q                          8               7           [               F           B                           Y                       C               7           D               C                                                   B                   D                           F               7                   ?                                   9                   G               <               B                   F                                       




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       f   g   h   i   ¡   




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                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     




                                                                                                                                                                                                                                                            
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          




            M      +       (       ,       (       )                       /           1               0               ,                   +               2                   '   &               3           (                   /       &                            @                                                                               '                       6                                       (                           G                           C                                   7                       =                           >                               8                       8                               +                       7       A                   D           8               ?               6                               .               .                   -                   6                       -       4               -               6                   .           -           -




                                                                                                                                                                                                                                                                        @                   ?               ?                                       <                                           H                       G                           C                           B                                   7                               E                   7                               G                       9                               H                       D           ;               C           B                           C               G               Y                   D                   C               B               G           C




        \          .       D           ;   8       B           >                       D           E                       I               7               G               C           H           G                                                                    @                                                                           7                       8                                           B                           F                           G                                                           +                           B                               <                       B               G                                       D               E                   0                   <           ?               F                   7               8                   [               B               D           8               6                   9           D




                                                                                                                                                                                                                                                                                                                                                    F                       G                   C                       G                       W                               >                                                           H                           G                               C                       B               7                   E                   >                   L




        K




        a




                                                               (           F           <       B                           B               F               G                                   E   D           C                   G           [        D           7           8           [                                           9           G               Y                           D                       ?                           7                           B                                   7                       D                           8                                                       D                   E                               4                   '           .           2       ,                   )               5                                   Z                       J                       &           ,               .           .       ,               -       ,               (           /




                                                                           m

        Q          X       <           ?           B           <                       G       8                       W                   G                   E           D           C           G                       A                   G                    <           8           9                                           H           D               A                       Y                           =                           G                           B                                   G                       9                                                           D                       8                           ,                           ;           [               ;           ?               B                                   M               P               6                               \                   P           M           R           6                   <           8           9




                   B       F           G   C       G           <               E       B       G           C                               X               <               ?                       B           C                   <           8        ?           H           C           7           W                               G           9                                           ;                       8                           9                           G                                   C                                               A                                   >                                       9               7                       C           G               H           B               7           D               8                       ¤                               B               F               <           B                       B           F           G




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                   9       G       Y       D       ?           7           B           7       D           8                               7               ?                           <                               E           ;           =        =               6                   B               C                           ;           G                                           <                       8                           9                                                               H                       D                       A                               Y                           =               G               B                       G                           B           C               <           8               ?                   H               C                   7           Y                   B                       D               E                   B           F           G




                   B       G           ?   B       7       A               D           8       >                           D                   E                           ?           <           7           9                               X        7           B           8           G               ?                           ?               6                                       7                       8                           H                           =                                   ;                       9                           7                               8                       [                               <                       =           =                           ^               ;           G               ?                   B               7                   D               8               ?               6                   <           8           ?           X           G           C           ?               6




        N          D   W               ¥   G       H           B           7           D       8           ?                   6                       A                   D           B           7           D                   8           ?                    <           8           9                                           G           c                       H                   G                   Y                               B                           7                                   D                       8                           ?                                       ¤




            R                                                  (           F           <       B                           B               F               G                           X           7           B                   8           G        ?           ?               6                   W                               G               E                   D                   C                       G                                                       G                                   c                       <                       A                                   7                       8               <               B                       7           D               8               6                       X               <                   ?                           W                       >                       A               G                       9           ;           =           >




                   ?       X           D   C       8                       B           D                   B               G               ?               B               7                   E   >                               B           F        G                       B           C               ;                           B           F                           6                                       B                           F                           G                                                           X                           F                               D                       =               G                                       B           C               ;           B               F               6                               <               8                   9                               8           D           B           F           7           8           [                   W               ;           B




            `      B       F           G           B           C           ;           B       F               6                           <               8               9                       B           F                   <           B                    B           F           G                                           X           7                       B                   8                       G                           ?                           ?                                                           X                           <                               7                       :               G               9                                   B               F           G                           C               7                   [               F                   B                               D               E




                   ?       7           [   8       <           B           ;           C       G               ¤




    M       P




                                                               (           F           <       B                               '                           <           A                           8           D                   B                    <                       C           G               =                           <           B                       7                   :                       G                                   6                                                       G               A                               Y                                   =                       D               >               G                       G               6                       <               B           B               D                   C               8                   G               >                           D           C                       H           D           ;           8           ?           G           =




    M       M      D           E           <       8           >                   Y           <           C               B               >                               B           D                       B                   F           7        ?                       <           H               B                           7           D                       8                                           D                           C                                                               C                       G                           =                               <                       B               7               :                       G                           D           C                           G           A                   Y                   =                   D               >               G           G                       D               E                   <           8           >




                   ?       ;           H   F                   <           B           B       D           C               8               G               >                           D           C                               H           D        ;           8           ?           G               =                                       <                       8                   9                                                   B                           F                                   <                       B                                                                   '                               <           A                                       8               D           B                               E           7                   8               <                   8               H               7           <           =           =           >




    M   \          7       8           B   G       C           G           ?           B       G           9                               7               8                           B           F           G                               ?        <           7           9                           <                           H           B                       7                   D                       8                                                       D                                   C                                                   B                               F                       G                               D                       ;           B               H           D       A                   G                                   B               F                   G               C               G           D               E           ¤




    M   K                                                      (           F           <       B                               '                           <           A                           F           G                   C           G        X           7           B           F                                           ?           G                       H                   ;                       C                           G                           =                                   >                                                   ?                               G                       <               =               7                       8           [                           B               F           G                                   ?               <                   7               9                           9           G       Y               D           ?           7           B           7           D           8




                   <       8           9       Y               C           D       A       Y               B               =               >                               9           G           =           7                   :           G        C           7           8           [                                           B           F                       G                                           ?                           <                       A                                       G                                                   B                               D                               4                       7                       H           F               <           G               =                           )                   C               8                   G               ?               B                   0               7           =           =           7           <       A               ?                   J




    M   a




                                                                   '   &                   0                   '           (           &                   )               +           +                   0                       2           )        -           )           /           1                       6                                   '                                       F                       <                           :                           G                                                           F                           G                               C                       G               ;               8                       B           D                           ?               G           B                               A                   >                                   ?               7           [           8           <           B           ;           C           G                       D           8




    M   Q          B       F           G               M       K           B           F                   9               <               >                               D                   E           ,                       ;           [        ;           ?           B               6                                       \               P                       M                       R                   J




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    M




    M   N




    M       R




    M       `                                                                                                                                                                                                                                                                                                                                                                                                       ¦                           ¦                           ¦                           ¦                           ¦                               ¦                               ¦                       ¦           ¦                   ¦                       ¦           ¦               ¦           ¦           ¦               ¦               ¦                   ¦               ¦               ¦                   ¦               ¦           ¦           ¦           ¦           ¦           ¦           ¦           ¦           ¦           ¦           ¦




                                                                                                                                                                                                                                                                                                                                                                                                                        (                           G                           C                                   7                       =                           >                               8                       8                               +                       7       A                   D           8               ?               6                               .               .                   -                   6                       -       4               -               6                   .           -           -




\           P                                                                                                                                                                                                                                                                                                                                                                                                           .                           G                           C                                   B                       7                               E                           7                       G               9                                       .           D               ;           C               B                           -                   G           Y                       D               C               B           G           C                   &               D               J                   \               P       a           N




                                                                                                                                                                                                                                                                                                                                                                                                                                    b               .                           G                                   C                       B                           7                                       E               7               H               <                       B           7               D           8                           G               c               Y                   7                   C               G               ?                           P       N               V           P       N               V           M           `               J




\           M




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                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        




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                   EXHIBIT K
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                    EXHIBIT L
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                                                                         The Honorable Robert J. Bryan
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 9
                                UNITED STATES DISTRICT COURT
10                             WESTERN DISTRICT OF WASHINGTON
                                         AT TACOMA
11
     ANNA OMELIN, Individually and as an      )                      Case No. 3:17-cv-05837-RJB
12   Administrator of the Estate of Anton Omelin,
                                              )
     deceased,                                )                      PLAINTIFF ANNA OMELIN’S
13                                            )                      MOTION IN OPPOSITION TO (1)
                            Plaintiff,        )                      DEFENDANT RED BULL
14                                            )                      NORTH AMERICA, INC.’S
     vs.                                      )                      MOTION TO DISMISS
15                                            )                      PLAINTIFF ANNA OMELIN’S
                                              )                      FIRST AMENDED COMPLAINT
16   HANSEN BEVERAGE COMPANY, a               )                      PURSUANT TO RULE 12(B)(6),
     Delaware Corporation, MONSTER ENERGY )                          AND (2) DEFENDANTS
17   COMPANY, a Delaware Corporation, and RED )                      HANSEN BEVERAGE
     BULL NORTH AMERICA, INC., a Foreign      )                      COMPANY d/b/a MONSTER
18   Corporation, and DOES 1 through 100,     )                      BEVERAGE CORPORATION
     Inclusive,                               )                      AND MONSTER ENERGY
19                                            )                      COMPANY’S MOTION TO
                            Defendants.       )                      DISMISS
20                                            )
                                              )                      NOTED FOR: January 12, 2018
21

22
                                   I. PRELIMINARY STATEMENT
23

24           Plaintiff Anna Omelin respectfully submits this Motion in Opposition to Defendant

25   Red Bull North America, Inc.’s Motion to Dismiss Plaintiff Anna Omelin’s First Amended

26   Complaint Pursuant to Rule 12(b)(6) (“Red Bull’s Mot.”) (Dkt. No. 32) and Defendants
27
                                                                              COSMOPOLITAN LEGAL, PLLC
     PLAINTIFF’S OPPOSITION TO DEF. RED BULL’S MOTION TO DISMISS -   1            151 108th Ave NE, Unit 210
     (3:17-cv-05837-RJB)                                                                Bellevue, WA 98004
                                            Exhibit L - Page 1                         Phone: (425)296-8868
                                                                                         Fax: (877)230-2429
        Case 3:17-cv-05837-RJB
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     Hansen Beverage Company d/b/a Monster Beverage Corporation and Monster Energy
 1

 2   Company’s (jointly “MONSTER”) Motion to Dismiss (“Monster’s Mot.”) (Dkt. No. 31).

 3   Since both RED BULL and MONSTER (jointly “Defendants”) raise substantially similar
 4   arguments, Ms. Omelin’s arguments presented herein are equally applicable to each
 5
     Defendant’s motion to dismiss.
 6
             On November 29, 2017, Anna Omelin, filed First Amended Complaint (“FAC”)
 7
     (Dkt. No. 26) alleging negligence and strict liability under Washington Products Liability
 8

 9   Act (“WPLA”), and fraud against RED BULL and MONSTER as a result of her husband’s

10   death. After Defendants filed their motions to dismiss the FAC, Ms. Omelin filed a Motion

11   for Leave to Amend the FAC, which is currently pending. See Dkt. No. 36.
12           In their motions to dismiss the FAC, Defendants allege that Ms. Omelin failed to
13
     disclose the cause of death in the original complaint (Dkt. No. 1) and the FAC. Allegations
14
     that Ms. Omelin intentionally concealed Mr. Omelin’s cause of death (Red Bull’s Mot. at
15
     4) is ridiculous, as the death certificate, a publicly available document, could have been
16

17   easily accessed by Defendants after the filing of the original complaint.

18           Furthermore, Defendants cannot interpret medical findings and circumstances of

19   Mr. Omelin’s death without medical testimony. RED BULL states that “FAC contains no
20
     facts to remotely suggest Red Bull’s product proximately caused or contributed to the
21
     death of Anton Omelin.” Red Bull’s Mot. at 2; see also, Monster’s Mot. at 8 (“[t]here are
22
     absolutely no factual allegations suggesting that Monster in any way caused Mr. Omelin’s
23
     death”). These conclusory statements are immaterial before discovery and are being used
24

25   to mislead the Court about the underlying issue, namely, whether Defendants’ products

26   could have and actually caused Mr. Omelin’s death.
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             By way of their motions, Defendants would have this Court require Ms. Omelin to
 1

 2   offer evidence regarding all aspects of her case without the benefit of fact and expert

 3   discovery. To support their position, Defendants argue that Ms. Omelin has failed to
 4   satisfy Fed. R. Civ. P. Rule 8 pleading requirement. Contrary to Defendants’ arguments the
 5
     FAC is sufficient to satisfy Rule 8. The FAC alludes to numerous studies and reports all of
 6
     which point to dangerous effects and conditions caused by the consumption of Defendants’
 7
     products: Monster Energy, NOS, and Red Bull Energy. See generally FAC. Defendants
 8

 9   refuse to acknowledge that their products result in untimely deaths of children and young

10   adults who were hoping to get the promised “buzz” and “wings.”

11           Further, Ms. Omelin’s WPLA does not preempt her fraud claim, and the fraud
12   claim is pleaded with sufficient particularity under Fed. R. Civ. P. Rule 9(b). Finally, Ms.
13
     Omelin continues to contend that punitive damages should be allowed under California
14
     laws.
15
             Up to this day, Defendants continue to promote their products with slogans, such as
16

17   “Unleash the Beast” and “Red Bull gives you wings.” In some way, they stay true to their

18   promise, as their products for sure gave Mr. Omelin wings that took him to heaven. With

19   disregard to products’ harmful effects, Defendants now seek to escape liability by filing a
20
     Fed. R. Civ. P. 12(b)(6) motions to dismiss to prevent Ms. Omelin, a grieving wife and a
21
     mother of three minor children, from conducting discovery to show that Defendants value
22
     profits more than human life. It is outrageous that numerous deaths associated with
23
     consumption of Defendants’ products did not cause Defendants to warn their consumers
24

25   and take steps to make their products safer.

26

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              Accordingly, as outlined below, Defendants’ motions to dismiss should be denied
 1

 2    in their entirety.

 3                                                II. ARGUMENTS
 4   I.   PLAINTIFF ALLEGES SUFFICIENT FACTS TO STATE A PLAUSIBLE
 5        CLAIM FOR RELIEF.

 6            A. Legal Standard for FRCP Rule 12(b)(6) Motion to Dismiss.

 7            To survive a Rule 12(b)(6) motion to dismiss, “a complaint must contain sufficient

 8    factual matter, accepted as true, to state a claim to relief that is plausible on its face.”
 9
      Ashcroft v. Iqbal, 556 U.S. 662, 678, 129 S.Ct. 1937, 173 L.Ed.2d 868 (2009) (internal
10
      quotes omitted). A complaint must include “a short and plain statement of the claim
11
      showing that the pleader is entitled to relief.” Fed. R. Civ. P. 8(a)(2). Such a statement
12
      should only “give the defendant fair notice of what the plaintiff's claim is and the grounds
13

14    upon which it rests.” Conley v. Gibson, 355 U.S. 41, 47, 78 S.Ct. 99, 2 L.Ed.2d 80 (1957).

15    “This simplified notice pleading standard relies on liberal discovery rules and summary
16    judgment motions to define disputed facts and issues and to dispose of unmeritorious
17
      claims.” Swierkiewicz v. Sorema N. A., 534 U.S. 506, 512, 122 S.Ct. 992, 998, 152 L.Ed.2d
18
      1 (2001). “It may appear on the face of the pleadings that a recovery is very remote and
19
      unlikely but that is not the test.” Scheuer v. Rhodes, 416 U.S. 232, 236, 94 S.Ct. 1683, 40
20

21    L.Ed.2d 90 (1974) (in reviewing the sufficiency of a complaint, “[t]he issue is not whether

22    a plaintiff will ultimately prevail but whether the claimant is entitled to offer evidence to

23    support the claims.”)
24            All material allegations in the complaint must be taken as admitted and the Court
25
      construes the complaint in the light most favorable to the plaintiff. Keniston v. Roberts,
26
      717 F.2d 1295, 1301 (9th Cir. 1983). The Court accepts conclusory legal allegations if
27
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     those conclusions can reasonably be drawn from the alleged facts. Clegg v. Cult Awareness
 1

 2   Network, 18 F.3d 752, 754–55 (9th Cir.1994). In reviewing a complaint, the Court must

 3   consider the totality of the allegations, and not whether each allegation, taken in isolation,
 4   is plausible. See Metzler Investment GMBH v. Corinthian Colleges, Inc., 540 F.3d 1049,
 5
     1061 (9th Cir. 2008) (“[t]his examination requires the court to survey the complaint in its
 6
     entirety, not to simply scrutinize individual allegations in isolation”)(emphasis added).
 7
              “The Rule 8 standard contains ‘a powerful presumption against rejecting pleadings
 8

 9   for failure to state a claim.’” Gilligan v. Jamco Development Corp., 108 F.3d 246, 249 (9th

10   Cir., 1997) (quoting Auster Oil & Gas, Inc. v. Stream, 764 F.2d 381, 386 (5th

11   Cir.1985)). “It is axiomatic that ‘[t]he motion to dismiss for failure to state a claim is
12   viewed with disfavor…’” Hall v. City of Santa Barbara, 833 F.2d 1270, 1274 (9th
13
     Cir.1986) (citations omitted). “If a pleading fails to specify the allegations in a manner that
14
     provides sufficient notice, a defendant can move for a more definite statement under Rule
15
     12(e) before responding.” Swierkiewicz, 534 U.S. at 514. Therefore, a Court must not
16

17   dismiss a complaint with prejudice “unless it appears beyond doubt that the plaintiff can

18   prove no set of facts in support of his claim which would entitle him to relief.” Conley, 355

19   U.S. at 45–48.
20
             Defendants’ motions to dismiss focus on the lack of Mr. Omelin’s cause of death in
21
     the FAC. See Red Bull’s Mot. at 4; Monster’s Mot. at 2, 8. Contrary to RED BULL’s
22
     argument that Ms. Omelin “intentionally omitt[ed] dispositive documents or facts from the
23
     FAC” (Red Bull’s Mot. at 5), the FAC’s lack of an explicit reference to the cause of death
24

25   does not come close to intentional concealment. As discussed below, the cause of death,

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     aspiration of gastric contents, is meaningless in determining causation without a medical
 1

 2   experts’ testimony. See infra pp. 11-12.

 3           Moreover, at the time the initial complaint and the FAC was filed, Ms. Omelin
 4   possessed only a medical examiner’s report, which is confidential in nature. See RCW 68.
 5
     50.105 ( “Reports and records of autopsies or postmortems shall be confidential, except
 6
     that the following persons may examine and obtain copies of any such report or record:
 7
     [t]he personal representative of the decedent as defined in RCW 11.02.005, any family
 8

 9   member, …, the prosecuting attorney or law enforcement agencies having jurisdiction…”)

10            Importantly, the death certificate was readily available to the opposing counsel as a

11   public document at the time the FAC was filed on November 29, 2017. Thus, it does not
12   make sense to allege that it was concealed from them.
13
             In its motion to dismiss, RED BULL mentions a settlement (Red Bull’s Mot. at 4),
14
     a statement best characterized as a factually unsupported product of Defendant and their
15
     counsel’s imagination. Nothing in the FAC or the original complaint could plausibly
16

17   suggest that Ms. Omelin desired this case to end with a settlement.

18           Furthermore, RED BULL’s counsel used terms such as “extortion” and

19   “conspiracy.” Red Bull’s Mot. at 4. Such language is in no way suitable for educated
20
     professionals who must use facts, and refrain from suggesting factually unsupported and
21
     fictitious intentions of either party. RED BULL’s counsel seem to forget that both
22
     extortion and conspiracy are criminal offenses. Thus, labeling Ms. Omelin and her counsel
23
     “criminals” is unacceptable. Ms. Omelin regards opposing counsel with great respect
24

25   because of their professionalism and high level of morality, but it is further suggested that

26

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     opponents refrain from such expressions in the future and communicate according to
 1

 2   professional ethical standards.

 3           B. Plaintiff’s WPLA Claims are Sufficient to Survive Motion to Dismiss.
 4           In their Rule 12(b)(6) motions to dismiss, Defendants argue that Ms. Omelin’s
 5
     claims for negligence, strict liability, and wrongful death are improperly pleaded under the
 6
     WPLA, and the FAC should be dismissed in its entirety. See Monster’s Mot. at 3-5; Red
 7
     Bull’s Mot. at 5. “WPLA preempts traditional common law remedies for product-related
 8

 9   claims.” Kaspers v. Howmedica Osteonics Corp., No. C15-0053JLR, 2015 WL 12085853

10   at *5 (W.D. Wash. Oct. 23, 2015) (citing Wash. Water Power Co. v. Graybar Elec. Co.,

11   112 Wn. 2d 847, 853, 774 P.2d 1199, 1207 (1989)). WPLA’s purpose is to eliminate
12   common law remedies for product liability claims, including negligence, strict liability,
13
     and breach of warranty, and to provide a single cause of action. See Wash. Water Power
14
     Co., 112 Wn.2d at 853.
15
             Defendants’ request to dismiss the FAC on these grounds is inconsistent with Fed.
16

17   R. Civ. P. Rule 8. Rule 8 requires only that “each allegation must be simple, concise, and

18   direct. No technical form is required.” Fed. R. Civ. P. 8(d)(1) (emphasis added). “Notice

19   pleading requires the plaintiff to set forth in [her] complaint claims for relief, not causes of
20
     action, statutes or legal theories.” Id.; Fed. R. Civ. P. 8(a)(2). Importantly, if a plaintiff
21
     alleges causes of action that have been supplanted by the WPLA, these actions are
22
     considered sufficiently plead under WPLA to withstand a motion to dismiss. See Bingham
23
     v. Blair LLC, No. 3:10-cv-05005 RBL, 2010 WL 3495505 at *2 (W.D. Wash. Apr. 5,
24

25   2010). In Bingham, the court held that a complaint alleging common law negligence, strict

26

27
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     liability, and breach of warranty that otherwise satisfies FRCP Rule 8 should only be
 1

 2   amended to fashion a single cause of action under to the WPLA. Id.

 3           Defendants seem to ignore that the FAC follows the statute and merely “labels”
 4   different elements of the statute to show exactly which claims under WPLA are being
 5
     pleaded. See FAC ¶¶ 62-107. The overall form of the FAC’s causes of action (i.e., pleading
 6
     negligence and strict liability claims as separate causes of action) is precisely the way it
 7
     has been presented in Frisvold, where the Court and the parties focused on the sufficiency
 8

 9   of pleadings, rather than its form. See Frisvold v. Pentair Filtration Solutions LLC, No.

10   C17-136RSL, 2017 WL 3236972 at *2 (W.D. Wash. July 31, 2017).

11           Ms. Omelin contends that the FAC’s pleadings are sufficient to withstand
12   Defendants’ motions to dismiss on these grounds. Furthermore, FAC sufficiently pleads all
13
     causes of action, as detailed below. Therefore, the Court should deny Defendants’ motion
14
     to dismiss for failure to assert a single claim under WPLA.
15
             C. The FAC Plausibly Alleges Proximate Causation
16

17           To prove proximate causation, a plaintiff must present evidence of both “cause in

18   fact” and “legal causation.” Baughn v. Honda Motor Co., Ltd., 107 Wn.2d 127, 727 P.2d

19   655, 664 (1986). Cause in fact concerns the “but for” consequences of an act or the
20
     physical connection between the act and the injury. Baughn, 107 Wn.2d at 142. Cause in
21
     fact is generally a question of fact reserved for the jury. Id.
22
             Legal causation “rests on policy considerations as to how far the consequences of a
23
     defendant's acts should extend.” Baughn, 107 Wn.2d at 146. It involves the “determination
24

25   of whether liability should attach as a matter of law given the existence of cause in

26   fact.” Hartley v. State, 103 Wn.2d 768, 698 P.2d 77, 83 (1985). “Unlike factual causation,
27
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     legal causation hinges on principles of responsibility, not physics.” Anderson v. Liberty
 1

 2   Lobby, Inc., 477 U.S. 242, 248, 106 S.Ct. 2505, 91 L.Ed.2d 202 (1986) (internal citations

 3   omitted). “Consequently, the existence of legal causation between two events is
 4   determined on the facts of each case upon mixed considerations of logic, common sense,
 5
     justice, policy and precedent.” Id. (internal citations omitted).
 6
             Defendants contend that because the death certificate lists the cause of death as
 7
     “aspiration of gastric contents” with “alcohol intoxication” as the contributing factor, Ms.
 8

 9   Omelin cannot “plead sufficient facts to support specific causation” and “cannot do so

10   under any scenario.” Red Bull’s Mot. at 6; see also Monster’s Mot. at 8 (“[The FAC] fails

11   to provide any plausible connection between Mr. Omelin’s death and any product
12   manufactured by Monster”). Washington law indeed professes a strict approach when
13
     interpreting a cause of death as listed on the death certificate. Under RCW 70.58.180, “the
14
     cause of death, the manner and mode in which death occurred…in the death
15
     certificate…shall be the legally accepted manner and mode by which the deceased came to
16

17   his or her death and shall be the legally accepted cause of death.” Naturally, a plaintiff is

18   prevented from arguing that the cause of death was anything other than listed on the death

19   certificate. See, e.g., Goetz v. Life Ins. Co. of N. Am., No. 2:16–CV–0441–SMJ, 2017 WL
20
     4185473, at *8 (E.D. Wash. Sept. 21, 2017).
21
             None of the cases cited by RED BULL are similar to the case at hand, since Ms.
22
     Omelin does not dispute the death certificate findings, nor is she trying to argue that the
23
     mode and manner of death was anything other than what death certificate shows. See, e.g.,
24

25   MacLay v. M/V SAHARA, 926 F. Supp. 2d 1209 (W.D. Wash. 2013) (taking judicial notice

26   of the mode and manner of death as stated on the death certificate); Lloyd v. Valley Forge
27
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     Life Ins. Co., No. C06-5325 FDB, 2007 WL 2138756 (W.D. Wash. July 23, 2017) (taking
 1

 2   judicial notice of cause of death on the death certificate). Ms. Omelin contends that she is

 3   allowed to bring forth medical expert testimony to merely explain the findings on the death
 4   certificate. See supra pp. 10-14.
 5
             RED BULL’s contention that “the death certificate makes absolutely no mention of
 6
     Red Bull Energy Drink, energy drinks in general, or any of their ingredients […]” (Red
 7
     Bull’s Mot. at 6) is erroneous because nothing in the coroner’s duties suggests that the
 8

 9   medical examiner is required to perform anything beyond determining whether the death

10   resulted from a criminal act. RCW 68.50.106 provides:

11           “In any case in which an autopsy or post mortem is performed, the coroner
             or medical examiner, upon his or her own authority or upon the request of
12           the prosecuting attorney or other law enforcement agency having
13           jurisdiction, may make or cause to be made an analysis of the stomach
             contents, blood, or organs, or tissues of a deceased person and secure
14           professional opinions thereon and retain or dispose of any specimens or
             organs of the deceased which in his or her discretion are desirable or
15           needful for anatomic, bacteriological, chemical, or toxicological
             examination or upon lawful request are needed or desired for evidence to be
16
             presented in court.”
17
             When determining the cause of death, it is not unusual for a medical examiner to
18
     describe a physiological act causing death (i.e., drowning, bullet wound) without
19
     explaining or describing any events preceding the outcome (i.e., domestic dispute).
20

21   Importantly, it is not coroner’s duty to perform an investigation to specify the party at

22   fault, which is left to discovery in legal cases. Revealing and detailing the reason behind
23   the cause of death is not a part of the coroner's responsibility since it requires additional
24
     research. Testing for caffeine is not included in the required list of chemicals and
25

26

27
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     substances1, which automatically incorporates tests for drugs, alcohol, and barbiturates.
 1

 2   Therefore, there is no dispute as to medical expert’s conclusion that the death was due to

 3   aspiration of gastric contents with alcohol intoxication as a contributing factor, but the data
 4   requires additional explanation of medical experts, which will be done during discovery.
 5
             Alcohol intoxication, as it appears to be a factor in Mr. Omelin’s death, by itself is
 6
     in need of medical evaluation. Taken the measurements of Mr. Omelin’s alcohol blood
 7
     level at the time of his death, which were only marginally above the limit appropriate to
 8

 9   drive a vehicle, it is erroneous to conclude that his death was caused by alcohol

10   intoxication alone2. Mr. Omelin had no medical issues and drank in moderation. FAC ¶ 16.

11   Logically, it is unimaginable that a healthy young man could have started to vomit
12   uncontrollably after consuming only two to three (2-3) shots of cognac3 (FAC ¶ 15), let
13
     alone to choke on his vomit.
14
             When arguing that “[Ms. Omelin] has not plausibly alleged general causation”
15
     (Red Bull’s Mot. at 8), RED BULL fails to grasp the manner of Mr. Omelin’s death and
16

17   the nature of allegations made in the FAC. First, RED BULL argues that nothing in the

18   FAC suggests that Red Bull Energy Drink is “capable of causing aspiration of gastric

19   contents with alcohol intoxication as the contributing factor.” Id. Although an accurate
20
     reinstatement of Mr. Omelin’s cause of death, RED BULL’s argument is devoid of any
21

22
     1
23     See Drug List and their Uncertainty Values,
     http://www.wsp.wa.gov/forensics/docs/toxicology/other_docs/drugs_routinely_tested.pdf
24   (last accessed January 6, 2018); Request for Judicial Notice (“RJN”), Ex. C.
     2
25     “Mixing energy drinks with alcohol may be even more problematic. Energy drinks can
     blunt the feeling of intoxication, which may lead to heavier drinking and alcohol-related
26   injuries.” See Ex. B, p. 1.
     3
       The determination of the amount of alcohol consumed by Mr. Omelin on the night of his
27   death was calculated based on Mr. Omelin’s BAC as stated in medical examiner’s report.
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     logical explanation.
 1

 2           Aspiration “occurs when [a person] inhale[s] food, drink, vomit or saliva into [his

 3   or her] lungs. Aspiration is more likely if something disturbs [someone’s] normal gag
 4   reflex, such as a brain injury or swallowing problem, or excessive use of alcohol or drugs.”
 5
     See Pneumonia - Symptoms and Causes – Mayo Clinic
 6
     https://www.mayoclinic.org/diseases-conditions/pneumonia/symptoms-causes/syc-
 7
     20354204 (last visited December 30, 2017); see also, Request for Judicial Notice (“RJN”),
 8

 9   Ex. A. Symptoms and circumstances surrounding Mr. Omelin’s death (see FAC ¶¶ 9-20)

10   are identical to the symptoms contributed to consumption of energy drinks (including Red

11   Bull Energy Drink and related MONSTER products). See generally FAC.
12           Next, RED BULL argues that “[p]laintiff’s ‘caffeine’ theory borders on the
13
     absurd,” because the caffeine levels in energy drinks are less than in home-brewed coffee
14
     and Starbucks drip coffee. Red Bull’s Mot. at 8. First, contrary to RED BULL’s
15
     arguments, nothing in the FAC suggests that Ms. Omelin concedes with the fact that
16

17   “home-brewed coffee has a higher caffeine content that Red Bull Energy Drink.” Id.; See

18   generally FAC. RED BULL citation to FAC ¶¶ 37, 39 is erroneous and misleading. The

19   above-referenced paragraphs state that “[c]affeine in doses up to 400 mg (about five cups
20
     of coffee) is generally recognized as safe by the [FDA].” (FAC ¶ 37). In FAC ¶ 39, Ms.
21
     Omelin specifies the amounts of caffeine found in relevant energy drinks.
22
             By comparing caffeine content in coffee to the amount of caffeine found in its
23
     product (see Red Bull’s Mot. at 8), RED BULL misunderstands the significant difference
24

25   between the beverages. While regular coffee is normally made out of a natural, whole

26   coffee bean, no information is available on the source of the caffeine (synthetic caffeine is
27
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     sometimes used as a replacement for natural whole beans) contained in Defendants’
 1

 2   products. This issue is appropriate for discovery, as Defendants do not disclose the source

 3   of their caffeine on their products’ labels, websites, and other publicly available media
 4   sources. Moreover, nothing suggests that regular coffee contains additional ingredients,
 5
     such as Taurine or Guarana, which are contained in Red Bull Energy Drink (Taurine) and
 6
     MONSTER’s beverages (Taurine and Guarana). FAC ¶ 40.
 7
             Furthermore, RED BULL’s evidence that Taurine is a natural amino acid that
 8

 9   “supports neurological development and helps regulate the level of water and minerals in

10   the blood…” is ambiguous. Red Bull’s Mot. at 9. RED BULL fails to grasp Taurine’s

11   pharmacology. The efficacy of such supplement depends on quantity ingested. Thus,
12   something that is good for a person in small quantities can be dangerous, and even lethal,
13
     when consumed in larger proportions. RED BULL cites to an article that states in part:
14
     “Up to 3,000 milligrams a day of supplemental taurine is generally considered safe.
15
     Moderation is important, however. Little is known about the effects of heavy or long-term
16

17   taurine use.” See “Taurine is listed as an ingredient in many energy drinks. What is

18   taurine? Is it safe?” https://www.mayoclinic.org/healthy-lifestyle/nutrition-and-healthy-

19   eating/expert-answers/taurine/faq-20058177 (last visited November 28, 2017). Without a
20
     benefit of discovery, it is impossible to tell how much taurine is contained in a single can
21
     of Red Bull Energy Drink4, as such information does not appear on the product’s label.
22
             Further, RED BULL argues that “[p]laintiff’s allegations do not adequately plead
23
     general causation” by referring to reports cited in the FAC. Mot. at 13. RED BULL
24

25

26
     4
      Similarly, discovery is needed to analyze Taurine and Guarana content in MONSTER’s
27   products.
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     challenges the said reports by arguing that none of the reports mention RED BULL’s
 1

 2   products directly and rather use a catch-all “energy drinks.” Id. Contrary to RED BULL’s

 3   contentions, the cited reports do identify RED BULL’s products by mentioning ingredients
 4   contained in the studied beverages. See FAC ¶¶ 35, 44, 52. It is hard to believe that
 5
     “beverages that contain caffeine, taurine, …, and are marketed to improve energy, weight
 6
     loss, stamina, athletic performance, and concentration,” include all energy drinks but
 7
     miraculously exclude those manufactured by RED BULL. FAC ¶ 35.
 8

 9           Further, articles that specifically name RED BULL, do not just show correlation

10   but present results of a medical study with healthy adults. “The study focused on effects of

11   additional components commonly found in energy drinks, including ‘Monster Energy,’
12   ‘NOS Original’ and ‘Red Bull Energy Drink.’ ‘Blood pressure increased by close to 5
13
     points after drinking the energy drink, but by just under 1 point after drinking the caffeine
14
     beverage. Blood pressure also remained elevated six hours later.’” FAC ¶ 44.
15
             Based on preceding arguments, the FAC contains sufficient information to show
16

17   proximate cause.

18           D. Plaintiff’s Design Defect Claim Satisfies Pleading Requirements.

19           Contrary to RED BULL’s attempt to brand Ms. Omelin’s claim for design defect as
20
     insufficiently pleaded, the FAC contains sufficient details to show otherwise. See Red
21
     Bull’s Mot. at 10.
22
             RED BULL argues that Ms. Omelin “has not alleged plausible facts regarding any
23
     purported ‘defects’ in Red Bull Energy Drink.” Id. Amazingly, RED BULL seems to
24

25   believe that the FAC must contain enough information to survive summary judgment, by

26

27
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     supporting its arguments with cases dealing with summary judgment and post-discovery5
 1

 2   and requiring Ms. Omelin to plead enough facts to satisfy the heightened burden. See Red

 3   Bull’s Mot. at 7-8. The allegations presented in the FAC are sufficient to satisfy Rule 8
 4   requirements and far more detailed and extensive than deemed sufficient in Braden. See
 5
     Braden v. Tornier, Inc., No. Co9-5529 RJB, 2009 WL 3188075 (W.D. Wash. Sept. 30,
 6
     2009). As the court in Braden appropriately pointed out: “to force Plaintiff to plead facts in
 7
     support of the theory would shut the courthouse doors before Plaintiffs had an opportunity
 8

 9   to meaningfully engage in the process.” Braden, 2009 WL 3188075 at *3.

10           Moreover, RED BULL is trying to misconstrue the law by focusing on those parts

11   of the law that directly furnish its position. By citing to Bombardi, RED BULL fails to
12   notify the Court that “there are some accidents as to which there is common experience
13
     dictating that they do not ordinarily occur without a defect, and as to which the inference
14
     that a product is defective should be permitted.” Bombardi v. Pochel’s Appliance and TV
15
     Co., 10 Wn. App. 243, 246 (1974). “A product is defective when it is ‘in a condition not
16

17   contemplated by the ultimate consumer, which will be unreasonably dangerous to

18   him.’” Id. (citations omitted).

19           Throughout the FAC, Ms. Omelin alleges that combination of high amounts
20
     caffeine along with other ingredients, namely taurine, cause severe deadly health effects,
21
     which include nausea, vomiting, cardiovascular problems, and death. See FAC ¶¶ 32-60. In
22
     addition to numerous allegations (see generally FAC) of recorded and scientifically
23
     identified risks posed by energy drinks, including Red Bull Energy Drink, the FAC clearly
24

25
     5
26     “The court shall grant summary judgment if the movant shows that there is no genuine
     dispute as to any material fact and the movant is entitled to judgment as a matter of
27   law.” Fed.R.Civ.P. 56(a).
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     states that an ordinary consumer, such as Mr. Omelin, “would not and could not anticipate
 1

 2   that a product designed to promote vitality and increase energy would lead to severe health

 3   risks.” See FAC ¶ 69.
 4           Because of the foregoing, Ms. Omelin has sufficiently pleaded the design
 5
     defect claim pursuant to Fed. R. Civ. P. Rule 8.
 6
             E. Plaintiff Sufficiently Pleaded Failure to Warn Claim.
 7
             RED BULL argues that “the FAC […] fails to allege a plausible claim based on a
 8

 9   failure to warn theory.” Red Bull’s Mot. at 11. By stretching the reality, RED BULL tries

10   to escape from liability by comparing their product to common, everyday food, such as

11   milk, and by claiming that “there is no duty to warn against things generally known or
12   obvious.” Id. Although a true assertion about dairy products, it is unrelated to energy
13
     drinks. The dangers associated with energy drinks are not “hazards known to everyone” as
14
     they are being promoted as vitalizing beverage that is a part of a healthy lifestyle, but cause
15
     severe health risks to their users. Id.; See generally FAC. (citation omitted).
16

17           Next, RED BULL argues that it “had no duty to warn Mr. Omelin of the effects of

18   his consumption of other manufacturers’ alcoholic products.” Id. at 12. The argument is

19   absurd in the light of allegations made in the FAC. Ms. Omelin did not allege that RED
20
     BULL must warn of risks associated with consumption of other manufacturer’s product.
21
     The FAC plainly states:
22
                     Placing a warning(s), such as “Do not use with alcohol and
23                   while exercising,” “Do not exceed two drinks in a 24-hour
                     period,” “May cause cardiovascular problems, nausea,
24
                     vomit, insomnia, and death,” would be adequate to warn
25                   customers of severe health risks associated with consumption
                     of “Monster Beverage,” “NOS Original” and “Red Bull
26                   Energy Drink.”
27
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     FAC ¶ 78. The proposed warning is attributable to Red Bull Energy Drink, Monster
 1

 2   Energy, and NOS Original alone and not to any alcoholic beverage consumed by Mr.

 3   Omelin prior to his unfortunate demise. Nor does the FAC allege any facts that could
 4   suggest that Defendants’ products contain alcohol. See generally FAC.
 5
              Furthermore, “[l]iability may be found in the case of inadequate warnings because
 6
     “[a] product may […] not be reasonably safe when placed in the hands of the ultimate user
 7
     without first giving an adequate warning concerning the manner in which to safely use the
 8

 9   product.” Teagle v. Fischer & Porter Co., 89 Wash.2d 149, 155, 570 P.2d 438 (1977).

10   RED BULL cites Braaten failing to appreciate a rather glaring distinction between the

11   cases. See Red Bull’s Mot. at 12; see also, Braaten v. Saverhagen Holdings, 165 Wn. 2d
12   373, 385 (2008) (a manufacturer of valves and pumps to be used on ships is not required to
13
     warn their consumers of asbestos-containing insulation manufactured by a different
14
     producer). The FAC alleges that Red Bull Energy Drink should not be mixed with alcohol,
15
     as a part of exercise routine, and overconsumed. See generally FAC. To allow the end
16

17   consumer, such as Mr. Omelin, to appreciate the hidden dangers of mixing energy drinks

18   with alcoholic beverages, the FAC proposes a warning to be placed on products’ label to

19   warn consumers of severe health risks caused by Defendants’ products. FAC ¶ 78.
20
             Moreover, the existing warning and caffeine content has no practical relationship to
21
     Ms. Omelin’s claim. Mr. Omelin does not fall under any warned category of persons,
22
     namely he was not a child at the time of his death, nor was he suffering from sensitivity to
23
     caffeine. Surprisingly, Mr. Omelin was not pregnant or nursing. The present warning does
24

25   nothing to warn consumers that a product, marketed for its vitality-promoting qualities and

26   ability to give energy, can and will cause severe health risks if used along with alcohol, to
27
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     hydrate and promote stamina during exercise, and the risks of overconsumption. See FAC
 1

 2   ¶ 75.

 3            Additionally, there is no evidence suggesting that the present warning was in place
 4   prior to and at the time of Mr. Omelin’s death. Contrary to RED BULL’s contention that
 5
     “[p]laintiff concedes, every can of Red Bull Energy Drink purchased and consumed by Mr.
 6
     Omelin state the amount of caffeine and contained [a warning]” nothing in the FAC states
 7
     that the warning and the caffeine content was present at the time Mr. Omelin purchased
 8

 9   and consumed the products. Red Bull’s Mot. at 12; see generally FAC. Such information is

10   available only to Defendants, thus discovery is needed to ascertain the existence of the

11   warning at the time of Mr. Omelin’s death.
12            It is further argued that the FAC fails to allege any facts to suggest that Mr. Omelin
13
     would heed an additional warning, if any were given. Red Bull’s Mot. at 11. RED BULL
14
     tries to support its position by citing to cases dealing with summary judgment and are
15
     inapplicable to Rule 12(b)(6) motion to dismiss and the Rule 8 pleadings6. Red Bull’s Mot.
16

17   at 13. RED BULL agrees that the warning “appears prominently in bold font on the center

18   of a can.” Id. Thus, it is difficult to argue that the warning has not be seen or read, taken it

19   was present on the can at the time of Mr. Omelin’s death. In either situation, the question
20
     of whether Mr. Omelin read and understood the warning is a subject proper for discovery
21
     and should not prevent Ms. Omelin from properly pleading her claim under Rule 8.
22
     Additionally, even if Mr. Omelin acknowledged the presence and content of the warning,
23
     the warning is inadequate and did not apply to Mr. Omelin. See supra p.17.
24

25

26

27   6
         See supra note 4.
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             Based on the foregoing argument, failure to warn claim is sufficiently
 1

 2   pleaded under Rule 8.

 3           F. Plaintiff Withdraws Manufacturing Defect Claim.
 4           Plaintiff hereby voluntarily withdraws her Manufacturing Defect Claim
 5
     under RCW 7.72.030(2)(a) and all allegations pertaining thereto. See FAC ¶¶ 89-
 6
     94.
 7
             G. Plaintiff Pled Claims for Fraud with Sufficient Particularity.
 8

 9           Defendants’ argument that Ms. Omelin’s fraud claim is “nothing but a recast

10   version of her failure to warn claim based on concealment,” misstates Ms. Omelin’s claim

11   for fraud. Red Bull’s Mot. at 15; Monster’s Mot. at 6. Nothing in the FAC’s Third Cause
12   of Action for Fraud points to Defendants’ failure to warn. It does suggest, however, that
13
     despite their knowledge of their products’ dangerous propensities, Defendants continued to
14
     market their products as safe and no more dangerous than regular soda to induce Mr.
15
     Omelin and other consumers to purchase their products. FAC ¶¶ 108-130.
16

17           Furthermore, Ms. Omelin’s fraud claims are sufficiently pleaded pursuant to Rule 9

18   (b) of Federal Rules of Civil Procedure. Under Fed. R. Civ. P. 9(b), plaintiff’s fraud claims

19   must “state with particularity the circumstances constituting fraud.” Allegations of time,
20
     place and date are not required by the Rule 9(b), nor are they the only way to effectuate the
21
     rule’s policies. See In re Natl. Mortg. Equity Corp. Mortg. Pool Certificates Securities
22
     Litig., 636 F. Supp. 1138, 1159 (9th Cir. 1986). If other allegations are made with great
23
     specificity, the complaint as a whole may adequately describe the nature and circumstances
24

25   of the alleged misrepresentations to satisfy Rule 9(b). Id. Moreover, allegations of fraud

26   based on information and belief “may be relaxed with respect to matters within the
27
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     opposing party’s knowledge.” Neubronner v. Milken, 6 F.3d 666, 672 (9th Cir. 1993). “In
 1

 2   such situations, plaintiffs cannot be expected to have personal knowledge of the relevant

 3   facts.” Id. (citing Wool v. Tandem Computers Inc., 818 F.2d 1433, 1439 (9th Cir. 1987).
 4           Defendants fail to acknowledge contentions made in the FAC’s “Factual
 5
     Allegations” section. The FAC alleges that MONSTER and RED BULL target their
 6
     advertising campaign “primarily towards young males, with alluring product
 7
     names…These advertising campaigns promote the psychoactive, performance-enhancing,
 8

 9   and stimulate effects of energy drinks and appear to glorify drug use.” FAC ¶ 20. The FAC

10   goes further by mentioning Defendants’ slogans used to associate their products with

11   healthy lifestyle. Id. There is nothing on Defendants’ websites, advertisements or labels
12   that would indicate that either Defendant took steps to identify health risks associated with
13
     consumption of their products.
14
             Moreover, unlike Baughn, where the purported fraud was based on lack of warning
15
     on the drug label, Defendants did not limit their fraudulent concealment to label only but
16

17   actively involved marketing campaign to promote potential benefits of their products. Id.;

18   Baughn v. Johnson & Johnson, No. C15-5283 BHS, 2015 WL 4759151 at *3 (W.D. Wash.

19   Aug. 12, 2015). Defendants’ concealment was directed towards Mr. Omelin and other
20
     consumers, a fact sufficiently pleaded throughout the FAC. See generally FAC.
21
             Contrary to Defendants’ arguments that Ms. Omelin “failed to identify specific
22
     facts related to each health risk and ‘allege what harm the purported [risk] poses to
23
     consumers,” (see Red Bull’s Mot. at 16; see also, Monster’s Mot. at 7) the FAC alleges,
24

25   among other things, that 1) “Studies have shown that a caffeine overdose can cause

26   cardiovascular problems, nausea, vomiting, convulsions, and death”; 2) “A combination of
27
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     excessive ingestion of caffeine- and taurine- containing energy drinks and strenuous
 1

 2   physical activity can produce myocardial ischemia by inducing coronary vasospasm with

 3   potentially fatal results”; and 3) “U.S. Center for Disease Control and Prevention warned
 4   against mixing energy drinks and alcohol, arguing energy drinks mask the depressant
 5
     effects of alcohol.” FAC ¶¶ 28, 30, 36.
 6
             Further, RED BULL compares numerous cited studies and articles to “[r]andom
 7
     anecdotal examples of disgruntled consumers posting their views on websites…” Red
 8

 9   Bull’s Mot. at 16. Most, if not all, studies cited in the FAC come from reputable medical

10   associations or medical professionals. See FAC ¶¶ 32-60. Even if such studies were not

11   enough for Defendants to stop and reconsider their marketing approach and/or their
12   products’ formula, Defendants should have performed internal studies to show the safety
13
     of their products. If such studies were available at the time of Mr. Omelin’s death, of
14
     which Ms. Omelin knows nothing, they shall surface during discovery.
15
              Defendants’ assertion that no evidence is available to show Mr. Omelin’s reliance
16

17   on the advertisements (Red Bull’s Mot. at 16) is an issue suitable for discovery as many

18   information, such as mode and means of disseminating advertising campaign, is in

19   Defendants’ control. Unlike Defendant in Eisen, who was alive at the time of a lawsuit,
20
     Mr. Omelin cannot testify nor produce any evidence to support his claim. See Eisen v.
21
     Porsche Cars N. Am., Inc., No. CV 11–9405 CAS (FEMx) 2012 WL 841019 (C.D. Cal.
22
     Feb. 22, 2012). This contention is also true with respect to the “representative samples of
23
     advertisements…”, as the information on what was available at the time of Mr. Omelin’s
24

25   death remains unknown prior to discovery. See Red Bull’s Mot. at 16.

26

27
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             In sum, the FAC makes clear “the who, what, when, where, and how” of the
 1

 2   misconduct charged – namely, that Defendants knew of the risks associated with

 3   consumption of their products, yet they intentionally withheld information regarding
 4   dangers that their products posed to Mr. Omelin and other consumers. Since some of the
 5
     information, such as 2014 marketing materials and internal studies, are solely in RED
 6
     BULL’s control7, Ms. Omelin cannot plead any additional facts beyond those already
 7
     pleaded, nor is she required to do so under the circumstances8. Accordingly, and contrary
 8

 9   to Defendants’ conclusory assertions, the FAC satisfies the requirements of Rule 9(b).

10           H. Punitive Damages.

11           Ms. Omelin’s request for punitive damages is proper, as “in Washington, the
12   location where fraudulent conduct occurred is the most significant contact for the issue of
13
     punitive damages.” Kammerer v. W. Gear Corp., 635 P.2d 708, 712 (1981) (Jurisdiction
14
     where the fraudulent act occurred is a significant factor in determining the applicability of
15
     punitive damages). In this case, most of the fraudulent conduct occurred in California,
16

17   where Defendants’ headquarters are located, and where most of the decisions regarding the

18   ingredients, marketing, advertising, and placement of warnings were made.

19           In California, punitive damages are available in any action for breach of a non-
20
     contractual obligation, including products liability actions, “where it is proven by clear and
21
     convincing evidence that the defendant has been guilty of oppression, fraud, or
22

23

24

25   7
       The same argument is equally applicable to MONSTER.
     8
26     Allegations of fraud based on information and belief “may be relaxed with respect to
     matters within the opposing party’s knowledge.” Neubronner v. Milken, 6 F.3d 666, 672
27   (9th Cir. 1993).
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     malice.” Cal. Civ. Code § 3294(a); Grimshaw v. Ford Motor Co., 119 Cal.App.3d 757,
 1

 2   810, 174 Cal.Rptr. 348 (Ct. App. 1981).

 3           I. Plaintiff’s Wrongful Death Actions May Be Maintained as a Matter of
                Law.
 4

 5           A survival action is maintained on behalf of decedent’s spouse only if the decedent

 6   could have maintained the action had he lived. See Ives v. Ramsden, 174 P.3d 1231, 1239
 7   (Wash. 2008). Because all claims have been properly plead on behalf of Mr. Omelin, Ms.
 8
     Omelin can maintain the wrongful death action pursuant to RCW 4.20. et. seq.
 9
                                              IV. CONCLUSION
10
             Based on the arguments provided, Defendants’ motions to dismiss pursuant to Fed.
11

12   R. Civ. P. 12(b)(6) should be denied in its entirety. In the alternative, Ms. Omelin should

13   be allowed to amend her FAC before dismissal.

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16                                          Respectfully submitted this on 8th day of January, 2018.

17                                                          By: s/ Olga Efimova
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                                                                          COSMOPOLITAN LEGAL, PLLC
     PLAINTIFF’S OPPOSITION TO DEF. RED BULL’S MOTION TO DISMISS -   23       151 108th Ave NE, Unit 210
     (3:17-cv-05837-RJB)                                                            Bellevue, WA 98004
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        Case 3:17-cv-05837-RJB
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                                  Document 40 Filed
                                              Filed 09/20/18
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                                     CERTIFICATE OF SERVICE
 1

 2             I hereby certify that on January 8, 2018, I electronically filed the foregoing with

 3   the Clerk of the Court using CM/ECF system, which will send notification of such filing to
 4   all parties of record who have appeared in this matter
 5
              DATED this 8th day of January, 2018
 6

 7                                                          s/ Olga Efimova
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